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            17-2371                                 To Be Argued By:
                                                    ALLEN L. BODE




                   d
 United States Court of Appeals
                       For the Second Circuit



                  UNITED STATES OF AMERICA,

                             —against—
                                                             Appellee,



                         JOSEPH VALERIO,
                                                 Defendant-Appellant.


          On Appeal From The United States District Court
               For The Eastern District of New York


    BRIEF AND APPENDIX FOR THE UNITED STATES


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                   UNITED STATES COURT OF APPEALS

                        FOR THE SECOND CIRCUIT

                          Docket No. 17-2371


                      UNITED STATES OF AMERICA,

                                              Appellee,

                               -against-

                            JOSEPH VALERIO,

                                              Defendant-Appellant.


        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NEW YORK



                    BRIEF FOR THE UNITED STATES



                        PRELIMINARY STATEMENT

         Joseph Valerio appeals from a judgment, entered August

1, 2017, in the United States District Court for the Eastern

District of New York (Bianco, J.), convicting him, following a

jury trial, of ten counts related to the sexual exploitation of a

child and to the transportation, receipt and possession of child

pornography.   The district court sentenced Valerio to a total of

720 months’ imprisonment, lifetime supervised release, a $1,000
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special    assessment     and   forfeiture    of   computer    equipment   and

$75,000.    Valerio is currently incarcerated.

            On appeal, Valerio argues that 1) the district court

erred in refusing to suppress statements made by Valerio, 2) his

sentence    was    procedurally    and   substantively     unreasonable    and

3) certain counts in indictment were multiplicitous and therefore

that his convictions on those counts violate double jeopardy

principles.       As shown below, these claims are without merit and

Valerio’s conviction and sentence should be affirmed.
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                                                                          3

                             STATEMENT OF FACTS

            This case arises from an investigation that began when

a Ukrainian citizen, Olena Kalichenko,1 disclosed to a Federal

Bureau of Investigation (“FBI”) agent in Ukraine that she had

produced child pornography using her then two-year-old daughter

(“Jane Doe #1”) at the request of Valerio and had sent the child

pornography to him in New York.         During the ensuing investigation,

law enforcement agents discovered Valerio had also produced child

pornography using his then six-year-old niece (“Jane Doe #2”).

            Agents executed a search warrant at Valerio’s residence

on January 28, 2014.       Following an interview, Valerio was arrested

and charged via a complaint with sexual exploitation of Jane Doe

#1.   (A:6).2    After the discovery of child pornography images of



      1   Kalichenko pled guilty to charges of conspiracy to
sexually exploit a child, sexual exploitation of a child,
transportation   of  child  pornography  and  producing   child
pornography for importation into the United States.     She is
awaiting sentence.   See United States v. Kalichenko, 14-CR-95
(JFB).
      2   “PSR,” “Addendum,” “Initial Recommendation,” “Revised
Recommendation,” and “SOR” refer to the presentence report, the
addendum to the PSR, the recommendations of the Probation
Department, and the statement of reasons accompanying the
judgment, respectively. The PSR, Addendum, Recommendations, and
SOR have been filed with the Court under seal. References to “A,”
“SPA,” “GA,” “T” and “GX” are to Valerio’s appendix, special
appendix, the government’s appendix, the trial transcript and the
government’s trial exhibits, respectively. Exhibits that contain
contraband are not included in the government’s appendix but will
of course be provided to the Court upon request.
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                                                                                  4

Jane Doe #2 from Valerio’s residence, on February 25, 2014, Valerio

was charged via a complaint with sexual exploitation of Jane Doe

#2, and a second search warrant was executed on his residence.

See United States v. Valerio, 14-MJ-00170 (GRB) (E.D.N.Y.).

                 On February 26, 2014, a federal grand jury in the Eastern

District of New York handed down an indictment charging Valerio

with       the    sexual   exploitation    of   Jane   Doe    #1,    as   well   as

transportation,         receipt   and   possession     of    child   pornography.

(A:7).      Subsequently, Valerio was charged via a second superseding

indictment on April 9, 2014, on which Valerio went to trial.3

(A:9; GA:1-14).

I.     The Suppression Motion, Hearing and Decision

                 On July 1, 2014, Valerio moved to suppress his statements

made on the day of the warrant execution and his initial arrest.4

(A:41-45).




       3  The Second Superseding Indictment originally contained
sixteen counts.    On November 4, 2014, the court granted the
government’s motion to dismiss Count Fourteen, charging attempted
sexual exploitation of a child. (A:13). On November 12, 2014,
the Court filed a redacted and renumbered indictment upon which
Valerio was tried.
       4  Valerio also moved to suppress statements made on
February 24, 2014, when he was arrested on the second complaint
(A:123-24), which motion was also denied (A:185-86). He does not
challenge that decision on this appeal.
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      A.     The Suppression Hearing

             FBI     Special    Agent   Steven      Troyd   testified   that,    on

January 28, 2014, he and a team of eleven other FBI special agents

and detectives executed a search warrant at Valerio’s residence in

Smithtown, New York.             The FBI had received information about

Valerio from Kalichenko, who reported that she had sold Valerio

child pornography.             Kalichenko gave the FBI copies of email

exchanges with        Valerio, as well as a video containing child

pornography that she claimed to have sent him.                   Based upon the

allegations, Troyd obtained a search warrant on January 27, 2014.

At the time the warrant was executed, Valerio was not charged by

indictment or criminal complaint.             (A:49-52).

             Agents executed the warrant at approximately 6:00 a.m.

on January 28.         The agents were not uniformed but wore jackets

that displayed FBI or police insignias, with ballistic armor

underneath.        As agents knocked on the front door, Troyd called the

home, and Valerio answered.             Troyd advised Valerio that the FBI

was there to execute a search warrant and that he should open the

door.   Valerio complied.         (A:52-54, 80).

             Agent Troyd entered, walked with Valerio to the end of

the entrance hallway, and repeated that the FBI was executing a

search warrant.           Valerio did not protest and stood with Troyd at

the   base    of    the    stairway   while   the    search   team   conducted   a

protective sweep of the home.           None of the officers had guns drawn,
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and Troyd did not see anyone carrying a long gun, rifle, or

shotgun.    He remained with Valerio during the sweep, which took

approximately ten minutes because of the size of the home.                  The

agents   ultimately    located    one   other   individual,     whom     Valerio

identified as his girlfriend, upstairs.          (A:54-58).

           Once the sweep ended, Valerio agreed to sit in the dining

room and speak to the agents.       Valerio sat at the head of the table

and Troyd sat at the far end.             Suffolk County Detective Rory

Forrestal sat to Valerio’s left.         Special Agent Danielle Messineo

sat to Forrestal’s left, and Nassau County Detective Badalucco

stood in the corner to Messineo’s left.           Nobody else was present

during this interview.        Valerio was not touched, restrained, or

handcuffed.    He was clothed, and no one drew a weapon on him.              At

one point during the interview, Valerio requested water and was

given a coffee mug of water from the kitchen.5            (A:58-62, 83-84).

           Troyd    explained    that   the   officers   were   looking     for

evidence of child pornography.          Valerio responded “that he was

being extorted by” Kalichenko and had received Viber chat messages

from her negotiating for money. Valerio was “dismayed [Kalichenko]

was able to find his email address” to communicate via Viber, and



     5    According to Troyd, although Valerio was not free to
walk around the house during the search or to go back and forth
from the kitchen to get water, he was free to go into the hallway
adjacent to the dining room and to leave the house. (A 84-90).
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Valerio “said he had contacted his attorney,” Anthony LaPinta, “to

speak with him in reference to the extortion.”                 Valerio did not

ask to speak with LaPinta at this point or say that he wanted to

call a lawyer.      (A:62-63, 86).

               Troyd then showed Valerio an excerpt of a July 22, 2012

email exchange between Valerio and Kalichenko and asked whether

Valerio    had     in   fact    directed    Kalichenko    to     produce   child

pornography.       Valerio said he had.       Troyd then asked Valerio “if

he had received that pornography in email.”              Valerio said he had.

Troyd also asked Valerio whether he had received a DHL package

from Kalichenko that contained a disk.              Valerio “admitted that he

had in fact received the package, but that he only recalled that

it contained bubble wrap.”         (A:63-66, 91).

               After Valerio made these statements, Troyd and Messineo

agreed    to    contact   the   United     States   Attorney’s    Office   about

authorizing a complaint against Valerio.              Troyd called Assistant

United States Attorney Allen Bode, who authorized the complaint.

Troyd and Messineo then agreed to advise Valerio of his Miranda

rights.6 At 7:55 a.m., Valerio signed an “Advice of Rights” form,


     6    On cross-examination, Troyd testified that, despite
Kalichenko’s allegations and the documentary evidence, he did not
intend to arrest Valerio regardless of whether the search warrant
revealed evidence of child pornography. Troyd did not believe he
had probable cause to arrest at the time he entered the house, and
he only decided to contact prosecutors after Valerio answered these
questions. (A:89, 93-96).
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acknowledging that he had read the form, understood his rights and

was willing to answer questions without a lawyer present.                 (A:66).

            Troyd continued the interview, first providing Valerio

with copies of two email exchanges between him and Kalichenko,

dated July 17 and July 22, 2012.            Valerio admitted that he had

sent these emails, but he declined Troyd’s request to sign them.

Valerio explained that he wanted the videos from Kalichenko because

he had sent her thousands of dollars and “wanted something for his

money.”     Troyd played part of a video provided by Kalichenko.

Valerio admitted that he recognized Kalichenko and the child, but

stated that he had not seen this particular video because he did

not recognize the background in it as the same background in other

videos sent to him by Kalichenko.          (A:67-68).

            Troyd asked Valerio to sign a written statement. Valerio

declined and asked to speak to his attorney.                     Troyd stopped

questioning     Valerio    or   speaking    with   him   about    Kalichenko’s

allegations. He did not immediately tell Valerio that he was under

arrest because he wanted Valerio to remain seated and calm.                  Once

the officers had cleaned up the search warrant materials, collected

the evidence, and loaded it in their cars, Troyd told Valerio that

he was under arrest and asked him to stand up to be handcuffed.

Valerio complied.      The agents walked Valerio outside and proceeded

to the courthouse in Central Islip, New York.             (A:72-73).
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     B.     The District Court’s Decision

            On September 3, 2014, the district court orally denied

the suppression motion (A:125-26) and issued a written decision on

April 15, 2016 (A:173-86).          The court found that Valerio’s pre-

Miranda statements on January 28, 2014, were non-custodial, and

thus did not require a Miranda warning, and were voluntary.               The

court   also     found   that   Valerio’s   post-Miranda     statements   were

voluntarily given following a valid waiver of his Miranda rights.

(A:180).

            1.    Pre-Miranda Statements

            In analyzing the facts regarding Valerio’s pre-Miranda

statements, the court concluded that:

            [A] reasonable person in defendant’s situation
            would have understood that he was free to end
            the interview and leave the house during the
            search based upon the following facts: (1) the
            interview   took   place   in    the   familiar
            surroundings     of      defendant’s      home;
            (2) defendant knew the agents were there to
            conduct a search, and agents never told him
            that he was under arrest, or that he was not
            free to terminate the interview and leave the
            house; (3) agents did not brandish their
            weapons or handcuff defendant or touch him in
            any way; (4) agents were not blocking the
            defendant   from   leaving   the   house;   and
            (5) agents did not say or do anything
            threatening,   but    rather   conducted    the
            interview of the defendant in a calm manner.

(A:180).

            Alternatively, the court concluded that:
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           [E]ven assuming arguendo that a reasonable
           person would not have understood he was free
           to end the interview and leave the house, the
           defendant’s   freedom  of   action  was   not
           curtailed to a degree associated with formal
           arrest. Thus, no pre-arrest Miranda warnings
           were necessary and the statements were
           voluntarily given.

(A:180-81) (emphasis in original).

           In   reaching    this    conclusion,       the    district   court

recognized that this Court has held that “[a]bsent a formal arrest,

interrogations in the ‘familiar surroundings of one’s home [are]

generally not deemed custodial,’ but under certain circumstances

may be.”     (A:181) (quoting United States v. Falso, 293 F. App’x

838, 839 (2d Cir. 2008) (quoting United States v. Newton, 369 F.3d

659, 675 (2d Cir. 2004)).     In finding that this was not one of the

situations    where   questioning   in   the   home    was   custodial,   the

district court cited the following factors: (1) Valerio was not

directed, but was asked and agreed to go to the dining room to be

interviewed; (2) he was not ordered to answer any questions, and

the interview was conducted in a calm manner; (3) Valerio was never

told that he was not free to leave, was under arrest, or was to be

arrested upon the completion of the search, and he was never

handcuffed or otherwise physically restrained; (4) although twelve

law enforcement officers entered the house, only four were in the

dining room during the interview; the rest of the officers were in

other areas of the house conducting the search; (5) Valerio
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                                                                               11

willingly divulged information despite knowing the officers were

searching for evidence of child pornography and remained calm

throughout the interview; and (6) the duration of the interview

(90 minutes) was not so long as to render it custodial under

Miranda.     (A:181-84).

             2.   Post-Miranda Statements

             The district court also denied suppression of Valerio’s

post-Miranda statements, finding that they were made following a

valid waiver of his Miranda rights.             (A:185).   Specifically, the

court     found   that   Valerio    was   not    physically    restrained     or

threatened, prohibited from standing up or leaving, or subject to

repeated or prolonged questioning.           Moreover, he did not request

an attorney, had a calm demeanor and did not indicate that he did

not understand the warnings or his rights.            (A:185).

II.   The Offense Conduct

             Valerio met his co-conspirator, Olena Kalichenko,7 in

the summer of 2011 via the website “ukrainiandate.com” and the two

began corresponding via email. (GX:562; PSR:¶¶20, 28). Kalichenko

visited Valerio in the summer of 2011 on Long Island and then

returned to Ukraine.        (GX:11-19, 562; PSR:¶¶ 20, 28).               Between



      7   Olena is also referred to in emails and texts with
Valerio which were admitted as trial exhibits using the English
variations “Helena” and “Elena.” (T:261).
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                                                                           12

2011 and 2013, Valerio sent money to Kalichenko in exchange for

videos of Kalichenko engaging in sexually explicit activity with

her two-year-old daughter,8 Jane Doe #1.             (T:427-28; GX:2-E, 10-

A, 203, 206, 322; PSR:¶¶21, 23).          Valerio asked for and received

approximately 46 videos containing child pornography of Jane Doe

#1 from Kalichenko between late 2011 and 2013. (GX:500; T:745;

PSR:¶¶21; Addendum 1).        In exchange, Valerio wired Kalichenko a

total of $12,350.     (GX:322, 10-A; T:366-68).

           Numerous email and text communications between Valerio

and Kalichenko were introduced at trial and set forth in the PSR.

In these communications, Valerio gave specific instructions to

Kalichenko as to how she should sexually abuse Jane Doe #1 in order

to create child pornography for him and discussed payments to her

for the child pornography, as well as threatening to cut her off

should she stop making videos for him.            (GX:2, 2B, 2D, 2E, 203,

205, 206, 208-31, 233, 235, 243, 247, 270, 501D, 504F, 555-61;

PSR:¶¶28-32).

           For    example,    on    January    24,    2012,    Valerio   sent

Kalichenko an email in which he told Kalichenko she had done a

“Great Job!” and instructed her to resend several videos from the


     8    While at trial both parties referred to             Jane Doe #1 as
three years old at the time of the offenses, at               the sentencing
hearing, the government asserted and the defendant            did not dispute
that she was actually two years old at that time.              (A:356).
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                                                                          13

day before as they were “too much memory at once to handle for the

phone.”    (GX:559-A; PSR:¶29).      He further instructed Kalichenko to

entice Jane Doe #1:9

            ... keep[ing] her between your legs SAFELY”
            with your legs up around her, putting her toys
            “DOWN BY YOUR SWEET PUSSY” (from your belly
            down to your pussy). With you and her securely
            on the couch, bed or floor” YOU can use the
            cell phone camera with one hand grabbing your
            TITS with the other and from your EYE view
            down to your sweet pussy ... you will be
            recording [Jane Doe #1] playing by your
            sweetness below! .... AS SHE TOUCHES AND
            EXPLORES YOU! ... AS YOU CONTINUE TO INSERT
            THE TOYS BETWEEN YOUR LEGS!!.

(Id.).

            In an email from Valerio to Kalichenko, on July 17, 2012,

Valerio wrote:

            The videos you sent by cell phone camera are
            PERFECT” and there is NO need for the expense
            of another camera, when you have done a
            terrific job with the cell phone camera.     I
            have a new cell phone which allows me to
            transfer your video to my email and the screen
            is bigger to view. Plus you can have endless
            video time per session with a cell phone
            camera. As far as the SCRIPT” ... do the same
            with our little [Jane Doe #1]’s DELICIOUS
            LITTLE PUSSY” - you know in the tub!

            the way you would eat her so sweet ... of
            course PANTYHOSE AND TIGHTS .... AS you two
            dance. Place toys inside your PUSSY” and have
            our little [Jane Doe #1] pull them out of your
            wet PUSSY ... EMMM”!


     9    Spelling and punctuation are set forth as in the original
communications.
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                                                                           14


            Tell me how you loved when you eat her little
            pussy and how WET your PUSSY was - CORRECT?.

            I told you how I cant wait to make hard luv to
            you ... as you eat our little [Jane Doe #1]
            delicous little pussy.

(GX:303-A; PSR:¶30).

            In an email from Valerio to Kalichenko, on July 22, 2012,

Valerio discussed having Kalichenko and Jane Doe #1 come and live

in New York “BECAUSE YOU AND [Jane Doe #1] OFFER ME “SOMETHING

DIFFERENT” ... that my other girls dont have or can’t supply to me

NOW” - So its [Jane Doe #1]” and you that fits that equations ...

GOT IT?!”    (GX:205; PSR:¶31).       Valerio requested that Kalichenko

sign a document giving him partial custody of Jane Doe #1 and

stated that “I have a generous figure in mind to send you tomorrow

early”   when   of   course   I   receive   that   scan   signed    agreement

regarding [Jane Doe #1]... I will send the cash EARLY”.”                 (Id.)

In describing his proposal, Valerio instructed Kalichenko:

            So in order for us to continue on this path
            ... YOU WILL SCAN THAT AGREEMENT SIGNED AND
            SENT TO ME BY TOMORROW!. The agreement will
            state that you are giving me partial custody
            of [Jane Doe #1].... signed by you, SO NO
            MATTER WHERE YOU MAY GO ... I HAVE EQUAL
            CUSTODY OF [Jane Doe #1]! AND IT WILL BE LEGAL
            ANYWHERE IN THE WORLD”. THIS MEANS I CAN COME
            TO ANY ONE COUNTRY TO PICK HER UP” ... But im
            sure that wont be necessary! because you know
            we have an agreement...And sincerely Helena
            you know how powerful I am from here to Europe.
            So we shall continue.        Remember” I have
            ALREADY put down [Jane Doe #1] as my
            DEPENDANT! ... and wrote it off on my taxes,
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           for the care I provided her like a daughter -
           SO SHE IS MINE” AS WELL AS YOURS.

                                *     *      *

           ... I WANT MORE VIDEO OF YOU AND [Jane Doe
           #1]... GET HER TO PLAY OR EAT JUST EAT YOUR
           PUSSY!!! AND SOME CELL VIDEO OF THE BOTH OF
           YOU IN TIGHTS ... I WANT TO SEE MORE. Try to
           get this to me ALL BY TOMORROW.

(Id.).

           In an email on September 27, 2012, Valerio reacted as

follows when Kalichenko did not perform as he expected:

           Hey you listen now or this will be the last
           time ever!! ... WHERE” the fuck are you
           writting mails at 9:30PM when your daughter is
           suppose to be sick??! are you starting to be
           that sneaky bitch again?! .... if SO, I will
           drop you on your ASS”! “BETTER FUCKING
           EXPLAIN”!. First off I just gave you $1,200
           for your family and your going to fucking
           “WORK FOR IT”! not sit anywhere ALL FUCKING
           DAY! SENDING OUT EMAILS! ... Im asking YOU”
           now what the fuck do you do ALL DAY”? and you
           have PRODUCED NOTHING FOR ME!!!

           I want an explaination for ALL of this NOW!
           ... Each morning and night you will send me a
           CELL PHONE VIDEO OF YOU WAKING UP WITH YOUR
           DAUGHTER, WITH YOUR TITS IN HER MOUTH BEFORE
           YOU GO TO SLEEP AND WAKE UP! .... IF I DONT
           SEE THIS EACH DAY” I WILL DROP YOU ON YOUR
           ASS!!! YOU BEITER MAKE SURE YOU HAVE AN
           EXPLAINATION FOR THIS AND I NEED TWO FUCKING
           MODELS” TO SIGN THOSE APPLICATIONS READY FOR
           INTERVIEWS BY NEXT WEEK OR ELSE YOU WILL BE
           SORRY! ... YOU BETER WORK BITCH! AND YOU TELL
           THEM THAT THEY CAN GET PAID FOR THEIR WORK IN
           YOUR FUCKING COUNTRY .... THEN HERE IN THE
           USA!!! BETTER USE YOUR FUCKING IMAGINATION
           WHEN YOU SPEAK TO THESE BITHCES TO SIGN THEM
           UP AND GET THEIR PUSSYS HERE!! .... GOT
           IT?!!!!
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            Lastly ... which may be the case for you! YOU
            GET ME THOSE PURCHASE RECEIPTS FOR ALL THOSE
            APPLIANCES AND FURNITURE AND YOU MAKE FUCKING
            SURE” I SEE THE SERIAL NUMBERS THAT MATCH ON
            EACH APPLIANCE PURCHASED ON A RECEIPT WITH THE
            COMPANY NAME!! - MOTHER FUCKER!! ..... GET TO
            WORK!!!

(GX:2E).

            In November 2013, Kalichenko contacted the FBI in Kiev,

Ukraine, reporting that she had made sexually explicit videos

involving her daughter and sent them to Valerio in the United

States and providing the FBI with emails from Valerio and a disk

containing explicit videos of Kalichenko and Jane Doe #1 that she

had sent to Valerio.        (T:261, 270-72).      As set forth above, that

information led to the execution of a search warrant at Valerio’s

residence on January 28, 2014.         (PSR:¶22).10

            In addition to the recovery of communications and videos

concerning Jane Doe #1, the search of Valerio’s residence led to

the discovery of digital devices.         A computer forensic examination

of these devices revealed child pornography images of Valerio’s

niece Jane Doe #2, approximately age six, in fetish outfits and in


     10   Indeed, messages sent via VIBER which were recovered in
the search of Valerio’s residence show that in December 2013, after
she had reported Valerio to the FBI, Kalichenko told Valerio that
he should have negotiated with her, that she was sending the videos
she had made for him with her daughter to the FBI, and requesting
he “negotiate” before she sends the rest to the FBI. (T:811-13,
861-62; GX:555).
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various stages of undress including images focused on her genitals,

which appeared red and inflamed, and images depicting her in

sexually-suggestive positions.         (GX:508-11, 515-16, 519-26, 528,

530, 532-39; PSR:¶¶25-26).        After reviewing these images, agents

recognized the setting as Valerio’s basement and obtained a second

warrant to search his residence.            (T:436-38; PSR:¶26).

           Valerio was rearrested on February 24, 2014, and charged

via a complaint with the sexual exploitation of Jane Doe #2.

(T:438-39).       When   informed    that    agents   had   discovered   the

pornographic pictures of his niece, Valerio stated, “I no longer

have a family.     I want to kill myself.”        (T:440-41).

           On February 25, 2014, agents conducted a second search

of Valerio’s residence.        (PSR:¶27).      During the search, agents

recovered a digital camera hidden in drop ceiling tiles in the

basement, as well as two other cameras hidden in a clock and within

a homemade platform that appeared to be used as a stage, pointed

upward to capture images of anyone standing on it.                 (T:463-70,

472-75; GX:311, 323-24, 404; PSR:¶27)               Agents also recovered

costumes worn by Jane Doe #2 in the images, including fishnet

stockings, a cheerleading outfit and blonde wig, as well as over

a dozen packages of pantyhose and stockings, many in children’s

sizes.   (T:450; GX:312, 335, 336, 338, 342, 343, 347; PSR:¶27).
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            Valerio’s sister, Bernadette Imperiale, the mother of

Jane Doe #2, testified at trial that, in 2010 to 2011, when Jane

Doe #2 was approximately six years old, Valerio asked to have Jane

Doe #2 model in order to make money.            (T:615).     Jane Doe #2 was

dressed in costumes and the modeling took place in the basement of

Valerio’s residence.        (T:616-19).      “[A] couple of times,” this

modeling took place in the basement without Imperiale’s being

present.     (T:619).     Imperiale identified Jane Doe #2, as well as

costumes and items in images recovered from Valerio’s computer

equipment.     (T:620-23, 626-27).        Imperiale was not aware of the

hidden cameras recovered from the basement. (T:625-26). At trial,

Imperiale claimed, for the first time, that on one occasion in the

summer a few years earlier, Kalichenko had been present and had

been left alone taking pictures of Jane Doe #2 in the basement.11

(T:631-34).




     11   Valerio’s mother also claimed at trial that Kalichenko
had been alone taking pictures of Jane Doe #2 in the basement with
Jane Doe #2 on one occasion in 2011 for 15-20 minutes. (T:936-
38). However, the computer forensic evidence showed that the child
pornography images of Jane Doe #2 had been created months earlier
on September 10, 2010 and January 19, 2011 (i.e., before Valerio
met Kalichenko). (T:770-89; GX:11-19, 507-10, 513, 515, 518-20,
562; PSR:¶39).
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III. Sentencing

     A.      The PSR

             1.    The PSR and Initial Recommendation

             In    October      2015,    the      U.S.    Probation     Department

(“Probation”)       issued      the     PSR     and    Initial   Recommendation.

Probation found Valerio’s total offense level to be 47 considering

the sexual exploitation of Jane Does #1 and #2 pursuant to U.S.S.G.

§ 2G2.1, plus an enhancement for a pattern of activity involving

prohibited sexual contact with a minor, pursuant to § 4B1.5(b)(1).

(PSR:¶¶46-68).          Valerio was assessed one criminal history point

based     upon    his     conviction     for     attempted   forcible    touching

(discussed below) and found to be in criminal history category

(“CHC”) I.       (PSR:¶¶70, 74-76).      Based upon the total offense level

of   47    and    CHC     I,   Probation       found   the   advisory   Guideline

imprisonment term was life.12           (PSR:¶118).

             The PSR indicated that Kalichenko reported that, during

her time in the United States with Valerio before she sent the

child pornography to him, Valerio told her that he had recordings

of him having sex with various women, which were recorded without



     12   In fact, as the district court later found, because none
of the counts of conviction carried a statutory maximum sentence
of life imprisonment, pursuant to U.S.S.G. § 5G1.1(c)(1), the
advisory Guideline sentence would be the combined maximum
statutory sentences for all the counts run consecutively. (GA:68-
70).
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their knowledge.        Kalichenko reported that Valerio struck her,

tried to rape her, and became infuriated when she threatened to

call police.      (PSR:¶20).

            Valerio had a 2006 conviction for attempted forcible

touching     in   violation     of   New        York   Penal   Law      §     130.52.

Specifically, on August 26, 2005, Valerio approached a woman from

behind while she was in a public pool with her two daughters.

Valerio    grabbed    her   crotch       area   and    attempted   to       digitally

penetrate her.       Valerio pled guilty and was sentenced on August

14, 2006, to one year of probation.              (PSR:¶70).

            Valerio violated his probation less than two weeks after

he was sentenced, when, on August 25, 2006, a search of Valerio’s

residence yielded numerous pornographic DVDs and video tapes,

possessed    in   violation    of    a    probation     condition    prohibiting

possession of pornographic material, including video tapes created

by Valerio of sexual encounters with women filmed without their

knowledge or consent.         Also recovered during the search were 11

knives, a rifle and ammunition, possessed in violation of a

probation condition prohibiting possession of weapons during his

supervision.      (PSR:¶72).

            Additionally, while on probation, Valerio incorporated

businesses under the names Long Island Women’s Coalition and Soft

Touch Therapy Mobile Massage.             Although initially reporting that
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these were legitimate modeling and massage businesses, Valerio

later admitted that they were means to create additional videos of

women   in   varying    stages    of   undress     without     their    knowledge.

(PSR:¶73).

             During sex offender treatment as part of this probation,

Valerio was given an assignment to write a statement about the

crime from the perspective of his victim, demonstrating empathy

for his victim. Valerio wrote, “I’m glad my sister called security

and I’m glad I chose to have you arrested dripping wet in your

shorts, because I am dripping wet every time I think of this time,

but in tears.”        Valerio shared this statement at a group therapy

session.     (Id.).

             Valerio    told    Probation    that    he    was   physically    and

sexually abused by his father between the ages of five and eleven

years old.      Valerio stated that his father attempted to anally

penetrate him and also sexually abused his sister, which latter

claim was corroborated by his sister.              (PSR:¶¶83, 89).

             Probation’s Initial Recommendation was for concurrent

sentences totaling 30 years on Counts One through Three, Six

through Fourteen and Four and Five, plus a consecutive five year

term    on   Count    Fifteen    for   a   total    of    35   years.    (Initial

Recommendation).
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            2.   The Addendum and Revised Recommendation

            On March 4, 2016, Probation issued the Addendum to the

PSR and a Revised Recommendation.             The Addendum described the

recovery of a laptop containing additional videos of Jane Doe #1,

hidden cameras and surreptitiously-made VHS tapes.            (Addendum 1).13

            In addition, Probation noted that the government had

proffered details concerning Valerio’s conduct regarding two other

women, A.D. (listed in the Addendum as Jane Doe #3) and Lucy Down

(listed in the Addendum as “Jane Doe #4”), which included violent

rapes and Valerio’s attempt to lure a young woman to the United

States on the false pretense that he was hiring her as an au pair,

respectively.14     (Addendum 1-4).




     13   On January 6, 2016, Valerio’s mother provided law
enforcement officers with a plastic bag that had been found hidden
inside of a drum set at Valerio’s residence. The bag contained a
laptop computer, 19 VHS tapes, a covert digital video recorder, an
alarm clock containing a hidden camera and an additional
surveillance camera. A forensic examination of the laptop revealed
approximately 16 newly-discovered videos of Jane Doe #1 from April
through November 2012, the time period during which Valerio had
scripted and received child pornography from Kalichenko. The VHS
tapes contained what appeared to be covert recordings from
Valerio’s home showing numerous women using the bathroom, dressing
and undressing and engaged in various other activities, seemingly
unaware that they were being recorded. (Addendum 1).
     14   This information was proffered following Valerio’s claim
in the PSR that he had a “very good relationship” with A.D. and
that she had left the United States solely due to a visa overstay.
(PSR:¶87).
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            In view of the additional criminal conduct, Probation

issued a Revised Recommendation of a 60-year sentence.                (Revised

Recommendation).

     B.     Valerio’s Request for a Fatico Hearing

            At a pre-sentencing status conference on May 3, 2016,

defense counsel stated that Valerio denied the allegations in the

Addendum relating to A.D. and Down and requested a Fatico hearing

as to those allegations.        (GA:17-18).

            The district court also informed the parties that in the

context of Kalichenko’s case, the court was aware that Kalichenko

had alleged that Valerio had raped and been violent towards her,

which allegations were similar to those of A.D.            (GA:19).       Defense

counsel confirmed that Valerio disputed Kalichenko’s allegations

as well.     (GA:20-21).     The court then directed the government to

reach out to counsel for Kalichenko and inform counsel that the

court was inviting Kalichenko to testify regarding the allegations

of abuse by Valerio.       (GA:21).

     C.     The Fatico Hearing

            On July 25, 2016, September 26, 2016 and March 6, 2017,

the district court held a Fatico hearing concerning the allegations

of Valerio’s conduct towards Down, Kalichenko and A.D., as well as

psychological testimony proffered by Valerio.
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            1.   Down

            Lucy Down, the au pair hired by Valerio, who at the time

of her testimony was 22 years old and living in the United Kingdom,

and Jolene Leonardo, a former employee of the au pair company,

testified on July 25, 2016.           Down testified that, in 2012, after

finishing college at the age of 18, she applied to an au pair

agency in the United States.          (A:189-90).   Valerio contacted Down

through the company’s database to interview her for an au pair

position.    (A:190).      On September 17, 2012, Valerio interviewed

Down remotely via Skype.       During that interview, Valerio told Down

that she would be responsible for caring for his eight-year-old

daughter Sylvia.        (A:190-91).

            On October 22, 2012, Down traveled to the United States

to work for Valerio.        (A:191).    After an orientation and training

program that lasted approximately five days, Valerio picked Down

up in his car.     (A:191-92).        During the drive to Valerio’s home,

Valerio informed Down that Sylvia was not actually his child. When

Down asked him why he needed an au pair, he said that he would

explain later.    (A:192).     He also told her that he was planning to

take her to a Halloween party and that he would like her to wear

pantyhose with nothing else as a costume.           (Id.).

            Valerio took Down to his home on Long Island.              After

Valerio showed Down her bedroom, he asked if she would like a
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drink.    (Id.).    While Down was sitting in the media room with a

drink, Valerio entered wearing boxers and a tank top.                     (Id.).

Valerio sat next to Down for a few minutes and touched her hand,

and Down then went upstairs to her room to go to sleep.                  (A:192-

93).    She awoke around 4 a.m. and contacted her father via e-mail.

They then spoke over Skype and Down explained what had happened.

Down’s father contacted the au pair agency, which contacted Down

and told her that someone would come to pick her up.             (A:193).

            After that conversation, Valerio entered Down’s room and

noticed that she had been crying.         (Id.).    Down told him that she

was homesick, and he left.          Down collected her belongings, went

downstairs, and informed Valerio that she was leaving.                   Valerio

expressed shock and told Down to “grow up” and that he could offer

her a lot of money.     (Id.).    Down felt intimidated.       (Id.).      After

about 20 minutes, Leonardo arrived at Valerio’s home to collect

Down.    (A:193-94).   Valerio refused to answer Leonardo’s questions

about what had happened and closed the door to the house.                   Down

stayed at Leonardo’s house for about a week and then returned to

the United Kingdom.      (A:194).

            Leonardo also testified that she had interviewed Valerio

in 2012 at his home after he applied to employ an au pair.               Valerio

told her that he and his wife shared joint custody of Valerio’s
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daughter Sylvia, who he said was in school at the time of the

interview.       (A:202-03).

            2.     Kalichenko

            Kalichenko testified on July 25, 2016.               She first met

Valerio through a web site called UkranianDate.com that matched

couples seeking marriage.              She was looking for a husband and

someone who could be a father to her daughter.               (A:211).

            Kalichenko and Valerio met for the first time in June

2011 when she traveled to Long Island.                Valerio picked her up at

the airport and paid for her flight from Dallas, Texas.                     (Id.).

Kalichenko met Valerio’s son and stayed at Valerio’s house for

about 10 days.       (A:212).     At that time, he did not abuse her in

any way; however, Kalichenko observed that Valerio seemed to have

a temper.    (Id.).     While staying with Valerio, Kalichenko learned

from her mother that she had placed Kalichenko’s daughter in an

orphanage    in    Ukraine,     which   Kalichenko     mentioned     to   Valerio.

(Id.).

            Kalichenko returned to Ukraine in July 2011.                    (Id.).

Valerio purchased her plane ticket and communicated with her while

she was in Ukraine, and he also sent Kalichenko money.                     (A:212-

13).     Kalichenko returned to the United States on September 2,

2011 to continue her relationship with Valerio, whom she was

determined    to    marry.       She    stayed   in   the   United   States   for
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approximately two months and spent part of that time at Valerio’s

house.     (A:213).

             After about three weeks, Kalichenko left Valerio’s home

because he had physically and sexually abused her.                      (A:214).

During the first instance of abuse, Valerio unexpectedly told

Kalichenko that she had to leave his house.               When she did not do

so, Valerio forcibly removed Kalichenko’s clothes, forced her to

crawl on the floor, and called her insulting names.                        (Id.).

Valerio also repeatedly slapped and penetrated Kalichenko with his

hand and pulled her hair, forced her to perform oral sex on him

after she refused to do so, and forced Kalichenko to engage in

sexual intercourse.        (A:214-15, 216).        Kalichenko felt humiliated

and   in     physical     pain    during    this     assault,   which      lasted

approximately one to two hours.            (A:215-16).

             Kalichenko traveled to Seattle and stayed with someone

she barely knew.         (A:216).     She did not report Valerio to the

police because she still hoped that he could be a good father to

her daughter.      (A:217).      She returned to Valerio’s home in October

after he contacted her via e-mail and asked her to come back.

(Id.).      Kalichenko decided to give Valerio a second chance and

stayed with him for a few weeks.             (Id.).      Valerio paid for her

flight from Seattle and told her that he would pick her up in

Central Park in New York City, and he also instructed that she
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wear a mini skirt and pantyhose without underwear.             (A:217-18).

Kalichenko dressed as directed, and Valerio picked her up in

Central Park and drove her to Long Island.             (A:218).        After a

couple of hours of driving, he pulled to the side of the road and

sexually assaulted Kalichenko, tearing her clothes and causing her

physical pain.     (A:218-19).      After Valerio finished, he told

Kalichenko that he was sorry.          She decided not to contact the

police because she still hoped that Valerio would prove to be a

good father to her daughter.      (A:219).

          On October 18, 2011, near the end of Kalichenko’s stay

with Valerio, Kalichenko signed a written agreement with Valerio

that he drafted stating that she was entering into a “multiple

partner relationship” with him.        (A:220).   The agreement also said

that Kalichenko promised to obey Valerio’s commands, and that

Valerio agreed to be gentle to her when not engaging in consensual

rough sexual intercourse.     (Id.).    Notwithstanding that agreement,

Kalichenko believed that Valerio’s prior sexual assaults against

her were non-consensual.     (Id.).

          The agreement also said that Kalichenko would never

mention the word “police” in Valerio’s home; Kalichenko believed

that Valerio included this language because he feared that she

would contact law enforcement about his assaults.             (A:220).      In

addition, Valerio sent Kalichenko e-mails asking for her help in
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adopting a child from Ukraine by posing with him as a couple in

return for a commission.           (A:221).   Kalichenko did not assist

Valerio and sent his correspondence to the American consulate to

make sure that he could not adopt a child from Ukraine or any other

country.   (Id.).

           3.     A.D.

           A.D. testified on September 26, 2016.           She was born and

raised in South Africa.      She has a nine-year-old son and a seven-

year-old daughter.       She has traveled to the United States several

times from February to May 2008, June to October or November 2008,

and December 2008 to March 2010.        During all of those trips, A.D.

stayed on Long Island and lived in houses owned by Valerio.

(A:229).

           A.D.    met   Valerio    through   a   dating   website      called

christiansingles.com in July or August of 2007 when she was

pregnant with her son.       (A:230).     Valerio paid for her February

2008 flight to the United States, and she brought her son with

her.   (Id.).     Valerio picked her up from the airport, gave her

gifts, and treated her well at first.         (Id.).   Eventually, Valerio

began losing his temper and, on one occasion, threw A.D. to the

kitchen floor and choked and hit her while she screamed.                (Id.).

Valerio also began to make A.D. feel as though her son was a

“burden” and that he “didn’t want him around.”                (Id.).      A.D.
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                                                                            30

returned to South Africa in May 2008 because she missed her mother.

(A:231).    In addition, Valerio had asked that she participate in

some kind of a fashion show during which she would wear nothing

but pantyhose, which made her uncomfortable, so she decided to

leave the United States.       (Id.).

           When A.D. returned in June 2008, Valerio picked her up

at the airport.      (Id.).    Another man helped A.D. carry her bags

from the plane to the airport exit, and when Valerio saw him assist

her, he became angry and grabbed the luggage away from the man.

(Id.).   After Valerio and A.D. arrived at Valerio’s home, Valerio

grabbed A.D. and forced her onto a couch.          (A:232).    He pushed her

face down into a pillow and ripped her clothes off, telling her

that he was in charge and leaving her in tears.               (Id.).     During

this second visit, A.D. became pregnant by Valerio in or around

July 2008, and returned to South Africa a few months later to see

her mother.    (A:232-33).

           After A.D. came back to the United States for the third

time, she gave birth to their daughter in April 2009, and Valerio

refused to let her leave the country again despite the fact that

her visa subsequently expired.          (A:233).     A.D. brought her son

with her, but eventually asked her mother to come to the United

States and bring him back to South Africa because A.D. believed

that her son was not safe in Valerio’s home.             (Id.).    While A.D.
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                                                                        31

was pregnant with their daughter, Valerio’s abuse worsened, and he

told her that she should get an abortion or fall down the stairs

and die.   In addition, because A.D. was not having sex with him,

Valerio slapped her on one occasion, causing A.D. to fall and split

her lip.   (Id.).   He also attempted to force her to have sexual

intercourse on another occasion, choking and hitting A.D. while

she begged him to stop, which he eventually did. (Id.).

           After their daughter was born, Valerio’s abuse of A.D.

continued, and on another occasion, he tried to rape her and banged

A.D.’s head against her bed’s headboard while she held their

daughter in her arms.      (Id.).     In addition, the sight of A.D.

breastfeeding their daughter made Valerio angry, and he once threw

a soda can at her head when he saw her doing so.               (A:233-34).

After an argument during the summer of 2009, A.D. called the

police, and when two officers arrived and A.D. explained what had

happened, one of the officer told her that she had probably

provoked Valerio.     (A:234).      This stunned A.D. and led her to

believe that Valerio was correct when he told her that no one would

help her if she reported his abuse, and she declined to complete

a formal police statement.       (A:234, 242-43).       Valerio also told

A.D. that she could not leave the United States, and that if she

did, he would send someone after her.          (Id.).    While A.D. lived

with Valerio, he strictly monitored her interactions with other
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                                                                             32

people and refused to let her socialize outside of the home,

although he eventually bought her a cell phone to use.                   (A:235-

36).    When Valerio left the house, he would lock A.D. inside and

close the blinds.      (A:236).

             During the summer of 2009, Valerio physically assaulted

A.D. on another occasion while he was driving her for an evening

out.    (A:234).    After hitting her, Valerio stopped the car in a

dark parking lot and told A.D. that she was going to die, and she

jumped out of the car.        (A:234-35).      A.D. screamed for help, and

Valerio grabbed her, put his hand over her mouth, and forced her

back into the vehicle.       (A:235).       Due to these repeated incidents

of abuse, A.D. left Valerio’s home and went to a women’s shelter

called Brighter Tomorrows.         (Id.).     However, because the shelter

was    not   comfortable    and   because    Valerio   convinced   A.D.    that

conditions would improve if she returned, A.D. went back to live

with Valerio.      (Id.).

             Two subsequent physical assaults caused A.D. to leave

the United States for the third time.          (A:236). The first incident

occurred while Valerio was driving A.D. and was pulled over by two

police officers for driving the wrong way on a one-way street.

This angered Valerio, and after the police left, he drove A.D. to

a beach, smashed her head against the car’s dashboard, pulled her

hair out, and screamed insults at her.              (Id.).   He also ripped
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A.D.’s dress and raped her, and then drove her back to his house.

(Id.).   The second incident, which occurred in or around November

2009, happened when A.D. entered Valerio’s home office.                  (Id.).

He became angry and choked and punched her, causing A.D. to lose

consciousness.      (A:237).    When A.D. awoke, she realized that her

mouth was bloody and that Valerio had knocked some of her teeth

loose.   (Id.).     Valerio allowed her to go to a dentist, but told

A.D. that he would kill her if she told anyone about the assault.

(Id.).   The dentist referred A.D. to a surgeon, but despite the

operation, which Valerio paid for, A.D.’s teeth have never returned

to normal.      (Id.).

           Before A.D. returned to South Africa, she filed for

custody of their daughter in a family court on Long Island.              (Id.).

Her   custody    petition    documented    Valerio’s     abusive    behavior.

(Id.).   After filing for custody, A.D. left the United States on

or about March 9, 2010 with their daughter after promising Valerio

that she would eventually return.           (A:237-38).      A.D. agreed to

come back to the United States because she was fearful that Valerio

would send someone to retrieve her or hurt her family if she did

not do so.       (A:238).   On or about October 4, 2010, Valerio e-

mailed A.D. saying that he was going to travel to South Africa and

forcibly take her daughter from her.          (Id.).    This convinced A.D.
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                                                                       34

that she had to return to the United States to protect her daughter

from Valerio, which she did in January 2016.          (Id.).

           When A.D. arrived in the United States, Agent Troyd met

her at the airport.     A.D. spoke with Troyd and provided him with

several e-mails and other documents documenting, inter alia, her

visits to the dentist and the oral surgeon.         (A:238-39).

           4.   Psychological Testimony

           On March 6, 2017, the defense presented testimony from

Valerio’s retained forensic psychiatrist, Dr. Alexander Bardey

(A:261-316), and social worker Maura Gordon (A:317-25).

           Dr. Bardey opined that childhood sexual abuse suffered

by Valerio, as well as drug use, had led him to an interest in

improper sexual acts.    (A:268-86).     Dr. Bardey opined that Valerio

remained a “moderate” risk of reoffending. (A:286-87). Dr. Bardey

also found that Valerio had an interest in sadomasochistic and

violent internet pornography which, if Valerio viewed in the

future, would increase his risk of recidivism.          (A:300).

           As Dr. Bardey conceded, however, this conclusion that

Valerio was a “moderate” risk of dangerousness did not take into

account sex crimes which the government proved at the Fatico

hearing.   (A:305-08).    Specifically, Dr. Bardey did not account

for Valerio’s repeated, violent rapes of A.D. and Kalichenko.

(A:307-08).     Dr. Bardey acknowledged on cross-examination that if
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this conduct were included, Valerio would be at a higher risk of

recidivism.        (A:316).     Notably, as Dr. Bardey admitted, Valerio

had already recidivated when he committed the instant offenses,

despite receiving sex offender therapy following his August 2006

conviction.       (A:299-300).

              Gordon     testified     regarding     interviewing      Valerio’s

sister, Bernadette Imperiale, who corroborated Valerio’s claim of

childhood abuse, as well as her own abuse by their father.                  (A:318-

25).

       D.     The District Court’s Fatico Decision

              By written decision dated June 1, 2017, the district

court found, having evaluated the demeanor and credibility of the

witnesses at the Fatico hearing, that:

              [T]he   government    has   proven,    by    a
              preponderance of the evidence, that (1) the
              defendant physically and sexually assaulted
              Olena Kalichenko during the course of his
              relationship with her; (2) the defendant
              physically and sexually assaulted A.D. during
              his relationship with her; and (3) the
              defendant   deceived   another   woman    into
              believing that she was coming to his house
              from England to be an au pair, even though
              there was no child in his house.

(SPA:12).

              Regarding the assaults and rapes of Kalichenko and A.D.,

the court indicated that it would consider this conduct                        “in

connection        with    the    Section     3553(a)     factors—namely,       the

defendant’s history of extremely dangerous and violent behavior
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                                                                                 36

towards other individuals, and the need to protect the public from

further       crimes    by   the   defendant.”      (SPA:12-13).       Regarding

Valerio’s luring of Down to the United States, the court stated

that     it     would    consider     this    non-violent     conduct       as   it

“corroborat[ed] the testimony of Ms. Kalichenko and A.D. regarding

the deceptive and manipulative conduct by the defendant during

their respective relationships with him,” but that, “[i]n any

event, even if the Court did not consider the interactions with

the au pair at all, it would reach the ... same conclusions with

respect to Ms. Kalichenko and A.D.”              (SPA:13 n.3).

       E.      The Sentencing Proceeding

               On June 6, 2017, the parties appeared for sentencing.

As to the Guidelines calculation, the parties agreed that Valerio

had an offense level of 47 and criminal history category of I.

(GA:66-67). As the court noted, this would carry an advisory range

of life, however, because no count of conviction carried a life

sentence, the advisory range became the sum of the statutory

maximums of all the counts together. (GA:68-69). The court agreed

with defense counsel that sentencing Valerio on Counts Nine through

Thirteen would present a double jeopardy problem and dismissed

those counts without prejudice on consent of the government.

(GA:69-70).        The court then adopted Valerio’s position that the

advisory Guidelines was the sum of the remaining counts – 260

years.      (GA:70).     Neither party objected to the PSR as so amended
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                                                                            37

and the court adopted the information in the PSR as factual

findings of the court in addition to its Fatico findings.               (Id.).

           Defense counsel argued for a non-Guidelines sentence

that would allow Valerio to be released at some point, citing

Valerio’s childhood abuse, the evaluation by Dr. Bardey and the

support of his family.       (GA:71-77).   Valerio’s counsel argued that

based on Valerio’s life expectancy, any sentence over 34 years

would be a de facto life sentence.          (GA:78).      He further argued

that in terms of general deterrence, if such sentences for child

pornography production become prevalent an offender may decide to

kill a victim instead.       (GA:79).

           Valerio    also    addressed    the   court,     claiming    that,

although he had committed heinous acts, he had been consumed with

drug, alcohol and sex addiction he was unable to control. (GA:81).

He indicated he felt the pain he had put his victims through and

his two adult victims (A.D. and Kalichenko) had loved and trusted

him.   Valerio indicated he had been “consumed with sexual desire

and that took over my feelings for them.         The money that I had was

a power over them, a tool in lieu for their sexual desires.”

(GA:82).   Valerio indicated that heavy cocaine use had distorted

his thinking to the point where he thought of a child as a “toy”

and “order[ed] somebody that I loved and she loved me as well, to

direct her to do something so horrible as that.”                (GA:82-83).
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Valerio expressed remorse and stated a desire for rehabilitation.

(GA:84-85).     The district court commented that Valerio’s remorse

appeared to be genuine and that it would consider his childhood

circumstances, as well as other factors.          (GA:85-86).

          The government acknowledged that a 60-year sentence was

very significant but argued it was appropriate, because Valerio

was dangerous and his conduct was deliberate.                (GA:86).     The

government argued that Valerio had deliberately assaulted a woman

in 2005 at the water park and while on probation he had been found

with videotapes where he had secretly taped nannies and caretakers

in his home.    (GA:86-87).    Valerio had also deliberately sexually

exploited the two-year-old victim by convincing the mother to make

him videos and his six-year-old niece by convincing the family he

was taking legitimate modeling photographs.          (GA:87).

          The government argued that Valerio was deliberate in his

victimization of A.D., repeatedly raping her, breaking her teeth

and knocking her unconscious.        (Id.).     The government pointed to

A.D.’s letter of May 8, 2017, in which A.D. described how her life

had been completely transformed by Valerio’s conduct.            (Id.).

          The    government    argued    that    Valerio’s    conduct     was

deliberate    when   he   sexually   assaulted     and   repeatedly     raped

Kalichenko and when he tried to adopt a child from Ukraine even

after they broke up.      (Id.).     Moreover, Valerio had tricked the
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18-year-old au pair and her employer-agency, convincing them that

he had a daughter in need of care, and then tried to get her to

wear a fetish outfit to a party.         (GA:87-88).

           As to Dr. Bardey’s testimony, the government noted that

he had conceded that his finding that Valerio was a moderate risk

to reoffend did not take into account Valerio’s violent conduct

toward A.D. and Kalichenko.        (GA:88).

           Finally, the government argued that Valerio had already

been given a second chance when he received probation following

the sexual assault at the wave pool and “[h]e ha[d] demonstrated

since that time that he cannot be trusted, that he will manipulate

others, and that he is a danger to our community.”            (GA:89).

           The district court then imposed a sentence of 720 months,

stating that it had “carefully gone through and considered all the

factors set forth by Congress in Section 3553(a).”                (GA:89-90).

The court explained that it imposed that sentence “with great

thought and pause and having reconsidered it several times.”

(GA:90).

           The court noted that the offenses of conviction “showed

the   defendant   to   be   a   compelling    danger   to   the   community,

especially to children.”        (Id.).   Further, Valerio carried out the

offense by treating Kalichenko “in such a demeaning, degrading,

humiliating way as an object to make her completely dependent upon
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Mr. Valerio ... so that she would do his bidding, including exploit

her own infant.”        (GA:91).   In addition, Valerio’s exploitation of

his six-year-old niece “betray[ed] the trust that was given to him

as an uncle” and “deceiv[ed] and manipulate[ed] people in order to

satisfy his desires.”           (Id.).    Thus, “the counts of conviction

demonstrate the defendant to be extremely violent and dangerous

and a clear and compelling danger to the community especially to

children at the highest level.”           (Id.).

               The court remarked that “the level of danger is only

further       confirmed   by”   Valerio’s      history    and    characteristics.

(Id.).    Specifically, Valerio’s “history and characteristics show

that he is not only a danger to children, but he’s a danger to

women    as    well.”     (GA:92).       The    court    cited    Valerio’s   2006

conviction for attempted forcible touching as well as the fact

that Valerio’s “adjustment on supervision from that probation was

unsuccessful” and that Valerio “was given a chance with treatment

there and did not take that opportunity.”                (Id.).

               The court found that the evidence of Valerio’s “extreme

dangerousness was further corroborated at the Fatico hearing.”

(Id.).    It found the women who testified “completely credible,”

commenting, “I listened to them testify.             I could hear it in their

voice.    I could see it in their eyes.           There was no question that

those events happened as they articulated.”                  (Id.).    The court
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referenced the testimony of A.D. and Kalichenko about Valerio’s

acts of physical and sexual violence.           Further, the court found

that   Down’s    testimony   “corroborated    the   manipulativeness    and

deceptive behavior Mr. Valerio has engaged in his life in order to

engage in this type of violent conduct towards women and towards

children.”      (GA:93).

           In concluding its analysis of the offense conduct and

Valerio’s history and characteristics, the court remarked:

                So the counts of conviction and this
           history of violence show him to be, which is
           clear to me he is an extremely dangerous
           individual, that this court needs to protect
           society from for the rest of his life. I don’t
           believe there are any limits on what he would
           do to satisfy his sexual desires to women or
           to children.      So society needs to be
           protected.    I don’t believe his level of
           dangerousness will diminish over time.       I
           think his risk of recidivism is extremely
           high.

                             *     *     *     *

                All that led me to conclude that 60 years
           imprisonment, which is effectively a life
           sentence is warranted, sufficient and no
           greater than is necessary to reflect all of
           the factors.

(GA:93-94).

           The court then reviewed Valerio’s mitigation arguments.

The court acknowledged that the defense had made “significant

submissions,” which it had considered, but that it did not “believe

that a sentence less than the one I’m imposing would properly
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balance all the factors.”        (GA:94).      The court addressed Dr.

Bardey’s testimony, noting that Dr. Bardey had assessed Valerio as

presenting a “moderate risk of reoffending,” which the court found

“obviously significant when you are talking about the type of

activity that Mr. Valerio was involved in.”            (GA:95).    However,

the court found that Dr. Bardey’s risk assessment was understated

because it did not take into account the evidence of Valerio’s

violence to A.D. and Kalichenko that was presented at the Fatico

hearing.   Further, while Dr. Bardey opined that Valerio might be

amenable to treatment, Valerio had “a chance to receive treatment

many years ago and was unsuccessful.”         The court was unpersuaded

by Dr. Bardey’s suggestion that treatment might be more successful

now because Valerio had finally shown some remorse for his conduct.

The court found that the evidence of remorse was insufficient “to

undo all the evidence ... of the violence that he’s been involved

in for a number of years, both to his children and to women.”

(GA:96-97).

           The court rejected the defense’s citation of other cases

in the Eastern District of New York as support for an argument

that the sentence would create unwarranted sentencing disparities.

The court noted that all of the facts of those other cases were

not before it and that it could not be sure whether they were

“completely analogous” to this case.        (GA:97).    In any event, the
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court noted that the government had cited other cases from the

Eastern District of New York where defendants were sentenced to 60

years or longer.

            Finally, the court acknowledged that it was “sensitive

to” the defense argument that “sentences of life or the equivalent

of life are usually reserved for murder.”            (GA:98).    However, the

court explained:

            I have never sentenced anyone to this amount
            of time that did not involve a murder, but I
            believe this is the extraordinary case, given
            the combination of factors and all the
            evidence before me, that an effective sentence
            of life is necessary to, among other things,
            protect the public from the dangerousness that
            I believe the defendant poses to the
            community, notwithstanding his words today.

(GA:98-99).

            Following imposition of sentence, the district court

affirmed that, if there were any issue with Counts Four, Five or

Fifteen, the court would have considered consecutive sentences as

to the counts involving both victims to accomplish the same 60-

year sentence.      (GA:105).     The court specifically addressed this

stating:

            . . . I know the guidelines is [260]15 years,
            the advisory range, but my sentence is not
            driven by the guidelines in this case.



     15   The transcript incorrectly reads “216,” rather than
“260,” as was discussed at the outset of the sentencing proceeding.
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            Regardless of what the guidelines were, that
            number is not inf1uencing me.

                 It’s based upon what I have seen in this
            case and reviewed during the trial, during the
            hearings.   So this is not a case -- I know
            there are Second Circuit cases that talk about
            the guidelines sometimes for child pornography
            can be too severe for certain situations. I
            don’t believe that this is a case where this
            guideline number is driving the sentence.

                 But, yes, the answer to your question is
            yes, the sentence would be the same even in
            the absence of those counts.

(GA:105-06).

     F.     The Written Judgment and Statement of Reasons

            The    SOR   accompanying     the   district    court’s       written

judgment adopted the Guidelines calculation agreed to by the

parties at the sentencing, finding an advisory Guidelines sentence

of 3120 months (260 years).        (SOR:1).     In the SOR, the court noted

the 60 year sentence was a below-Guidelines sentence and provided

the following rider regarding its reasons for the sentence:

            Based upon the defendant’s conduct in this
            case, and his history and characteristics, the
            Court does not believe that the defendant’s
            dangerousness will dissipate over time and
            concludes that an effective life sentence (of
            60 years) is necessary to protect the public
            from the defendant. The Court concludes, for
            reasons set forth in detail on the record,
            that the defendant’s risk of recidivism is
            extremely high.     Given the nature of his
            conduct and the harm that the defendant has
            caused by his conduct in this case, this
            sentence is also necessary to reflect the
            seriousness of the offense, to promote respect
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          for the law, and to provide a just punishment
          for the offense.

(SOR:3, 5).   The court indicated that the sentence was intended to

be an effective life sentence given the “extremely serious nature

of the offenses” and “extreme level of danger” posed by Valerio’s

history and characteristics.      (SOR:5).
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                                       ARGUMENT

                                       POINT ONE

                          THE DISTRICT COURT PROPERLY
                      DENIED VALERIO’S MOTION TO SUPPRESS

             Valerio claims that the district court erred in denying

his   motion     to    suppress    his      statements   made    in   response     to

questioning during the search of his residence.                     He argues that

his pre-Miranda statements should have been suppressed because the

questioning      constituted      custodial        interrogation.      He   further

contends     that,     because    of   this    alleged   violation,       his   post-

Miranda statements should have been suppressed as well.                         These

claims are without merit.

I.    Applicable Law

      A.     Standard of Review

             This      Court   reviews       the    district    court’s     “factual

findings for clear error” and “questions of law de novo.”                       United

States v. Faux, 828 F.3d 130, 134 (2d Cir. 2016).                 With respect to

Miranda     claims,     findings       of   historical    fact    concerning      the

questioning are reviewed for clear error, but the conclusion as to

whether a suspect was in custody is reviewed de novo.                     See United

States v. Newton, 369 F.3d 659, 668-69 (2d Cir. 2004)

      B.     Custodial Interrogation

             Miranda warnings are not required unless law enforcement

agents interrogate a person who is in custody.                   See id. at 669.
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The test for whether a defendant was in custody is an objective

one that asks (1) “whether a reasonable person would have thought

he was free to leave,” id. at 672; and, if not, (2) whether there

has been a formal arrest or a reasonable person in defendant’s

position would have understood himself or herself “to be subjected

to the restraints comparable to those associated with a formal

arrest,”     id.    at   671    (citation    and   internal     quotation     marks

omitted). Whether a person is in custody “depends on the objective

circumstances of the interrogation, not on the subjective views

harbored by either the interrogating officers or the person being

questioned.”       Stansbury v. California, 511 U.S. 318, 323 (1994).

             Relevant     circumstances      include:    “the   interrogation’s

duration; its location (e.g., at the suspect’s home, in public, in

a   police    station,     or    at   the    border);    whether     the    suspect

volunteered        for   the    interview;     whether    the      officers    used

restraints; whether weapons were present and especially whether

they were drawn; whether officers told the suspect he was free to

leave or under suspicion[,]” and the “nature of the questions

asked.”      United States v. FNU LNU, 653 F.3d 144, 153 (2d Cir.

2011).       “[A]bsent     an   arrest,     interrogation     in    the    familiar

surroundings of one’s own home is generally not deemed custodial.”

Newton, 369 F.3d at 675 (citation omitted).
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II.   The District Court Correctly Held
      that Valerio Was Not in Custody
      Before Receiving Miranda Warnings

          The district court did not commit clear error in making

its findings of fact and it correctly determined that the facts as

found showed that Valerio was not “in custody” when he voluntarily

spoke with law enforcement agents at his home.                  After fully

crediting Agent Troyd’s testimony, and discrediting Valerio’s

contrary assertions, the court concluded that a reasonable person

in Valerio’s “situation would have understood that he was free to

end the interview and leave the house” and, in any event, his

“freedom of action was not curtailed to a degree associated with

formal arrest.”      (A:180).      The court correctly reasoned that

(1) the interview took place in the familiar surroundings of

Valerio’s home; (2) Valerio knew the agents were there to conduct

a search, and agents never told him that he was under arrest, or

that he was not free to terminate the interview and leave the

house; (3) the interview commenced only after Troyd asked Valerio

if he would sit in the dining room and speak with the agents and

Valerio agreed; (4) agents did not brandish their weapons or

handcuff Valerio, and they did not physically touch or threaten

him; (5) agents were not blocking Valerio from leaving the house;

and (6) agents did not say or do anything threatening, but rather
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conducted the interview in a “calm” manner.                        These circumstances

support the finding that Valerio was not in custody.

               Valerio’s reliance on United States v. Craighead, 539

F.3d    1073    (9th    Cir.    2008),      is   misplaced.         There,     eight    law

enforcement        officers         entered      Craighead’s        home,     some     with

unholstered firearms.               See id. at 1085.          Two of the officers

escorted Craighead to “a back storage room” and closed the door

behind him.      Id. at 1086.            An agent wearing a “raid vest,” who was

“visibly armed,” “stood silent with his back to the door facing

the suspect.”       Id.   The interrogation occurred in “the dark recess

of the back storage room,” id. at 1087, with Craighead “sitting on

a box or a chair grabbed from another room,” id. at 1089.                               The

court commented that such circumstances diverge sharply from “[a]n

interview      conducted       in    a    suspect’s    kitchen,      living     room,    or

bedroom,” which “might allow the suspect to take comfort in the

familiar surroundings of the home and decrease the sensation of

being     isolated      in     a     police-dominated        atmosphere.”            Id. at

1088.    Craighead thus bears little resemblance to this case.

                Other     out-of-circuit          cases    cited     by     Valerio    also

involved significantly more coercive circumstances than this case.

For     example,    Valerio         cites     United      States    v.    Mittel-Carey,

493 F.3d 36, 40 (1st Cir. 2007), in which a suspect “confronted

with an unholstered gun in his darkened bedroom” and interrogated
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for at least 90 minutes was found to have been in custody.

Similarly, in United States v. Hashime, 734 F.3d 278, 280-81 (4th

Cir. 2013), the court found that a defendant was in custody during

the execution of a residential search warrant where 15 to 30

agents, “equipped with a battering ram[,]” entered his home with

a great show of force, woke him up while he was sleeping naked,

got him out of bed at gun point, led him downstairs and outside in

his   boxer    shorts,   separated   him   from   his   family,    and   then

interviewed him for three hours in a small basement storage room.

In United States v. Cavazos, 668 F.3d 190, 191-92, 194 (5th Cir.

2012), a defendant was found to be in custody where he was awakened

by agents banging on his door and shining flashlights through his

window, roused from his bed by fourteen agents and                  officers

executing a search warrant, handcuffed, and separated from his

family during questioning.

              Valerio argues that limitations such as being separated

from his girlfriend or not being permitted to walk into his kitchen

indicate that his freedom was curtailed to a degree associated

with formal arrest.      (Br.45).    However, this Court has repeatedly

declined to find that a suspect questioned in his own home is in

custody even where he “cannot move freely about[.]”            (Id.).    See,

e.g., Faux, 828 F.3d at 137, 138-39 (defendant was not in custody

even though she ”was not permitted to move freely about her home
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during the two-hour interrogation [and] agents accompanied her to

the bathroom and to her bedroom to fetch a sweater”); United States

v. Akapo, 420 F. App’x 42, 44 (2d Cir. 2011) (“Although two of the

agents asked [defendant] to stand near the doorway while three

other agents searched the apartment, this was a reasonable request

given the small size of his apartment, and on balance did not

result in a custodial situation.”); United States v. Badmus, 325

F.3d 133, 139 (2d Cir. 2003) (defendant was not in custody despite

agents’ three-hour presence in his apartment and being “asked to

stay seated in the living room” and not being permitted “to move

freely about” the apartment); United States v. Cerreta, 63 F. App’x

585, 587 (2d Cir. 2003) (questioning in bedroom by two agents with

door closed but not locked or blocked did not amount to custodial

interrogation); United States v. Kirsh, 54 F.3d 1062, 1067 (2d

Cir.   1995)    (defendant,    who    was   “still   in   pajamas”   and    not

handcuffed, was not in custody even though she was told she could

not enter her apartment while search was being conducted).

           Indeed, “[o]nly in extreme or unusual circumstances have

courts   held   that   suspects      interrogated    in   their   homes    were

restricted to a degree comparable to that of an individual placed

under formal arrest.”      United States v. Vado, 87 F. Supp. 3d 472,

479 (S.D.N.Y. 2015) (citing cases); see, e.g., Orozco v. Texas, 394

U.S. 324, 327 (1969) (officer testified that suspect “was under
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arrest and not free to leave when he was questioned in his

bedroom”); Newton, 369 F.3d at 677 (suspect was handcuffed); United

States v. Romaszko, 253 F.3d 757, 759 (2d Cir. 2001) (suspect

“asked to leave or attempted to stand up” at least five times “and

was told that she could not”).

            In    addition,    Valerio     claims      that   Troyd’s    thorough

preparation for the search, such as by having emails and a video

available    to    show   Valerio,    created     an     “inherently     coercive

environment.”      (Br.51).    Valerio’s argument lacks merit.            Showing

a defendant “evidence of his guilt” is not relevant to the custody

analysis unless “the presentation of such evidence would make a

reasonable person feel that he was not free to leave.”                  See United

States v. Eaton, 954 F. Supp. 2d 646, 652 (W.D. Mich. 2013)

(agents’ act of showing defendant images of child pornography

seized from his email account had “no bearing on the custody

analysis”); but cf. United States v. Ali, 68 F.3d 1468, 1473 (2d

Cir. 1995) (remanding to determine if, when defendant was asked to

step away from boarding area at airport, had his travel documents

confiscated,      and   was   surrounded   by    seven    officers      who   asked

“questions   [which]      suggested   that      the    officers   already     knew

[defendant] had weapons in his baggage and that they were not about

to let him go at all,” he was in custody), on reh’g, 86 F.3d 275

(2d Cir. 1996) (ruling defendant was in custody).                 While showing
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Valerio an email between him and Kalichenko (notably after he

admitted to knowing Kalichenko and being “extorted” by her) may

have indicated that Valerio was suspected of criminal involvement,

it did not make the interview custodial.

              Accordingly, consistent with recent precedent of this

Court, Valerio was not in custody for purposes of triggering

Miranda warnings.      See United States v. Familetti, 878 F.3d 53,

61-62 (2d Cir. 2017) (defendant was not in custody because the

officers had questioned him in his bedroom in a conversational

tone, he was not restrained, and the agents’ weapons were not

drawn); Faux, 828 F.3d at 138-39 (defendant was not in custody

where   she    was   interviewed   for   hours   at   her   home,   was   not

handcuffed, was never told she was not free to leave, and officers

did not display weapons or otherwise threaten or use physical force

against her); see also United States v. Beal, No. 17-442, 2018 WL

1719074, at *3 (2d Cir. Apr. 9, 2018) (summary order) (defendant,

who was questioned at his place of business, was not in custody

where he was questioned in a “conversational tone” by agents, he

was not restrained, the officers were in plain clothes and their

weapons were not visible, and agents did not physically block or

prevent him from leaving).         The district court thus correctly

concluded that Valerio was not in custody for purposes of Miranda,

and his statements were properly not suppressed.
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III. The District Court Correctly
     Concluded that Valerio’s
     Post-Miranda Statements Were Voluntary

              Valerio also challenges the post-Miranda statements he

gave to agents while seated in his dining room during the search

of his residence.      He contends that Troyd deliberately employed a

“two-step       interrogation     process”       designed     to     undermine

his Miranda protections.         (Br.52-53).     Valerio’s argument lacks

merit.

              When a suspect is twice interrogated, once before being

given a Miranda warning and once after, courts evaluate “whether

the officers employed a ‘deliberate, two-step strategy, predicated

upon violating Miranda during an extended interview,’ and if so,

whether ‘specific, curative steps’ were taken to obviate the

violation that occurred.”        United States v. Capers, 627 F.3d 470,

477 (2d Cir. 2010) (internal citations omitted) (quoting Missouri

v. Seibert, 542 U.S. 600, 621 (2010) (Kennedy, J., concurring)).

In determining whether the “officers’ actions are sufficiently

indicative of a deliberate circumvention of Miranda” courts review

“the totality of the objective and subjective evidence surrounding

the interrogations in order to determine deliberateness ....”

Id. at 478-79.       Objective factors include “the completeness and

detail   of    the   questions   and   answers    in   the   first   round   of

interrogation, the overlapping content of the two statements, the
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timing and setting of the first and the second, the continuity of

police personnel, and the degree to which the interrogator’s

questions treated the second round as continuous with the first.”

Seibert, 542 U.S. at 615; accord United States v. Carter, 489 F.3d

528, 536 (2d Cir. 2007).

          As a threshold matter, as explained above, Valerio’s

pre-Miranda statements were lawfully obtained.          Thus, there is no

predicate for finding that the agents engaged in an improper two-

step process.   See Familetti, 878 F.3d at 62 (“Because Familetti

was not subject to a pre-warning custodial interrogation, we do

not reach his corollary argument regarding a deliberate two-step

interrogation”).

          Moreover, there is no evidence that the agents and

officers involved in Valerio’s interview intended to employ a two-

step process to obtain Valerio’s post-Miranda confession.              Troyd,

whose testimony the district court fully credited, began the

interview at approximately 6:15 a.m. by advising Valerio why agents

were in his home – to execute a search warrant.               After asking

whether Valerio would speak to agents, Valerio initially claimed

that he was “being extorted” by Kalichenko. Troyd inquired further

and showed Valerio a July 22, 2012 email that Kalichenko had

provided to law enforcement.         After approximately an hour, it

became clear to Troyd that Valerio had incriminated himself. Troyd
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then    spoke     with   another   agent    and    called   the    United   States

Attorney’s Office to determine if it would authorize the filing of

a criminal complaint against Valerio.               At 7:55 a.m., Troyd gave

Valerio the Miranda warnings.

            After Mirandizing Valerio, Troyd’s questioning changed

in scope and was for a limited duration.             He briefly asked Valerio

about a second email and showed Valerio a segment of a video

provided    to     Kalichenko.       Troyd    terminated     the    post-Miranda

questioning when, in response to a request to sign a written

statement, Valerio asked to speak with a lawyer.                    Accordingly,

although there was continuity in police personnel and only a brief

hiatus between the two interviews, there is no evidence that the

agents deliberately sought to violate Valerio’s Miranda rights so

that they could thereafter take advantage of that claimed violation

in     securing    a     Miranda   waiver    and    additional     incriminating

statements.
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                                 POINT TWO

                      VALERIO’S SENTENCE WAS BOTH
               PROCEDURALLY AND SUBSTANTIVELY REASONABLE

I.   Legal Standard

          A    sentence   must   be   procedurally      and   substantively

reasonable.     This Court has identified procedural error where a

district court:

          (1) fails to calculate the Guidelines range;
          (2) is mistaken in the Guidelines calculation;
          (3) treats the Guidelines as mandatory;
          (4) does not give proper consideration to the
          [18 U.S.C.] § 3553(a) factors; (5) makes
          clearly erroneous factual findings; (6) does
          not adequately explain the sentence imposed;
          or (7) deviates from the Guidelines range
          without explanation.

United States v. Conca, 635 F.3d 55, 62 (2d Cir. 2011) (citation

and quotation marks omitted).         In reviewing a sentence for such

procedural errors, this Court applies “‘a particularly deferential

form of abuse-of-discretion review.’”        United States v. Malki, 718

F.3d 178, 182 (2d Cir. 2013) (quoting United States v. Cavera, 550

F.3d 180, 187-88 & n.5 (2d Cir. 2008) (en banc)).

          In    determining   whether    a   sentence    is   substantively

reasonable, this Court will “not substitute [its] own judgment for

the district court’s on the question of what is sufficient to meet

the § 3553(a) considerations in any particular case.”           Cavera, 550

F.3d at 189. Instead, the Court will “set aside a district court’s

substantive determination only in exceptional cases where the
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trial court’s decision cannot be located within the range of

permissible      decisions.”       Id.     (internal    quotation        marks   and

citation omitted, emphasis in Cavera). “[I]n the overwhelming

majority of cases, a Guidelines sentence will fall comfortably

within the broad range of sentences that would be reasonable in

the particular circumstances.”            United States v. Fernandez, 443

F.3d 19, 27 (2d Cir. 2006), abrogated on other grounds by Rita v.

United States, 551 U.S. 338 (2007).

II.   Valerio’s Sentence Was Procedurally Reasonable

             Valerio     argues    that   the    district     court      committed

procedural error because: (1) it considered the uncharged assaults

and rapes of A.D. and Kalichenko; (2) it invited Kalichenko to

testify regarding her allegations of abuse; and (3) it used the

wrong “benchmark” for sentencing.              (Br.54-65).        These arguments

are meritless.

      A.     Consideration of Uncharged Assaults and Rapes

             There is no merit to Valerio’s contention that the

district     court’s    consideration     of    evidence     of    the   uncharged

assaults and rapes of A.D. and Kalichenko violated his right to a

jury trial.      (Br.55-57).      “A district court may consider as part

of its sentencing determination uncharged conduct proven by a

preponderance of the evidence as long as that conduct does not

increase     either    the   statutory     minimum     or   maximum      available

punishment.”      United States v. Ulbricht, 858 F.3d 71, 128 (2d Cir.
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2017) (citing cases), petition for cert. filed (U.S. Dec. 22, 2017)

(No.   17-950).      The   district     court’s      findings    concerning   the

assaults     and   rapes   of   A.D.   and    Kalichenko    did   not   increase

Valerio’s     statutory    sentencing        range   and   therefore    did   not

implicate Valerio’s jury trial right.                Valerio appears to argue

for an exception to this rule where a sentencing court considers

facts that supply “the impetus for [a] de facto life sentence”

(Br.56), but cites no authority recognizing such an exception.

             Valerio’s due process claim fares no better.               “[I]t has

long been established that the Due Process Clause does not restrict

a court with respect to the type of information it may consider

for purposes of sentencing.”           United States v. Delacruz, 862 F.3d

163, 175 (2d Cir. 2017) (citing Williams v. New York, 337 U.S.

241, 246 (1949), and Apprendi v. New Jersey, 530 U.S. 466, 481

(2000)).      Indeed, federal sentencing law provides that “[n]o

limitation shall be placed on the information concerning the

background, character, and conduct of a person convicted of an

offense which a court of the United States may receive and consider

for the purpose of imposing an appropriate sentence,” 18 U.S.C.

§ 3661.

             Citing Ulbricht, 858 F.3d at 125-29, Valerio argues that

A.D.   and    Kalichenko’s      testimony      was    unfairly    inflammatory.

(Br.57).     However, this case is distinguishable from Ulbricht,
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where      the    government   introduced     evidence   of   six   drug-related

deaths at the sentencing of a defendant convicted of operating an

online marketplace that sold illegal drugs.                   While not finding

that the admission of this evidence was error, see id. at 126, the

Court questioned the need for the evidence given its emotional

impact and the fact that “the harms of the drug trade were

obvious,” id.

                 By contrast, Valerio’s treatment of A.D. and Kalichenko

was not an “obvious” consequence of the charged conduct. Moreover,

the district court found that this evidence was relevant to the

Section 3553(a) sentencing factors — “namely, the defendant’s

history of extremely dangerous and violent behavior towards other

individuals, and the need to protect the public from further crimes

by   the    defendant”     and    Valerio’s    “deceptive     and   manipulative

conduct.”16        (SPA 12-13).     The evidence also rebutted Valerio’s

claim to Probation that he had a “very good relationship” with

A.D. and that she had left the country due to visa problems.

(PSR:¶87).         Finally, the evidence was no more inflammatory than



      16  The district court also noted that this conduct was also
arguably “‘relevant conduct’ because it could be viewed as being
in preparation for, and inextricably intertwined with, his
subsequent conspiracy with Ms. Kalichenko to sexually exploit her
child in the Ukraine and to produce child pornography with her
child at his direction.       U.S.S.G. §§ 1B1.3(a)(1)(A), (3).”
(SPA 13, n.2).
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the charged conduct involving sexual exploitation of a toddler

through Valerio’s manipulation of her mother and of his niece

through a fake modeling scheme.

       B.     The District Court Properly
              Invited the Testimony of Kalichenko

              Valerio      claims    that   the    district   court   improperly

invited Kalichenko to testify concerning allegations she had made

in the context of her criminal case.               Valerio speculates that the

government did not call Kalichenko because it deemed her “lacking

in candor” and “unworthy of belief.”               (Br.58, 61).   This argument

ignores the record.          By letter and at the outset of the July 25,

2016   hearing,      the    government      expressed   concern   that,     if   the

government were to call Kalichenko, she might qualify for a lesser

sentence pursuant to U.S.S.G. § 5K1.1 or 18 U.S.C. § 3553(e).

(GA:58-59; A:188).           Given the seriousness of Kalichenko’s own

criminal conduct, which involved sexually abusing her two-year-

old daughter, it is obvious why the government did not want

Kalichenko to qualify for a sentence reduction.

              The   issue    of     Kalichenko’s   allegations    arose     in   the

context of Valerio’s request for a Fatico hearing as to the

allegations of similar rapes and violent conduct towards A.D.

(GA:19).        Valerio denied both allegations.              (GA:17-21).        The

allegations of both Kalichenko and A.D. were already before the

court in the PSR and Addendum.              (PSR:¶20; Addendum 1-3).
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            The law accords district judges “broad discretion” in

deciding what procedures to employ to resolve disputed facts at

sentencing.     United States v. Duverge Perez, 295 F.3d 249, 254 (2d

Cir. 2002).       It was within the district court’s discretion to

consider Kalichenko’s allegations and order a Fatico hearing.                    See

Delacruz, 862 F.3d at 171, 175-76 (district court properly sua

sponte ordered evidentiary hearing relating to past drug dealing

and robbery conspiracy alleged in PSR and disputed by defendant).

Finally, as discussed above, the district court made detailed

factual    findings        pursuant   to    Section      3553(a)   regarding     the

relevance    of     this    testimony      to   “the    defendant’s    history   of

extremely      dangerous       and    violent       behavior       towards   other

individuals, and the need to protect the public from further crimes

by the defendant.”          (SPA 12-13).

     B.     The District Court Correctly
            Calculated the Guidelines

            Valerio claims that the district court used an incorrect

“benchmark” in sentencing him.                  (Br.61-65).      Although Valerio

concedes     that    the     district      court       applied   the   uncontested

Guidelines range of 260 years (Br.62), he argues that U.S.S.G.

§ 5G1.2(c) limits the application of U.S.S.G. § 5G1.1(a) (Br.63-

64) and therefore, because a sentence “in the realm of, or starting

at, 30 years” was adequate to achieve total punishment, this should
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have   been     the   “benchmark.”      (Id.).     Valerio    misreads   the

Guidelines.

              Initially, because Valerio did not raise this objection

at sentencing, his claim should be reviewed for plain error.             See

Fed. R. Crim. P. 52(b).           To obtain relief, Valerio must show

“(1) error, (2) that is plain,           ...   (3) that affect[s] [his]

substantial rights” and that “(4) ... seriously affect[s] the

fairness,       integrity,   or      public    reputation     of    judicial

proceedings.”     United States v. Thomas, 274 F.3d 655, 667 (2d Cir.

2001) (en banc) (internal quotation marks and citations omitted).

Valerio’s claim cannot survive plain error review.

              Valerio’s argument is contrary to this Court’s decision

in United States v. McLeod, 251 F.3d 78, 83 (2d Cir. 2001), which

provided the following guidance:

                   The correct method of imposing sentences
              on multiple counts has three steps:

              (1) The sentencing judge determines the “total
              punishment” to be imposed by selecting an
              appropriate punishment within the range
              resulting from application of all relevant
              provisions   of   the   Guidelines.   U.S.S.G.
              § 5G1.2(b).

              (2) The sentencing judge imposes the “total
              punishment” on each count, unless the “total
              punishment” would exceed the statutory maximum
              for any one count, id., in which event the
              statutory maximum is imposed on that count,
              id. § 5G1.1(a).

              (3) The sentencing judge compares the “total
              punishment” to the highest statutory maximum
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           of all the counts of which the defendant            has
           been convicted,    id. § 5G1.2(c)-(d),              and
           determines   whether   the   sentences              run
           concurrently or consecutively based on              the
           comparison:

                  (a) If the “total punishment” is less
                  than that highest maximum, the sentences
                  on all counts are imposed to run
                  concurrently, id. § 5G1.2(c), unless some
                  applicable provision of law requires
                  consecutiveness, see, e.g., 18 U.S.C.
                  § 924(c) (mandatory minimum sentences
                  for   certain   firearms   offenses   run
                  consecutively with all other sentences).

                  (b) If the “total punishment” is more
                  than that highest maximum, the sentences
                  are imposed to run consecutively but only
                  to the extent necessary to produce an
                  aggregate sentence equal to the “total
                  punishment.” Id. § 5G1.2(d); see United
                  States v. Rahman, 189 F.3d 88, 155 (2d
                  Cir. 1999).

Id. (emphasis in original); see also United States v. Thavaraja

740 F.3d 253, 257 n.3 (2d Cir. 2014); U.S.S.G. § 5G1.2, Application

Note 1   (“If no count carries an adequate statutory maximum,

consecutive sentences are to be imposed to the extent necessary to

achieve the total punishment.”).

           Valerio    correctly     notes   that,   in   United      States   v.

Dorvee, 616 F.3d 174, 181-82 (2d Cir. 2010), this Court held that

the district court had erred in considering a Guidelines range of

262-327 months where the statutory maximum for the count of

conviction was 240 months.        Id.   However, the defendant in Dorvee
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was convicted of only one count, see id. at 176, and thus the

multiple-count provisions of the Guidelines did not apply.

           Valerio also notes that the sentence that he deems

adequate, a sentence “in the realm of, or starting at, 30 years,”

was consistent with Probation’s Initial Recommendation.               (Br.64).

However, the Initial Recommendation of a total sentence of 35 years

was made prior to and without the benefit of disclosure of the

additional conduct, the Fatico hearing, the parties’ submissions

and the extensive analysis of the sentencing factors conducted by

the district judge at sentencing.

III. The Sentence Was Substantively Reasonable

           Valerio    argues    that    his    sentence   is    substantively

unreasonable, claiming it violates the parsimony clause of 18

U.S.C.   § 3553(a)(2)     and   was    not    warranted   by    the   relevant

sentencing     factors.      (Br.65-74).        Valerio’s      arguments   are

meritless.

           Under the parsimony clause, a sentencing court must

“impose a sentence sufficient, but not greater than necessary, to

comply with the purposes set forth” in Section 3553(a)(2).                  In

“exceptional” cases, “where the trial court’s decision cannot be

located within the range of permissible decisions,” this Court may

overturn   a   procedurally     reasonable     sentence   as    substantively
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unreasonable.       Cavera, 550 F.3d at 189 (internal quotation marks

omitted).

            As the district court properly found in its detailed

oral and written findings, the effective life sentence here was

necessary to protect the public based upon the serious nature of

the   offenses,      Valerio’s       violent   history   and        high   risk   of

recidivism,        and    the   court’s    determination       that        Valerio’s

dangerousness would not “dissipate over time.”              (GA:89-99; SOR:5).

In arguing otherwise, Valerio cherry-picks portions of the record

while ignoring the totality of the circumstances and the district

court’s detailed findings.

            For example, Valerio notes that Dr. Bardey found that

Valerio was not a pedophile.               (Br.66).      But that assessment

provides little comfort given that Valerio directed and paid for

the molestation of a two year old by his co-conspirator, whom he

had repeatedly and violently raped.            Moreover, Dr. Bardey admitted

that, if he had considered the rapes and violence shown at the

Fatico hearing, Valerio would no longer present a “moderate” risk

of reoffending, but rather a higher risk.             (A:316).

            Valerio argues that his 60-year sentence is “grossly

disparate     to    the    typical     sentence   imposed      on     other   child

pornography offenders,” citing Sentencing Commission statistics as

to the percentage of such cases in which de facto life sentences
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are imposed.    (Br.73-74).     Where, as here, the parties briefed the

issue and the district court explicitly considered and addressed

disparity in imposing sentence, this Court “will not second guess

the weight it assigns to [such argument] ‘as long as the sentence

ultimately imposed is reasonable in light of all the circumstances

presented.’”    United States v. McGowan, 615 F. App’x 1, 4 (2d Cir.

2015) (quoting Fernandez, 443 F.3d at 32).

          This    Court   has     repeatedly     upheld   as   substantively

reasonable     consecutive    sentences    in    other    child   pornography

production    cases   involving    multiple     victims    even      though   the

sentences were the equivalent of a life sentence.                 See id. (90

years — consecutive 30 year sentences for production involving

three victims); United States v. Hamilton, 548 F. App’x 728, 729-

30 (2d Cir. 2013) (150 years — 360 months on each count of

production of child pornography to run consecutively); see also

United States v. Davis, 624 F.3d 508, 510 (2d Cir. 2010) (120

years); United States v. Rosa, 626 F.3d 56, 60-61 (2d Cir. 2010)

(120 years); United States v. Jass, 569 F.3d 47, 50 (2d Cir. 2009)

(65 years and 115 years).

          In sum, this is not one of the “exceptional cases where

the trial court’s decision cannot be located within the range of

permissible    decisions.”       Cavera,   550    F.3d    at   189    (internal

quotation marks and citation omitted).           While Valerio’s sentence
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is    severe,   so   too   were   his   crimes.    Accordingly,     Valerio’s

challenge to the substantive reasonableness of his sentence fails.

IV.    There Is No Basis for Reassignment to a Different Judge

            Finally, Valerio argues that, if remanded, the case

should be reassigned to another judge.            (Br.64-65).    There is no

basis for this request.

                  As a general rule, even when a sentencing
            judge has been shown to have held erroneous
            views    or   made   incorrect   findings   ...
            resentencing before a different judge is
            required only in the rare instance in which
            the judge’s fairness or the appearance of the
            judge’s fairness is seriously in doubt.

United States v. Bradley, 812 F.2d 774, 782 n.9 (2d Cir. 1987)

(citing United States v. Robin, 553 F.2d 8, 10 (2d Cir. 1977) (per

curiam) (en banc)).        The Robin Court set forth the standards to

determine “whether further proceedings should be conducted before

a different judge.”

            Absent proof of personal bias requiring
            recusation, Title 28 U.S.C. [§] 144, the
            principal factors ... are (1) whether the
            original judge would reasonably be expected
            upon remand to have substantial difficulty in
            putting out of his or her mind previously-
            expressed views or findings determined to be
            erroneous or based on evidence that must be
            rejected,   (2)   whether    reassignment   is
            advisable to preserve the appearance of
            justice, and (3) whether reassignment would
            entail waste and duplication out of proportion
            to any gain in preserving the appearance of
            fairness.

553 F.2d at 10.
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          Here, even assuming that error occurred, none of the

relevant factors supports remanding to a different judge.              Valerio

does not allege, nor could he, that Judge Bianco acted with

personal bias requiring recusal under 28 U.S.C. § 144.            Moreover,

remand to another judge would result in waste and duplication

because Judge Bianco conducted the trial and the Fatico hearing.

Finally, there is no basis to suggest that, upon remand, the judge

would have substantial difficulty in putting out of his mind

previously expressed views or findings determined to be erroneous

or evidence that must be rejected.
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                                   POINT THREE

                         VALERIO’S MULTIPLICITY/DOUBLE
                   JEOPARDY CLAIMS ARE WAIVED AND MERITLESS

              Valerio argues that he was charged with the same offenses

in more than one of the counts in the indictment and that his

convictions on those counts therefore violate double jeopardy

principles.        Specifically, Valerio claims 1) Counts Two and Three,

charging sexual exploitation of Jane Doe #1 pursuant to 18 U.S.C.

§§ 2251(a) and 2251(c), respectively, charge the same offense;

2) Count Fifteen (possession of child pornography) is a lesser

included offense of Count Five (receipt of child pornography); and

3) Counts Six, Seven and Eight (attempted sexual exploitation)

merge into Counts Two and Three (sexual exploitation).                      (Br.74-

79).     Valerio’s claims should be rejected.

I.     Applicable Law

       A.     Multiplicity/Double Jeopardy

              The Fifth Amendment’s Double Jeopardy Clause prohibits

courts from meting out multiple punishments for the same criminal

conduct unless Congress intended such multiple punishments.                     See

Rutledge v. United States, 517 U.S. 292, 297 (1996); Blockburger

v. United States, 284 U.S. 299, 304 (1932).             In protecting against

multiple punishments for the same offense, “the Double Jeopardy

Clause      does    no   more   than   prevent   the   sentencing    court     from

prescribing greater punishment than the legislature intended.”
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United States v. Khalil, 214 F.3d 111, 117 (2d Cir. 2000) (internal

quotation marks omitted) (quoting Garrett v. United States, 471

U.S. 773, 793 (1985)).        Thus, a defendant’s double jeopardy rights

are violated by conviction on multiplicitous charges, i.e., where

the indictment “charges a single offense as an offense multiple

times, in separate counts, when, in law and fact, only one crime

has been committed.”     United States v. Chacko, 169 F.3d 140, 145

(2d Cir. 1999) (citing, inter alia, United States v. Holmes, 44

F.3d 1150, 1153-54 (2d Cir. 1995)).

             To   determine     “whether     convictions   under   separate

sections of the federal criminal law, arising from the defendant’s

involvement in a single event or a common series of events violate

double jeopardy principles,” this Court reviews three factors:

“the language of the statutes, how those statutes fare under the

Blockburger test, and express congressional intent, if any, on the

issue of multiple punishments.”            United States v. Muhammad, 824

F.2d 214, 217-18 (2d Cir. 1987).            Under Blockburger, this Court

must determine “whether there are two offenses or only one [by]

whether each provision requires proof of a fact which the other

does not.”    284 U.S. at 304.     “[I]f each section requires proof of

at least one fact that the other does not, there are two offenses,

and it is presumed that the legislature intended to authorize

prosecution and punishment under both.          In that circumstance, the
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imposition of multiple punishments does not violate the Double

Jeopardy Clause.” Khalil, 214 F.3d at 118.                  “Lesser-included

offenses and their greater offense are considered a single offense,

and may not be punished separately.”           United States v. Whyte, 630

F. App’x 104, 109 (2d Cir. 2015) (citing Blockburger, 284 U.S. at

304).

     B.     Failure to Preserve a Multiplicity Claim

            This    Court    has    treated    the   failure     to   raise   a

multiplicity/double jeopardy claim in district court as a waiver,

precluding appellate review.         See United States v. Sinnott, 523 F.

App’x 807, 809 (2d Cir. 2013) (noting that “‘the constitutional

protection against double jeopardy is a personal right and, like

other constitutional rights, can be waived if it is not timely

interposed at trial.’”) (quoting Aparicio v. Artuz, 269 F.3d 78,

96 (2d Cir. 2001)); United States v. Ozbay, 296 F. App’x 148, 150

(2d Cir. 2008) (“Because none of the defendants raised these

multiplicity challenges prior to trial ... we find the multiplicity

challenges waived and decline to review them on appeal.”); see

also United States v. Cacace, 796 F.3d 176, 186 (2d Cir. 2015)

(noting    that    government      “advances    forceful    arguments”    that

defendant’s failure to raise multiplicity/double jeopardy claim
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before trial constituted waiver, but finding it unnecessary to

resolve issue).17

             In other cases, however, the Court has treated such

claims as reviewable for plain error when raised for the first

time on appeal.        See United States v. Moreno-Montenegro, 553 F.

App’x 29, 30 (2d Cir. 2014) (citing United States v. Polouizzi,

564 F.3d 142, 153–54 (2d Cir. 2009)).

II.   Counts Two And Three Are Not Multiplicitous

             Section    2251(a),     which   was   charged    in   Count   Two,

provides in relevant part:

             Any person who employs, uses, persuades,
             induces, entices, or coerces any minor to
             engage in ... any sexually explicit conduct
             for the purpose of producing any visual
             depiction of such conduct ... shall be
             punished as provided under subsection (e), if
             such person knows or has reason to know that
             such visual depiction will be transported or
             transmitted using any means or facility of
             interstate or foreign commerce or in or
             affecting interstate or foreign commerce or
             mailed, if that visual depiction was produced
             or transmitted using materials that have been
             mailed,   shipped,   or  transported   in   or
             affecting interstate or foreign commerce by
             any means, including by computer, or if such
             visual depiction has actually been transported
             or transmitted using any means or facility of
             interstate or foreign commerce or in or



      17  Fed. R. Crim. P. 12(b)(3)(B)(ii), as amended effective
December 1, 2014, expressly requires a multiplicity claim to be
raised before trial.   However, the trial in this case began on
November 4, 2014, before the amended rule became effective.
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          affecting interstate or foreign commerce or
          mailed.

          Section   2251(c),    which   was   charged    in   Count    Three,

provides in relevant part:

          (1) Any person who, in a circumstance
          described in paragraph (2), employs, uses,
          persuades, induces, entices, or coerces any
          minor to engage in ... any sexually explicit
          conduct outside of the United States, its
          territories or possessions, for the purpose of
          producing any visual depiction of such
          conduct, shall be punished as provided under
          subsection (e).

          (2) The circumstance referred to in paragraph
          (1) is that—

                (A) the person intends such visual
                depiction to be transported to the United
                States, its territories or possessions,
                by any means, including by using any
                means or facility of interstate or
                foreign commerce or mail; or

                (B) the person transports such visual
                depiction to the United States, its
                territories or possessions, by any means,
                including by using any means or facility
                of interstate or foreign commerce or
                mail.

          Section 2251(c) was passed in 2003             as part of the

“PROTECT Act” “to stop efforts by producers of child pornography

to avoid criminal liability based on the fact that the child

pornography was produced outside of the United States, but intended

for use inside the United States.”       H.R. Conf. Rep. No. 108-66, at

62-63 (2003), as reprinted in 2003 U.S.C.C.A.N. 683, 697.                The

House Conference report cited United States v. Thomas, 893 F.2d
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1066 (9th Cir. 1990), which rejected a defendant’s claim that

Section 2251(a) did not apply to extraterritorial acts.                   See id.

at 1068-69.      However, in upholding the conviction, the court also

relied upon the fact that the defendant was an American national

and that “[i]nternational law permits a country to apply its

statutes to extraterritorial acts of its nationals.”                Id. at 1069.

The court noted that “out of respect for other nations, courts

should not unnecessarily construe a congressional statute in a way

that violates international law.”          Id.   Thomas thus left open the

possibility       that   Section     2251(a)   would    not    apply      to   the

extraterritorial acts of a foreign national.                  Section 2251(c)

closed that potential gap in coverage where the child pornography

was intended to be transported or was transported to the United

States.

            In    asserting   that    Sections   2251(a)      and   2251(c)    are

“essentially the same crime,” Valerio cites United States v.

McVicker, 979 F. Supp. 2d 1154, 1173 (D. Or. 2013).                    (Br.75).

However, McVicker expressly recognized that the statutes are not

redundant.       As the court stated:

            McVicker argues that the extraterritorial
            application of § 2251(a) renders § 2251(c)
            redundant. That is not necessarily so. The
            Court notes that § 2251(c), with its focus on
            the perpetrator’s intent to target the United
            States’ market, tracks more closely the
            “effects principle” of jurisdiction under
            international law. See Restatement (Third) of
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           Foreign Relations Law § 402, cmt. d. In light
           of Congress’s extensive legislation in this
           field, it is reasonable to conclude that
           Congress intended prosecutors to be able to
           use the broader provisions of § 2251(a)
           whenever possible but to use § 2251(c) when
           the application of § 2251(a) might conflict
           with principles of international law — for
           example, when the United States could not
           assert jurisdiction based on the defendant’s
           nationality, as it can here.

Id. (footnotes omitted).

           Moreover,   Sections    2251(a)    and   2251(c)   satisfy   the

Blockburger test because “each provision requires proof of a fact

which the other does not.”    284 U.S. at 304.      Specifically, Section

2251(c), but not Section 2251(a), requires that the criminal

conduct occur “outside of the United States, its territories or

possessions.”   On the other hand, Section 2251(a) requires that,

at the time of the offense, the defendant must “know[] or ha[ve]

reason to know that such visual depiction will be transported or

transmitted using any means or facility of interstate or foreign

commerce or in or affecting interstate or foreign commerce or

mailed.”   By contrast, Section 2251(c) requires that a defendant

“intends such visual depiction to be transported to the United

States, its territories or possessions, by any means, including by

using any means or facility of interstate or foreign commerce or

mail” but does not require the defendant to have had such intent

at the time the visual depiction was created.
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           In addition, as alternate jurisdictional bases, Section

2251(a) requires either that a “visual depiction was produced or

transmitted using materials that have been mailed, shipped, or

transported in or affecting interstate or foreign commerce by any

means, including by computer,” or that the “visual depiction has

actually   been   transported   or    transmitted    using   any    means    or

facility of interstate or foreign commerce or in or affecting

interstate or foreign commerce.”         Section 2251(c), on the other

hand, requires that “the person transports such visual depiction

to the United States, its territories or possessions, by any means,

including by using any means or facility of interstate or foreign

commerce or mail.”     In sum, Section 2251(c) does not allow use of

interstate and foreign materials as a jurisdictional basis and

requires that “the person” charged did the transporting, while

Section 2251(a) allows for jurisdiction based on materials used to

produce the child pornography and does not require that the person

charged did the actual transporting.            Under Blockburger, the

statutes each require proof of a fact the other does not.

           Moreover,   even   apart    from   the   elements   of   the     two

statutes, the factual allegations underlying the offenses charged

in Counts Two and Three were different.             Although mailings can

provide a jurisdictional predicate under both Section 2251(a) and

Section 2251(c), Count Three, as alleged in the indictment and
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described in the court’s charge, included mailings but Count Two

did not.      (GA:2-4, 49-52).       Moreover, at trial, the government

introduced evidence and argued to the jury that Valerio had

received child pornography on disks via common courier (GA:27, 29-

30, 31-34, 44-45)18 as well as by email.               Because Count Three

alleged mailings and Count Two did not, the jury would have relied

on the mailing of the disks as a basis for conviction on Count

Three and the email transmissions as a basis for conviction on

Count Two.

            In any event, Valerio concedes that he did not raise a

multiplicity objection to these counts in district court.                 Under

this Court’s decisions in Sinnott, 523 F. App’x at 809, and Ozbay,

296 F. App’x at 150, that constitutes a waiver.                At a minimum,

plain error review applies.         The proposition that Section 2251(a)

and Section 2251(c) are “essentially the same crime” is not “clear

under current law” as the plain error rule requires. United States

v. Olano, 507 U.S. 725, 734 (1993).               That standard cannot be

satisfied where “the law in this Circuit remains silent on the

issue” even where the argument is supported by some out-of-circuit

cases. United States v. Bastian, 770 F.3d 212, 221 (2d Cir. 2014).


     18  The disks were sent by a private courier service (DHL),
which also counts as a “mailing.” See United States v. Easley,
942 F.2d 405, 406 (6th Cir. 1991) (UPS shipment was a mailing
pursuant to 18 U.S.C. § 1461 which prohibits mailing obscene
materials).
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Valerio has not cited (and we are not aware of) any decisions from

other circuits that support his interpretation, let alone any such

decisions from this Court.        Accordingly, Valerio fails to show

plain error.

III. Valerio’s Double Jeopardy Challenge
     to his Convictions on Counts Five
     and Fifteen Is Waived and Meritless

           Valerio contends that his convictions for receipt and

possession    of   child   pornography    violated   the   Double   Jeopardy

Clause because possession (charged in Count 15) is a lesser-

included offense of receipt of child pornography (charged in Count

5), and the government failed to distinguish between the images he

possessed and those he received.         (Br.76-78).

           This Court rejected an identical claim in United States

v. Hester, 674 F. App’x 31, (2d Cir. 2016), cert. denied, 137 S.

Ct. 2203 (2017), holding that, “[a]ssuming arguendo that the

possession of child pornography is a lesser-included offense of

receiving and distributing it, we hold that [defendant] waived his

Double Jeopardy claim by failing to request an instruction that

directed     the    jury   to   base     its   receiving-and-distributing

conviction on different images or videos than its possession

conviction.”       Id. at 34. (citing, inter alia, United States v.

Anson, 304 F. App’x 1, 5-6 (2d Cir. 2008) (“Because Anson did not

request an instruction that would have ensured that the jury did
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not consider an improper basis for his conviction, he has waived

this Double Jeopardy claim.”), and United States v. Washington,

861 F.2d 350, 352 (2d Cir. 1988) (“We have held in a series of

cases that where an impermissible basis of conviction arises from

an insufficiency of evidence and a valid basis remains on an

alternative theory, a defendant must request the trial judge not

to submit the invalid basis to the jury or else the objection will

be deemed waived.”)).

           Valerio       likewise     did    not   request   an   instruction

requiring the jury to base its verdict on the receiving charge in

Count Five on different images than those underlying its verdict

on the possession charge in Count Fifteen.               Accordingly, as in

Hester, Valerio’s claim is waived.

           Even if Valerio’s double jeopardy claim were not waived,

he cannot establish that there was error.              Where a defendant is

convicted of separate counts for the receipt and possession of

child pornography, there is no double jeopardy violation where

each count is based on different files or images.                   See, e.g.,

United States v. Irving, 554 F.3d 64, 79 (2d Cir. 2009) (“If the

jury’s   verdict    on    [receipt]    and    [possession]   were    based   on

different images, there was no double jeopardy violation in the

entry of judgment on both counts.”); United States v. Bowman, 523

F. App’x 767, 769 (2d Cir. 2013) (“There is no double jeopardy
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problem where the receipt and possession counts of a conviction

were based upon different files.”); see also United States v.

Almonte, 638 F. App’x 71, 74 (2d Cir. 2016) (rejecting double

jeopardy argument where respective convictions for possession and

receipt “could have been based on different images or videos”).

             Here, the evidence established that images of both Jane

Doe #1 and Jane Doe #2 were recovered from Valerio’s possession.

Only   the   images   of   Jane   Doe   #1   were   received   in   interstate

commerce.     The images of Jane Doe #2 were produced in Valerio’s

basement (and violated the statute because they were made using

equipment that had travelled in interstate commerce).                     Valerio

attempts to limit the possession count solely to the Jane Doe #1

images based upon his interpretation of the government’s closing

argument.     Valerio emphasizes that the government referred to the

computer in discussing the possession count and did not refer to

the SD Card where the images of Jane Doe #2 were recovered.

(Br.77).     Valerio’s argument ignores, however, that immediately

following this statement, the government referred to possession

also encompassing the images of Jane Doe #2, stating that January

28, 2014 was “the date that the defendant possessed the child

pornography involving both of the young girls.”            (T:986) (emphasis

added).      Moreover, the government’s possession theory was not

presented solely in closing argument, but also in opening and
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during the   trial.     For instance, in opening, the            government

directly linked the possession count to the images of Jane Doe #2,

stating:

                For the defendant’s actions involving his
           niece here in Smithtown, he is charged with
           sexually exploiting a child.         And the
           defendant is also charged with possessing
           child pornography.

(GA:25).

           Thereafter, the government presented evidence that the

SD Card was possessed by Valerio on January 28, 2014, that it

contained images of Jane Doe #2 and, significantly, that the SD

Card had been manufactured outside the United States, establishing

the jurisdictional basis for the possession count as to these

images. (GA:36-42). The district court noted in denying Valerio’s

Rule 29 motion that it was “sufficient if the jury credits that

evidence for the jury to rationally find that the defendant

possessed child pornography on his computer and on the SD card and

that they were his.”    (GA:47).

           In sum, by failing to request an instruction, Valerio

has waived any claim that possession is a lesser-included crime of

receipt, and, in any event, the possession and receipt convictions

did not violate the Double Jeopardy Clause.
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IV.   The Convictions on Counts Six through
      Eight Do Not Violate Double Jeopardy

             Valerio argues that his convictions on Counts Six, Seven

and Eight, which charge the attempted sexual exploitation of Jane

Doe   #1,    violate     double   jeopardy     principles.       (Br.78-80).

Specifically,     Valerio    claims    that,    although     these   attempts

occurred “before the time frame” of the sexual exploitation counts,

they “were nevertheless steps along the way to the completion” of

the sexual exploitation of Jane Doe #1.          (Br.79).

             Initially, Valerio argues that his claim was preserved

by the (successful) defense motion to dismiss the other attempt

counts that were within the same time period, Counts Nine through

Thirteen.     (Br.79).    But failing to raise an objection to certain

counts cannot be cured by an objection to other counts.                    If

anything, a court would justifiably assume that, if only certain

counts are objected to, the remaining counts are unobjectionable.

Accordingly, this claim should also be treated as waived or subject

to plain error review.

             In any event, the attempts underlying the counts now at

issue were distinct and were not steps along the way to a completed

crime.      Each of the attempt counts related to a specific email

introduced into evidence wherein Valerio directed and scripted the

abuse he demanded Kalichenko perform on Jane Doe #1.             (GA:53-57).

For example, in an email on January 23, 2012, Valerio demands child
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pornography videos of Jane Doe #1 from Kalichenko.                (GA:53-54).

The   following    morning,    Valerio    acknowledges    that   he   received

videos the previous day but asks Kalichenko to resend them because

they used too much memory for his cellphone.            (GA:56-57).       He then

gives her direction on how to make the child pornography videos.

(Id.).     Later, on January 24, 2012, Valerio provides a Western

Union payment number and requests more videos that he describes in

detail.    (GA:55).     In sum, these attempts succeeded prior to the

commencement of the conduct charged in Counts Two and Three.
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                                 CONCLUSION

           For the reasons stated, the judgment of the district

court should be affirmed.

Dated:     Brooklyn, New York
           June 4, 2018

                                         Respectfully submitted,

                                         RICHARD P. DONOGHUE,
                                         United States Attorney,
                                         Eastern District of New York.

                                  By:                   /s/
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     (Of Counsel).
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          CERTIFICATE CONCERNING TYPE-VOLUME LIMITATION,
        TYPEFACE REQUIREMENTS, AND TYPE STYLE REQUIREMENTS

          1.     This brief does not comply with the type-volume

limitation of    Fed. R. App. P. 32(a)(7)(B) because the brief

contains 18,198 words, excluding the parts of the brief exempted

by Fed. R. App. P. 32(a)(7)(B)(iii).            However, this Court has

granted the government’s motion for permission to file an oversized

brief of no more than 18,279 words.

          2.     This brief complies with the typeface requirements

of Fed. R. App. P. 32(a)(5) and the type style requirements of

Fed. R. App. P. 32(a)(6) because it has been prepared in a

monospaced typeface using Microsoft Word in 12-point Courier New

font.

Dated: Brooklyn, New York
       June 4, 2018

                                                           /s/
                                         DAVID C. JAMES
                                         Assistant U.S. Attorney
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                     A P P E N D I X
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PSS:ALB/ABK
F.# 2014R00151

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - -X
                                           S U P E R S E D I N G
UNITED STATES OF AMERICA                   I N D I C T M E N T

     - against -                           Cr. No.14-094 (S-2)(JFB)
                                           (T. 18, U.S.C., §§
JOSEPH VALERIO,                             2251(a), 2251(c), 2251(e),
                                            2252(a)(1), 2252(a)(2),
                   Defendant.               2252(b)(1), 2252(a)(4)(B),
                                            2252(b)(2), 2 and 3551
                                            et seq.)

- - - - - - - - - - - - - - - - -X

THE GRAND JURY CHARGES:

                                COUNT ONE
                (Conspiracy to Sexually Exploit a Child)

           1.     On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO, together with others, did knowingly and intentionally

conspire to employ, use, persuade, induce, entice and coerce a minor,

to wit: Jane Doe #1, an individual whose identity is known to the

Grand Jury, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and
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foreign    commerce,    which    visual   depictions     were   produced   and

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, to wit: one or more mobile telephones, digital cameras and

digital media disks, and such visual depictions were actually

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section

2251(a).

            (Title 18, United States Code, Sections 2251(e) and 3551

et seq.)

                                COUNT TWO
                    (Sexual Exploitation of a Child)

            2.     On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO, together with others, did knowingly and intentionally

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,    which    visual   depictions     were   produced   and
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transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, to wit: one or more mobile telephones, digital cameras and

digital media disks, and such visual depictions were actually

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign commerce.

           (Title 18, United States Code, Sections 2251(a), 2251(e),

2 and 3551 et seq.)

                             COUNT THREE
                  (Sexual Exploitation of a Child)

           3.    On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO, together with others, did knowingly and intentionally

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct outside of the

United States, its territories and possessions, for the purpose of

producing one or more visual depictions of such conduct, intending

that such visual depictions would be transported and transmitted to

the United States, its territories and possessions, using a means

and facility of interstate and foreign commerce and mail, and which

visual depictions were actually transported and transmitted to the
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United States, its territories and possessions, using a means and

facility of interstate and foreign commerce and mail.

           (Title 18, United States Code, Sections 2251(c), 2251(e),

2 and 3551 et seq.)

                              COUNT FOUR
                (Transportation of Child Pornography)

           4.    On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO, together with others, did knowingly and intentionally

transport and ship, using a means and facility of interstate and

foreign commerce and in and affecting interstate and foreign

commerce, one or more visual depictions, to wit: images depicting

Jane Doe #1 engaged in sexually explicit conduct, the production of

such visual depictions having involved the use of a minor engaging

in sexually explicit conduct, and such visual depictions were of such

conduct.

           (Title 18, United States Code, Sections 2252(a)(1),

2252(b)(1), 2 and 3551 et seq.)

                              COUNT FIVE
                    (Receipt of Child Pornography)

           5.    On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH
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VALERIO, together with others, did knowingly and intentionally

receive one or more visual depictions, to wit: images depicting Jane

Doe #1 engaged in sexually explicit conduct, using a means and

facility of interstate and foreign commerce and which visual

depictions had been mailed, and shipped and transported in and

affecting interstate and foreign commerce, the production of such

visual depictions having involved the use of one or more minors

engaging in sexually explicit conduct and such visual depictions were

of such conduct.

            (Title 18, United States Code, Sections 2252(a)(2),

2252(b)(1), 2 and 3551 et seq.)

                               COUNT SIX
              (Attempted Sexual Exploitation of a Child)

            6.     On or about January 23, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,    which    visual   depictions     were   produced   and

transmitted using materials that had been mailed, shipped and
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transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of

interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

            (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                              COUNT SEVEN
              (Attempted Sexual Exploitation of a Child)

            7.     On or about January 24, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,    which    visual   depictions     were   produced   and

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,
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digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of

interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

            (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                              COUNT EIGHT
              (Attempted Sexual Exploitation of a Child)

            8.     On or about March 28, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,    which    visual   depictions     were   produced   and

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of
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interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

             (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                               COUNT NINE
               (Attempted Sexual Exploitation of a Child)

             9.    On or about April 4, 2012, within the Eastern District

of New York and elsewhere, the defendant JOSEPH VALERIO, together

with others, did knowingly and intentionally attempt to employ, use,

persuade, induce, entice and coerce a minor, to wit: Jane Doe #1,

to engage in sexually explicit conduct, for the purpose of producing

one or more visual depictions of such conduct, knowing and having

reason to know that such visual depictions would be transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce, which visual depictions were produced and transmitted

using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce by any means, including

by one or more mobile telephones, digital cameras, digital media

disks and computer, and such visual depictions were actually

transported and transmitted using a means and facility of interstate
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and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section

2251(a).

           (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                             COUNT TEN
            (Attempted Sexual Exploitation of a Child)

           10.   On or about July 16, 2012, within the Eastern District

of New York and elsewhere, the defendant JOSEPH VALERIO, together

with others, did knowingly and intentionally attempt to employ, use,

persuade, induce, entice and coerce a minor, to wit: Jane Doe #1,

to engage in sexually explicit conduct, for the purpose of producing

one or more visual depictions of such conduct, knowing and having

reason to know that such visual depictions would be transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce, which visual depictions were produced and transmitted

using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce by any means, including

by one or more mobile telephones, digital cameras, digital media

disks and computer, and such visual depictions were actually

transported and transmitted using a means and facility of interstate
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and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section

2251(a).

           (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                            COUNT ELEVEN
             (Attempted Sexual Exploitation of a Child)

           11.   On or about July 22, 2012, within the Eastern District

of New York and elsewhere, the defendant JOSEPH VALERIO, together

with others, did knowingly and intentionally attempt to employ, use,

persuade, induce, entice and coerce a minor, to wit: Jane Doe #1,

to engage in sexually explicit conduct, for the purpose of producing

one or more visual depictions of such conduct, knowing and having

reason to know that such visual depictions would be transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce, which visual depictions were produced and transmitted

using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce by any means, including

by one or more mobile telephones, digital cameras, digital media

disks and computer, and such visual depictions were actually

transported and transmitted using a means and facility of interstate
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and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section

2251(a).

             (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                              COUNT TWELVE
               (Attempted Sexual Exploitation of a Child)

             12.   On or about September 6, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,     which   visual    depictions    were   produced    and

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of
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interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

             (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                             COUNT THIRTEEN
               (Attempted Sexual Exploitation of a Child)

             13.   On or about September 27, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,     which   visual    depictions    were   produced    and

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of
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interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

            (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                            COUNT FOURTEEN
                   (Sexual Exploitation of a Child)

            14.   On or about and between September 10, 2010 and January

19, 2011, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO did knowingly and intentionally employ, use, persuade,

induce, entice and coerce a minor, to wit: Jane Doe #2, an individual

whose identity is known to the Grand Jury, to engage in sexually

explicit conduct, for the purpose of producing one or more visual

depictions of such conduct, which visual depictions were produced

and transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, to wit: one or more digital cameras, memory cards and computer

equipment, and such visual depictions were actually transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce.

            (Title 18, United States Code, Sections 2251(a), 2251(e)

and 3551 et seq.)
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                                                                              14

                            COUNT FIFTEEN
                  (Possession of Child Pornography)

           15.   On or about January 28, 2014, within the Eastern

District of New York, the defendant JOSEPH VALERIO did knowingly and

intentionally    possess    matter    containing    one    or   more      visual

depictions, to wit: images in digital files, in and affecting

interstate and foreign commerce, and which visual depictions had been

mailed, and shipped and transported using a means and facility of

interstate and foreign commerce, and which were produced using

materials which had been mailed, and so shipped and transported, the

production of such visual depictions having involved the use of one

or more minors engaging in sexually explicit conduct, and such visual

depictions were of such conduct.

           (Title 18, United States Code, Sections 2252(a)(4)(B),

2252(b)(2) and 3551 et seq.)
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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF NEW YORK


-------------------------------X

UNITED STATES OF AMERICA,           :
                                        CR-14-0094
       -against-                    :
                                        United States Courthouse
JOSEPH VALERIO,                     :   Central Islip, New York

           Defendant.               :   May 3, 2016
                                        10:00 a.m.
-------------------------------X


                TRANSCRIPT OF PROCEEDINGS
           BEFORE THE HONORABLE JOSEPH F. BIANCO
            UNITED STATES DISTRICT COURT JUDGE



APPEARANCES:

For the Government:           BRIDGET M. ROHDE, ESQ.
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      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                TRANSCRIPT PRODUCED BY CAT

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                   Official Court Reporter
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 1              (The following took place at 10:49 a.m.)

 2              THE CLERK:     Calling case 14-CR-0094.

 3              Counsel, please state your appearance for the

 4   record.

 5              MR. BODE:    Allen Bode for the government.

 6              MR. LATO:    Leonard Lato and Anthony LaPinta for

 7   the defendant.

 8              THE COURT:     Good morning.     The defendant is

 9   present as well.

10              As you know we had this scheduled for

11   sentencing.    I know obviously you're not in a position to

12   go forward today.     But there is one issue I wanted to

13   discuss.

14              I'm checking the addendum that was issued by the

15   Probation Department.      But first let me just see what the

16   defense has regarding -- I think I signed an order

17   allowing a psychiatric exam to be done in March.

18              MR. LATO:    You did, your Honor.       But because of

19   the addendum the additional information we had Dr. Barday,

20   the psychiatrist, go back a second time to re-interview

21   Mr. Valerio.    And that's why we have these additional

22   delays from our end.

23              In fact we contacted Dr. Barday one or two days

24   ago before we knew it was going to be on today.           We've

25   retained him now a second time going back a month or two


                           Ellen S. Combs, CSR
                         Official Court Reporter
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 1   months ago.    We need that addendum because we're coming up

 2   on a year and-a-half on sentencing and we want to go

 3   forward on this.     So that's where we are on that.         And we

 4   have a prospective sentencing date, I believe July 29th,

 5   if that is okay with the court.

 6               And you know that with respect to the addendum

 7   we are going to have a Fatico Hearing.         My guess is that

 8   is why we're here today, as your Honor knows.

 9               THE COURT:    Well, that is why I do intend to

10   have a Fatico Hearing with respect to this.          Obviously

11   these are significant allegations.         The probation

12   department as you know issued a revised recommendation

13   with a much higher recommendation based upon that

14   information.

15               So if Mr. Valerio is in fact disputing the facts

16   contained in that addendum, I think we have to have a

17   hearing.    So, is he disputing those facts?

18               MR. LATO:    Yes, your Honor, completely.        Not

19   with respect to anything with respect to the additional

20   videos.    Because what I understand is that materially it's

21   the same as the prior videos.       For instance, there is no

22   -- conduct.    What it really comes down to is the

23   materially new information is the alleged assault of this

24   Jane Doe individual which Mr. Valerio denies ever

25   occurred.   It's not a he says, she says.         He denies it


                           Ellen S. Combs, CSR
                         Official Court Reporter
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 1   completely.

 2                We had that conversation with Mr. LaPinta and I

 3   at the MDC when the addendum came out.         I went over it

 4   with Mr. Valerio again this morning to make sure that his

 5   position is the same.      It is the same.     He disputes it.

 6   It did not happen.

 7                THE COURT:   Okay.   So what I want the government

 8   to do is a couple of things.

 9                First of all, I know you were speaking to Jane

10   Doe number 3.    But I'm just looking at, the situation

11   occurred with Jane Doe number 4 is something that the

12   court should entertain considering that evidence as well.

13                So I want you to obviously to prepare for both

14   of those.    What I want the government to do is to contact

15   both of those individuals, if you haven't done so already.

16   I want you to tell them we're having a hearing and see

17   whether they would be willing to testify.

18                MR. BODE:    I'm just gonna warn the court,

19   hopefully the July 9th date will be okay.          But my guess is

20   it will require another date.       They're both outside the

21   United States.    So if your Honor -- unless hearsay is

22   allowed -- I think it shouldn't be a problem.           But I just

23   worry about the date.

24                THE COURT:   If they're willing to voluntarily

25   come here.


                           Ellen S. Combs, CSR
                         Official Court Reporter
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 1               MR. BODE:    I don't think so for South Africa.         I

 2   don't know.    I'm just going to bring the issue and we'll

 3   let the court know as soon as we know something which

 4   would be in the next couple of weeks here.          We'll figure

 5   out how, you know, what their availability is, what their

 6   inclination is, and what if any legal process is required.

 7               THE COURT:    Okay.   The second thing is, if for

 8   any reason one or both of them are unavailable, the Second

 9   Circuit said a judge can consider hearsay.          The government

10   can also seek to corroborate that hearsay.

11               So if for whatever reason we have to rely on

12   those statements or some sworn statement that's not going

13   to be subject to confrontation, the government would

14   obviously need to try to corroborate.

15               MR. BODE:    Yes, your Honor.     I spoke to

16   Mr. Kabrawala already, so we're --

17               THE COURT:    And the last thing that I'm

18   considering, and I don't know if the defense even knows

19   this.   But in the context of Ms. Kalichenko's case, she

20   made allegations of rape and other violent conduct by

21   Mr. Valerio.    So I'm going to have to reach out to her if

22   she wants to testify at the Fatico Hearing.          I'm going to

23   allow her to testify as well because some of the things

24   that she alleges are similar to at least what Jane Doe 3

25   has said.


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                         Official Court Reporter
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                                 GA020
                                                                          6

 1              MR. LATO:    Now your Honor, with respect to that.

 2   Did that happen at the time of her plea?          Is that on the

 3   record?   Because obviously I know that the probation

 4   report probably has not been done on her.          And I wouldn't

 5   be privy to that as well, even though Mr. LaRusso, her

 6   attorney, is my colleague.        I would think that if she had

 7   made these allegations, well she has made them.           I need to

 8   see them so we can properly confront them.

 9              THE COURT:     I don't believe it was at her plea,

10   but leading up to her plea there was a trial.           And one of

11   things she claimed was duress.        And she made an allegation

12   that she was raped by Mr. Valerio.

13              MR. BODE:    We have minutes on that if I recall

14   when she testified.

15              THE COURT:     Yes, she did testify at the hearing.

16   But I don't know if it came out at the hearing or after,

17   if Mr. LaRusso proffered that.

18              MR. LATO:    I'll speak to Mr. Kabrawala about

19   that, your Honor.     I'll take a look as soon as possible

20   what if anything there is and I will reach out to

21   Mr. LaRusso as well.

22              THE COURT:     Okay.    That is all I have for today.

23   I don't know if there is anything else we can discuss.

24              MR. LATO:    Judge, if I could just note.

25   Mr. Valerio's position, while your Honor was saying that


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                                 GA021
                                                                          7

 1   spoke to Bode, I turned to Mr. Valerio and asked, Are you

 2   disputing the facts of what the judge just said?

 3              And he said, Yes.

 4              So based upon that, obviously your Honor I know

 5   must at least actually have considered what Ms. Kalichenko

 6   said subject to any defense, whether the government failed

 7   to, whether the government wants to proceed.

 8              So if Mr. Bode and Mr. Kabrawala can give us the

 9   information, we'll go over it with Mr. Valerio.           And then

10   we'll have to see what the government wants to pursue at

11   that Fatico Hearing.     But based upon what your Honor said,

12   the chances are we may have to pursue it even if the

13   government says, well, we're not going pursue it, your

14   Honor has brought it up on your Honor's own.

15              THE COURT:     Yes.   I'm not asking the government

16   if they want to pursue it.       I already heard the

17   allegation.    I want to hear from her if she is willing to

18   testify.   So I'm asking Mr. Bode to reach out to

19   Mr. LaRusso, tell him that I'm inviting her to testify

20   regarding any alleged abuse she claims that she suffered

21   at the hands of Mr. Valerio.       Okay?

22              MR. LATO:    In light of this, your Honor, the

23   next date, I may have misspoken when I said July 29th,

24   maybe June 27th.     I know Ms. Savona has the accurate date.

25              But if your Honor just wants to have a hearing


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                                                                       8

 1   on that date, hearing and sentencing, because --

 2               THE COURT:    No, just a hearing.

 3               MR. LATO:    Okay.

 4               THE COURT:    Obviously if it turns out there is

 5   not going to be testimony, then maybe I'll reconsider

 6   that.   But, no.   I don't think so.      I think either way I

 7   think we'll just, we have to establish the factual issues.

 8   Okay?

 9               MR. LaPINTA:    Judge may I ask one other

10   question.   I'm trying project the scheduling for the

11   summer.   Is it fair to say that if the Fatico Hearing does

12   take place in July that the sentencing would not take

13   place for at least a month or so?

14               THE COURT:    Yes, probably be in September.

15               MR. LaPINTA:    Okay, thank you.

16               MR. BODE:    What is the date?

17               THE CLERK:    I don't think we --

18               MR. BODE:    27th or 29th, both appear to be --

19               THE COURT:    We'll do the 27th.      Okay?

20               (There was a pause in the proceedings.)

21               THE COURT:    Can we do the 25th, Monday, instead?

22               THE CLERK:    July 25th.

23               MR. LaPINTA:    Yes.

24               THE COURT:    And Mr. Bode, see if you can get

25   back to me about Jane Doe number 3 and Jane Doe number 4.


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                                GA023
                                                                      9

 1             MR. BODE:    We'll put it in a letter.

 2             THE COURT:     All right, thank you.

 3             Have a good day.

 4             (The proceedings were concluded at 10:59 a.m.)

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                                              GA024




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                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF NEW YORK

                    -------------------------------X

                    UNITED STATES OF AMERICA,                 :    14 CR 0094

                              v.                              :    U.S. Courthouse
                                                                   Central Islip, N.Y.
                    JOSEPH VALERIO,                           :
                                                                   TRANSCRIPT OF TRIAL
                                       Defendant.             :
                                                                   November 4, 2014
                    -------------------------------X               10:05 a.m.

                    BEFORE:

                              HONORABLE JOSEPH F.        BIANCO, U.S.D.J.
                                       and a jury


                    APPEARANCES:

                    For the Government:     LORETTA E. LYNCH
                                            United States Attorney
                                            100 Federal Plaza
                                            Central Islip, New York 11722
                                            By: AMEET B. KABRAWALA, ESQ.
                                                 ALLEN BODE, ESQ.
                                                 Assistants, U.S. Attorney


                    For the Defendant:      ANTHONY LaPINTA, ESQ.
                                            LEONARD LATO, ESQ.
                                            35 Arkay Drive - Suite 200
                                            Hauppauge, New York 11788


                    Court Reporter:         HARRY RAPAPORT
                                            OWEN M. WICKER
                                            United States District Court
                                            100 Federal Plaza
                                            Central Islip, New York 11722
                                            (631) 712-6105

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                       Case 17-2371, Document 62, 06/04/2018, 2317602, Page123 of 205
                                                                    GA025
                   Opening Statement/Kabrawala                                                    Opening Statement/Lato
                                                          250                                                                          252
 1   pictures of his niece.                                                 1   child pornography with her toddler, and he -- that he paid
 2            Do you know where they found that? They found                 2   her to do so.
 3   that hidden in the ceiling above the basement ceiling.                 3             You will also see the money trail in the form of
 4   Agents had to take apart the ceiling, and they found it                4   Western Union wire transfers showing the defendant paid
 5   there.                                                                 5   Kalichenko thousands of dollars, just like he admitted.
 6            Now, for his actions the defendant is charged in              6             Now, ladies and gentlemen, the facts of this
 7   a 15-count criminal indictment, as to          the toddler             7   case are clear.
 8   in the Ukraine. The defendant is charged with a                        8             At the end of the trial we will ask you to
 9   conspiracy to sexually exploit the child, transportation               9   return a verdict, the only verdict that is consistent with
10   of child pornography, receipt of child pornography and                10   those facts. We will ask you to hold the defendant
11   also attempted sexual exploitation of a child for emails              11   accountable for his actions and find him guilty on all
12   that the defendant sent to the Ukraine to Kalichenko                  12   counts.
13   directing the videos of Kalichenko molesting her daughter.            13             Thank you.
14            For the defendant's actions involving his niece              14             THE COURT: Members of the jury, as I said
15   here in Smithtown, he is charged with sexually exploiting             15   before, the government has the burden of proof at all
16   a child. And the defendant is also charged with                       16   times, therefore the defendant does not need to make an
17   possessing child pornography.                                         17   opening statement. But I am advised that the defendant
18            Now, as the prosecution, we have the burden of               18   wishes to give an opening statement.
19   proving the defendant guilty beyond a reasonable doubt.               19             Mr. Lato, you may proceed.
20   And we will meet that burden by presenting you with                   20             MR. LATO: Thank you, your Honor.
21   evidence in the form of witnesses, documents and physical             21             Good morning, ladies and gentlemen.
22   evidence.                                                             22             My name is Leonard Lato, as Judge Bianco has
23            First and foremost, as you know from jury                    23   already said. And I will be trying this case with my
24   selection, in order to decide the facts of this case it               24   co-counsel, Anthony M. LaPinta, the taller of the two
25   will be necessary for you to see the images and the videos            25   gentlemen at the table. And there is Mr. Joseph Valerio,
                   Opening Statement/Kabrawala                                                    Opening Statement/Lato
                                                          251                                                                          253
 1   that this defendant created or caused to be created.                   1   the defendant a couple of chairs away.
 2            Now, while it is troubling to view these images,              2             The question in this case is not what, but who.
 3   they speak for themselves. You will see the videos that                3             A person produced child pornography videos with
 4   the defendant created in response to his emails, following             4   a toddler. Mr. Kabrawala said that, and the defense
 5   his script, that Kalichenko created. And you will see the              5   agrees with that. But that person, contrary to what
 6   sexually explicit images of the defendant's young niece                6   Mr. Kabrawala said, was not Joseph Valerio. That person
 7   taken in his basement.                                                 7   may have been Olena Kalichenko.
 8            You will also hear testimony from                             8             If Olena Kalichenko, she produced the videos not
 9   Special Agent Steven Troyd who will testify about the two              9   in the United States but in the Ukraine.
10   searches and what his team found during the searches, and             10             Joseph Valerio has never been to the Ukraine.
11   where they found it.                                                  11             As Mr. Kabrawala stated, another video or other
12            You will see the computer that the defendant                 12   videos were made of a young girl, Mr. Valerio's niece. We
13   used to communicate with Kalichenko. You will see the                 13   agree with that, meaning "we," the defense.
14   Samsung digital memory card. You will see the Samsung                 14             But that person, once again, was not Joseph
15   video camera that the defendant used to film his niece.               15   Valerio. That person, once again, may have been Olena
16   You will learn where it was found. You will see the                   16   Kalichenko.
17   basement. You will see the basement ceiling panel tiles               17             Because as Mr. Valerio was never to the Ukraine,
18   taken off where the camera was found. And you will see a              18   Ms. Kalichenko has been to the United States and has been,
19   receipt showing that the defendant purchased the Samsung              19   and has stayed in Mr. Valerio's house.
20   video camera and digital memory card and that they were               20             It is not Mr. Valerio, and it only may be
21   shipped to him.                                                       21   Ms. Kalichenko.
22            You will also see the hidden cameras, costumes,              22             Why the uncertainty?
23   costumes that the defendant dressed his niece with.                   23             Because the government's investigation was
24            Agent Troyd will recount for you the defendant's             24   incomplete.
25   confession, that he admitted directing Kalichenko to make             25             The government searched Mr. Valerio's house.
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                                              GA026




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                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF NEW YORK

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                    UNITED STATES OF AMERICA,                 :    14 CR 0094

                              v.                              :    U.S. Courthouse
                                                                   Central Islip, N.Y.
                    JOSEPH VALERIO,                           :
                                                                   TRANSCRIPT OF TRIAL
                                       Defendant.             :
                                                                   November 5, 2014
                    -------------------------------X               9:45 a.m.

                    BEFORE:

                              HONORABLE JOSEPH F.        BIANCO, U.S.D.J.
                                       and a jury


                    APPEARANCES:

                    For the Government:     LORETTA E. LYNCH
                                            United States Attorney
                                            100 Federal Plaza
                                            Central Islip, New York 11722
                                            By: AMEET B. KABRAWALA, ESQ.
                                                 ALLEN BODE, ESQ.
                                                 Assistants, U.S. Attorney


                    For the Defendant:      ANTHONY LaPINTA, ESQ.
                                            LEONARD LATO, ESQ.
                                            35 Arkay Drive - Suite 200
                                            Hauppauge, New York 11788


                    Court Reporter:         HARRY RAPAPORT
                                            OWEN M. WICKER
                                            United States District Court
                                            100 Federal Plaza
                                            Central Islip, New York 11722
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                                                                      GA027
                         Troyd-Direct/Kabrawala                                                         Troyd-Direct/Kabrawala
                                                              418                                                                            420
 1              Do you see it?                                                1   It did not contain a disk. It only contained bubble wrap,
 2   A   Yes.                                                                 2   and he received it from Olena Kalichenko.
 3   Q   Is that a true and correct copy of the email you just                3   Q       He claimed the package that was sent by DHL -- DHL is
 4   referred to in your testimony?                                           4   a courier like FedEx?
 5   A   Yes, it is.                                                          5   A       Yes. Similar to UPS or FedEx.
 6              MR. KABRAWALA: The government moves to admit.                 6   Q       All right.
 7              MR. LATO: No objection.                                       7                  He claimed that he received the FedEx -- the DHL
 8              THE COURT: 303 is admitted.                                   8   from Olena Kalichenko and it only contained bubble wrap?
 9              (Whereupon, Government's Exhibit 303 was                      9   A       That's correct.
10   received in evidence.)                                                  10   Q       Did there come a time you provided the defendant with
11              MR. KABRAWALA: I will publish it.                            11   what is commonly referred to as the Miranda warnings?
12              (At this time a document was exhibited on                    12   A       Yes.
13   courtroom screen.)                                                      13   Q       And I want you to take a look at
14   Q   Would you describe what the message information is,                 14   Government's Exhibit 304.
15   the from and the to and also the details.                               15   A       Yes.
16   A   Certainly.                                                          16   Q       Do you recognize that document?
17              The from portion of the email says Joe Valerio,              17   A       Yes.
18   from                             sent Sunday, July 22, 2012, at         18   Q       What is it?
19   10:28 p.m., to                                                          19   A       An advice of rights form commonly referred as FD 395.
20              The subject being forward, reference forward --              20   Q       It is a standard form that you carry around with the
21   excuse me, forward, return forward. Where's                             21   FBI?
22   information and the other stuff and Svetas, S-V-E-T-A-S.                22   A       Yes.
23   Q   You said you read a particular portion of the email.                23   Q       And it is a form that essentially contains the
24   Would you describe which portion you read to the defendant              24   Miranda warnings, is that fair to say?
25   during the interview with him in the dining room?                       25   A       Yes.
                         Troyd-Direct/Kabrawala                                                         Troyd-Direct/Kabrawala
                                                              419                                                                            421
 1   A   On the second page, the second paragraph.                            1   Q       Is that a true and correct copy of the Miranda
 2   Q   Okay.                                                                2   warnings form that you read out to the defendant and
 3              Why don't you read aloud the portion that you                 3   provided him in that dining room on January 28th, 2014?
 4   read for the defendant on that day.                                      4   A       Yes.
 5   A   I was actually able to see some girls come in their                  5                  MR. KABRAWALA: Move to admit, Judge.
 6   pantyhose. Speaking of which I want video of you and                     6                  MR. LATO: No objection.
 7           Get her to play or eat, just eat your pussy.                     7                  THE COURT: 304 is admitted.
 8   Q   Now, after you read that portion to the defendant,                   8                  (Whereupon, Government's Exhibit 304 was
 9   what, if anything, did the defendant say?                                9   received in evidence.)
10   A   I asked the defendant if he sent this email.                        10                  MR. KABRAWALA: I will now publish
11              He said, yes, this was his email.                            11   Government's Exhibit 304.
12              He further indicated that he had directed Olena              12                  (At this time a document was exhibited on
13   Kalichenko to produce child pornography, and that he had                13   courtroom screen.)
14   in fact received that child pornography in the emails.                  14   Q       I want you to describe the form, and why don't you go
15   Q   Did the defendant say who was depicted in the email                 15   ahead and read the entire form aloud. It is pretty short.
16   that he received?                                                       16   A       The entire form is advice of rights. In the upper
17   A   Yes.                                                                17   right-hand corner it says place: Smithtown, New York.
18   Q   Who is that?                                                        18                  Date, January 28th, 2014.
19   A   That was Olena Kalichenko and her daughter.                         19                  Time is blank.
20   Q   Did the defendant admit to anything else aside from                 20                  The subtitle is, your rights.
21   admitting that he had directed the production of child                  21                  Then it goes to say, before we ask you any
22   pornography and received it by email?                                   22   questions, you must understand your rights.
23   A   Yes.                                                                23                  You have the right to remain silent.
24              I asked him if he received any disks via DHL.                24                  Anything you say can be used against you in
25              He responded he had in fact received a package.              25   court.
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                              GA028
                                                                    568
                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,           :     14 CR 0094

          v.                        :     U.S. Courthouse
                                          Central Islip, N.Y.
JOSEPH VALERIO,                     :
                                          TRANSCRIPT OF TRIAL
                  Defendant.        :
                                          November 6, 2014
-------------------------------X          9:30 a.m.

BEFORE:

           HONORABLE JOSEPH F. BIANCO, U.S.D.J.
                       and a jury


APPEARANCES:

For the Government:     LORETTA E. LYNCH
                        United States Attorney
                        100 Federal Plaza
                        Central Islip, New York 11722
                        By: AMEET B. KABRAWALA, ESQ.
                             ALLEN BODE, ESQ.
                             Assistants, U.S. Attorney


For the Defendant:      ANTHONY LaPINTA, ESQ.
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                        35 Arkay Drive - Suite 200
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Court Reporter:         HARRY RAPAPORT
                        OWEN M. WICKER
                        United States District Court
                        100 Federal Plaza
                        Central Islip, New York 11722
                        (631) 712-6105

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                        OWEN WICKER, RPR
                     OFFICIAL COURT REPORTER
         Case 17-2371, Document 62, 06/04/2018, 2317602, Page127 of 205
                                    GA029
                          Forrestal-Direct/Kabrawala
                                                                          659
 1   Q       Did you see anyone draw weapons at the defendant?

 2   A       No.

 3   Q       Did anyone restrain the defendant, hold him down?

 4   A       No.

 5   Q       Did anyone raise their voices at the defendant?

 6   A       No.

 7   Q       Did you raise your voice at the defendant?

 8   A       No.

 9   Q       So did the defendant admit that he directed Olena

10   Kalichenko to produce child pornography with her daughter?

11   A       Yes.

12                  MR. LaPINTA:    Objection.

13                  THE COURT:    Sustained.    Sustained as to form.

14   Q       What, if anything, did the defendant admit?

15                  MR. LaPINTA:    Objection.

16                  THE COURT:    Sustained as to form.

17   Q       What, if anything, did the defendant say during the

18   interview in general to you?

19   A       In general he stated that Olena Kalichenko -- that he

20   directed her to reach out and make child pornography

21   images of her daughter.

22   Q       Did he say he received those images?

23   A       He did.

24   Q       What did he say?

25   A       Specifically, I don't remember specifically what he


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                             Official Court Reporter
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                                    GA030
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                                                                          660
 1   said.      But I do remember him admitting that he received

 2   the child pornographic videos from her.

 3                   And then the other thing I specifically recall

 4   him saying is that he did receive a DHL, DVU, quote,

 5   unquote.

 6   Q       He claimed that the DHL package was empty?

 7                   MR. LaPINTA:   Objection to the form of the

 8   question.

 9                   MR. KABRAWALA:   Withdrawn.

10                   THE COURT:   Sustained.

11   Q       Do you recall the defendant being Mirandized, that

12   is, being advised of his rights?

13   A       I do.

14   Q       Showing you what is admitted as 304,

15   Government's Exhibit 304, do you recognize this document?

16                   (At this time a document was exhibited on

17   courtroom screen.)

18   A       Yes.

19   Q       This is an advice of rights form?

20   A       It is.

21   Q       Is your signature on it?

22   A       It is.

23   Q       Did you witness this being signed by the defendant?

24   A       I did.

25   Q       Did he waive his rights and agree to speak to law


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                                    GA031
                          Forrestal-Direct/Kabrawala
                                                                          716
 1                  (Handed to the witness.)

 2   Q       Is this 561?

 3   A       Yes.

 4   Q       Is that a true and correct copy of the email taken

 5   from inbox 1 dot DBX from that computer?

 6   A       It is.

 7                  MR. KABRAWALA:    Move to admit.

 8                  MR. LATO:    One moment, please.

 9                  (Whereupon, at this time there was a pause in

10   the proceedings.)

11                  MR. LATO:    No objection.

12                  THE COURT:    561 is admitted.

13                  (Whereupon, Government's Exhibit 561 was

14   received in evidence.)

15                  MR. KABRAWALA:    I will not publish it at this

16   time.

17   Q       I will show you Government's Exhibit 566.

18                  Again, is that a true and correct extraction of

19   an email from the inbox that has been entered into

20   evidence as Government's Exhibit 550?

21   A       Yes.

22                  MR. KABRAWALA:    Move to admit 566.

23                  MR. LaPINTA:    No objection.

24                  THE COURT:    566 is admitted.

25                  (Whereupon, Government's Exhibit 566 was


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                                    GA032
                          Forrestal-Direct/Kabrawala
                                                                          717
 1   received in evidence.)

 2                  MR. KABRAWALA:    I will publish it.      And I will

 3   read it.

 4                  Joseph, I have just checked the package,

 5   tracking number is -- and there is a package number ending

 6   in 6006.       If you go to www.DHL.com.

 7   Q       Is that fair to say that that is what it says?

 8   A       Yes.

 9   Q       By the way, that DHL number I just read, that was in

10   an email on that computer; is that right?

11   A       Yes, it was.

12                  (Counsel confer.)

13                  MR. KABRAWALA:    Can we have a sidebar, Judge?

14

15                  (Whereupon, at this time the following took

16   place at the sidebar.)

17                  MR. KABRAWALA:    We discussed at a pretrial

18   conference the admission of this, at which time this was

19   obviously provided with a certification from DHL.

20                  There is nothing that has changed.        This should

21   come in as a self-authenticating document.

22                  THE COURT:    I remember that conference.

23                  MR. BODE:    I have the minutes if you need.

24                  THE COURT:    I remember it.

25                  MR. LATO:    There is no question that the bulk of


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                             Official Court Reporter
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                                 GA033
                       Forrestal-Direct/Kabrawala
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 1   the document should come in.       My only request is the

 2   following:

 3                With respect to the portion that says DVD disk,

 4   we don't know if that was written by Ms. Kalichenko as a

 5   co-conspirator statement made in the course of a

 6   conspiracy, or if it was written by someone at DHL based

 7   upon examination.

 8                That is the only question I have.       Because if in

 9   fact it was written by somebody from DHL based upon what

10   Olena Kalichenko said --

11                MR. KABRAWALA:    It doesn't matter because it is

12   taken in the regular course of business.

13                THE COURT:   The issue is whether or not it

14   should come in as a co-conspirator statement, I think

15   there is a sufficient basis to allow it.         You can make

16   that argument, but I will allow it.

17                MR. LATO:    As I was saying it, I think I agree,

18   anyway.   So that is myself saying I agree.

19

20                (Whereupon, at this time the following takes

21   place in open court.)

22                MR. KABRAWALA:    The government moves to admit

23   Government's Exhibit 201.

24                THE COURT:   Any objection?

25                MR. LATO:    No, your Honor.


                            Owen M. Wicker, RPR
                          Official Court Reporter
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                                    GA034
                          Forrestal-Direct/Kabrawala
                                                                          719
 1                  THE COURT:    201 is admitted.

 2                  (Whereupon, Government's Exhibit 201 was

 3   received in evidence.)

 4                  MR. KABRAWALA:    Publishing it.

 5                  (At this time a document was exhibited on

 6   courtroom screen.)

 7   Q       This is a DHL bill of lading, the weigh bill.

 8                  Do you see the tracking number on top?

 9   A       Yes.

10   Q       Is it the same tracking number as the tracking number

11   in the last email; is that right?

12   A       Yes.

13   Q       Contents?

14   A       DVD disk.

15   Q       Contact name, Kalichenko O.

16   A       That's correct.

17   Q       Delivery address?

18   A                              Smithtown, New York.

19   Q       Contact name, Joseph Valerio?

20   A       Correct.

21   Q       Date is 26-04-12.

22                  What does that tell you?

23   A       April 26th, 2012.

24   Q       They write things differently across the pond?

25   A       They do.


                               Owen M. Wicker, RPR
                             Official Court Reporter
   Case 17-2371, Document 62, 06/04/2018, 2317602, Page133 of 205
                               GA035
                                                                    735
                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NEW YORK

-------------------------------X

UNITED STATES OF AMERICA,           :     14 CR 0094

          v.                        :     U.S. Courthouse
                                          Central Islip, N.Y.
JOSEPH VALERIO,                     :
                                          TRANSCRIPT OF TRIAL
                    Defendant.      :
                                          November 10, 2014
-------------------------------X          9:30 a.m.

BEFORE:

               HONORABLE JOSEPH F. BIANCO, U.S.D.J.
                             and a jury


APPEARANCES:

For the Government:      LORETTA E. LYNCH
                         United States Attorney
                         100 Federal Plaza
                         Central Islip, New York 11722
                         By: AMEET B. KABRAWALA, ESQ.
                              ALLEN BODE, ESQ.
                              Assistants, U.S. Attorney


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                         35 Arkay Drive - Suite 200
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Court Reporter:          HARRY RAPAPORT
                         OWEN M. WICKER
                         United States District Court
                         100 Federal Plaza
                         Central Islip, New York 11722
                         (631) 712-6105

Proceedings recorded by mechanical stenography.
Transcript produced by computer-assisted transcription.




                          OWEN WICKER, RPR
                       OFFICIAL COURT REPORTER
         Case 17-2371, Document 62, 06/04/2018, 2317602, Page134 of 205
                                    GA036
                         Forrestal - Direct/Kabrawala
                                                                           764
 1                  Subject:     Happy big third birthday,

 2   Woaw, yeah.

 3   Q       Is it fair to say that it appears to be a birthday

 4   greeting?

 5                  MR. LATO:     Objection.

 6                  THE COURT:    Sustained.

 7   Q       Please read the e-mail.

 8   A       Happy third birthday,               Love and kisses always

 9   from Dadda Valeria, sister                            grandma, Aunt

10   Bernadette, Uncle              cousins          and          and the

11   rest.      We love you.     See you soon.

12                  MR. KABRAWALA:     Thank you.

13   Q       In addition to the computer, computer hard drive

14   specifically, and the cell phone you already testified

15   about, did you conduct any forensic analysis on any other

16   computer or computer-related device?

17   A       Yes.

18   Q       What other device?

19   A       I examined the SD card.

20   Q       SD?

21   A       Yes.

22   Q       What does SD stands for?

23   A       SD cards are storage data, and they are small cards

24   used in cameras, cell phones and other devices.

25   Q       Showing you what has been admitted in evidence as


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                               Official Court Reporter
         Case 17-2371, Document 62, 06/04/2018, 2317602, Page135 of 205
                                    GA037
                         Forrestal - Direct/Kabrawala
                                                                          765
 1   Government's Exhibit 405.

 2                  Is this an item that you conducted a forensic

 3   analysis on?

 4   A       It is.

 5   Q       And that's the memory card, the SD card?

 6   A       Yes.

 7   Q       Who is it made by?

 8   A       This is made by Samsung.

 9   Q       And you can take it out of the bag if you would like.

10                  How do you know that you reviewed that exhibit

11   in particular?

12   A       I put my initials on the face of the SD card, "RFF."

13   Q       Turn it around and describe what it says.

14   A       This is a request for a set of glasses.          At the end

15   it says --

16                  MR. LAPINTA:    Objection.

17                  MR. KABRAWALA:    I'll take it and put it in the

18   overhead.

19                  MR. LAPINTA:    I object to any reference what is

20   said or listed on the document.

21                  THE COURT:    Do you want to approach?

22                  (Whereupon, at this time the following took

23   place at the sidebar.)

24                  (Continued.)
25


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                                 GA038
                      Forrestal - Direct/Kabrawala
                                                                       766
 1              MR. KABRAWALA:     (Handing.)

 2              We had this discussion about trade encryptions

 3   during the pretrial conference, and it was very clear that

 4   counsel conceded it is appropriate for the witness to read

 5   aloud what is on that document.

 6              MR. LAPINTA:     Is it in evidence yet?

 7              MR. KABRAWALA:     It is in evidence.

 8              MR. LAPINTA:     You had him -- you asked him who

 9   made the document.

10              MR. BODE:    No.

11              THE COURT:     Let's not argue about it.

12              You have no objection to him reading it?

13              MR. LAPINTA:     Right.

14              THE COURT:     Okay.

15              (End of sidebar conference.)

16              (Continued.)

17

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                             OWEN WICKER, RPR
                          Official Court Reporter
         Case 17-2371, Document 62, 06/04/2018, 2317602, Page137 of 205
                                    GA039
                         Forrestal - Direct/Kabrawala
                                                                          767
 1   BY MR. KABRAWALA:

 2   Q       Is there a country written on that exhibit?

 3   A       There is.

 4   Q       What does it say?

 5   A       It says Korea.

 6                   MR. KABRAWALA:   Thank you.

 7                   Your Honor, may we take a quick break?

 8                   THE COURT:   How long do you need, a minute or

 9   two?     I would rather not take the morning break this

10   early.

11                   MR. KABRAWALA:   Just one minute.

12                   THE COURT:   How much longer do you have of this

13   witness?

14                   MR. KABRAWALA:   30 minutes, 45 minutes.

15                   THE COURT:   I just want to go to 11:15, so just

16   take a minute, and we'll just wait.

17                   MR. KABRAWALA:   Fine.

18   Q       Handing you what is marked as Government's

19   Exhibit 507 through 539.

20                   Whatever is not in the binder will be on this?

21   A       Yes.

22   Q       I'll show it to you on the screen as we proceed

23   through this.

24   A       Okay.

25   Q       Showing you what has been marked as Government's


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                                    GA040
                         Forrestal - Direct/Kabrawala
                                                                          768
 1   Exhibit 505.

 2   A       Yes.

 3   Q       Do you recognize what that disk is?

 4   A       Yes.

 5   Q       What is it?

 6   A       A disk that I created that contains a PowerPoint

 7   presentation that I made for presentation here in court.

 8   Q       Did you make that presentation to assist us and the

 9   jury in understanding your testimony?

10   A       Yes.

11   Q       Does it contain images that you took from the memory

12   card that you just testified about, Government's

13   Exhibit 405?

14   A       Yes.

15   Q       And are the exhibits, Government's Exhibit 507

16   through 539, contained within the disk that you just

17   testified about?

18   A       Yes.

19                  MR. KABRAWALA:    The Government moves to admit

20   Exhibits 507 through 539, as well as 505.

21                  MR. LATO:    One moment, please.

22                  No objection.

23                  THE COURT:    505, 507 through 539, are all

24   admitted.

25                  (Whereupon, Government Exhibits 505 and 507


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                                    GA041
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                                                                          769
 1   through 539 were received in evidence.)

 2                 MR. KABRAWALA:     I will now show you everything

 3   just using the screen.

 4                 THE WITNESS:     All right.

 5                 MR. KABRAWALA:     I'm publishing Government's

 6   Exhibit 507 -- withdrawn.

 7                 I'll actually take it down.

 8   BY MR. KABRAWALA:

 9   Q       What, if anything, did you do once you received the

10   SD card, memory card?

11   A       I ran a forensic analysis on the card.

12   Q       Walk us through that, please.

13   A       Somewhat similar to the other ways we examine digital

14   media.      In this case we take the SD card and put it in a

15   tool called -- it is called a write block.             This one is a

16   Digital Intelligence card reader write block.             We put it

17   in there and apply the same process creating an image, and

18   we add it to our forensic job that we're doing.

19   Q       Did you create a forensic image of the memory card?

20   A       Yes, I did.

21   Q       And it did an exact bit-by-bit copy of that memory

22   card, Government's Exhibit 402?

23   A       It did.

24   Q       Did you recover any images on that memory card?

25   A       I did.


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                                    GA042
                         Forrestal - Direct/Kabrawala
                                                                          770
 1   Q       How did you go about recovering imaging from

 2   Government's Exhibit 402?

 3   A       The forensic software EnCase, E-N-C-A-S-E,

 4   automatically displays some images that are readily

 5   apparent on the SD card.

 6                   We would then recover the videos.       There were

 7   videos on this particular SD card, and we would attempt to

 8   review them to see whether there were images within that

 9   we could recover, directly visible.

10   Q       So you used software called EnCase?

11   A       Yes.

12   Q       Using that software, what, if anything, did you find?

13   A       I did.     I found a number of images that had been

14   deleted that contained videos, that when you played the

15   videos there was a frame of the picture left.

16   Q       You found videos but they were deleted, and all you

17   could see is a still frame of the video?

18   A       Correct.

19   Q       Was that the same with respect to still images, that

20   is, photographs?

21   A       I recovered a still image from the SD card that was

22   located on it, yes.

23   Q       And I think you testified about your experience using

24   EnCase earlier last week; is that true?

25   A       True.


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                                     GA043




                                                                           923
                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK

            -------------------------------X

            UNITED STATES OF AMERICA,          :     14 CR 0094

                      v.                       :     U.S. Courthouse
                                                     Central Islip, N.Y.
            JOSEPH VALERIO,                    :
                                                     TRANSCRIPT OF TRIAL
                               Defendant.      :
                                                     November 12, 2014
            -------------------------------X         9:30 a.m.

            BEFORE:

                           HONORABLE JOSEPH F. BIANCO, U.S.D.J.
                                         and a jury


            APPEARANCES:

            For the Government:     LORETTA E. LYNCH
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                                    Central Islip, New York 11722
                                    By: AMEET B. KABRAWALA, ESQ.
                                         ALLEN BODE, ESQ.
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                                    (631) 712-6105

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                                  OFFICIAL COURT REPORTER




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                                                               GA044
                    Plaintiff's Closing Argument                                      Plaintiff's Closing Argument
                                                            960                                                               962
  1               And then he says: You can use the cell phone      1    Do the videos with          the way I want. This is all the
  2    camera with one hand, grab your tits with the other, and     2    preparation you will need here in NY with           so it's
  3    from your eye view down to your sweet pussy, you will be     3    best that you get used to it.
  4    recording                                                    4              That's an attempt charge (indicating).
  5               He's showing her how to hold the camera, very     5              How do you know he's serious? Look at his
  6    specific in his demands.                                     6    language. There it is, in all caps.
  7               Then what does he say? This will be like a        7              By the way, look at the date of that e-mail,
  8    French short film. We'll come up with a title.               8    Government's Exhibit 560. April 4, 2012, e-mail. Right?
  9               All right. So now we're up a couple months to     9              Look at the next e-mail, two days later,
 10    March 15, 2012.                                              10   Government's Exhibit 564. This is to A              D
 11               He says -- Government's Exhibit 208: When I       11   You heard about A              today.
 12    look back at the videos you made of you and                  12             What does the defendant say? Happy third
 13    together, I said to myself, this can be very good if she     13   birthday,
 14    can comply to my demands and not challenge them.             14             She's the defendant's daughter who lives in
 15               Okay. The bottom line is that you'll have to do   15   South Africa with her mother. Love and kisses always from
 16    all I ask you to.                                            16   daddy.
 17               If he doesn't intend her to make videos, why      17             He calls               's sister. Grandma
 18    would he say that? Why would he say, you have to do all I    18   Bernadette, cousins           and
 19    ask you to?                                                  19             Does that sound familiar? This is the
 20               He very clearly intends for these videos to be    20   defendant's own e-mail account he's sending two days after
 21    made and e-mailed to him.                                    21   he sent Government's Exhibit 560.
 22               This is another e-mail. It is also charged as     22             Now, Government's Exhibit 216. This is the same
 23    an attempt. It is from March 28, 2012. Again, you can        23   month, April of 2012. What does the defendant say?
 24    read the e-mail. They are all in evidence. You can ask       24             Helena, I looked at your videos. I'll give you
 25    for them.                                                    25   credit for some.
                             Owen M. Wicker, RPR                                            Owen M. Wicker, RPR
                           Official Court Reporter                                         Official Court Reporter
                    Plaintiff's Closing Argument                                      Plaintiff's Closing Argument
                                                             961                                                                963
  1              He says: Yes, of course it is good to see          1               "I looked at your videos." He's seen the
  2    little       growing up nice and firm. Of course, being      2    videos. He asks for them; he gets them. He asked for
  3    that I have control over          I want to see her in       3    more, gets more. He paid money.
  4    blonde, long hair, and as for you. Right?                    4               What does he do that day?
  5              Then he says -- describes what he wants. I will    5               Government's Exhibit 332, the summary chart from
  6    send out $100. To who and where do you want me to send       6    Western Union -- sorry, he doesn't do it that day. Two
  7    it?                                                          7    days later.
  8              Now, in Government's Exhibit 211, Mr. Egan,        8               What does he do? He sends money.
  9    Robert Egan from Cablevision, testified about the IP         9               Now, later that month, Government's Exhibit 556,
 10    address, internet protocol address. You remember what he     10   this is an e-mail from Olena Kalichenko to the defendant.
 11    said. This IP address beginning in 2004, that could only     11   Tracking number is -- this is in reference to a DHL
 12    have been sent from the tristate area. Could not have        12   package, ends in 6006.
 13    originated from abroad or even outside of the tristate       13              She says: I have made a copy of the disk just
 14    area.                                                        14   in case.
 15              And by the way, Government's Exhibit 211           15              Then she talks about it in the next paragraph,
 16    mentions long blonde hair. Does that sound familiar?         16   things that she wants to buy herself. I want to buy
 17              (Indicating.)                                      17   myself a new Nokia phone. It's a better camera and can be
 18              April 4, 2012, this is a few days later. This      18   connected -- and it says: I will be able to send you
 19    is another attempt to charge. What does the defendant        19   videos from my new cell phone cam directly to your e-mail.
 20    say?                                                         20   We'll make plenty of videos for you from the new phone.
 21              Listen, Helena, I'm glad to see the smile on       21   Passionate kisses, Helena and
 22    your daughter's face from the gift she got from the money    22              DHL package tracking number that's in the
 23    I sent.                                                      23   e-mail, it's right here (indicating). That's April 27.
 24              Then he says what he wants to see on video         24   Well, you saw the packing slip. It's the same tracking
 25    (indicating). He says: There is a price for everything.      25   number from Kalichenko, that's Olena Kalichenko, to
                           Owen M. Wicker, RPR                                                Owen M. Wicker, RPR
                          Official Court Reporter                                            Official Court Reporter
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                                                                      GA045
                       Plaintiff's Closing Argument                                           Plaintiff's Closing Argument
                                                                964                                                                 966
  1    Sevastopol, Ukraine. DVD disk, the contents.                      1   he'll think of Kalichenko.
  2               Where is it addressed to? Joseph Valerio,              2               What is the date of this? July 3, 2012, the day
  3                         Smithtown, New York.                         3   before Independence Day, the 4th of July. That is
  4               What is the date? April 26, 2012.                      4   somebody who lives in the United States. That's not
  5               Now, how do you know if this is the defendant's        5   someone logging into his account in Ukraine. That is
  6    e-mail?                                                           6   someone who is local, so local that you see that in
  7               How do you know that he's using his e-mail             7   Government's Exhibit 225, a July 12, 2012 e-mail, you see
  8    account?                                                          8   that the defendant -- he says: You and I split our times
  9               Well, you saw the e-mails from April that we           9   in Smithtown and the Hamptons, of course, and
 10    just went through.                                               10             And he goes on to say: I closed the business
 11               What happens on April 25, 2012?                       11   deal. He's talking about properties in Nassau County, in
 12               Government's Exhibit 567. This is an estimate         12   Brooklyn, Suffolk County, homes and buildings. He has
 13    for landscaping. It starts off by saying: Hi, Joe, it            13   homes in Smithtown and Hamptons, jointly owned co-op, and
 14    was a pleasure meeting you yesterday.                            14   a time-share in Montauk. All in New York.
 15               And there's a landscaping bill. You heard             15               He's so local and so plugged in that he knows
 16    testimony it was a landscaping estimate for over $7,000.         16   real estate values. He's talking about real estate values
 17    That's how you know the defendant is using his e-mail            17   in Queens and Staten Island. This isn't somebody who is
 18    account.                                                         18   hacking into his account from overseas. This is the
 19               Of course you know it is an e-mail account that       19   defendant writing these e-mails and talking about all his
 20    is registered to the defendant, or at least somebody with        20   properties.
 21    the same name and address as the defendant.                      21               And we submit the defendant is bragging about
 22               What does 200-A say? That was introduced by           22   everything he does and all of his business opportunities
 23    Mr. Egan. Cablevision provided these records in response         23   and homes in the Hamptons and Smithtown and Montauk. He's
 24    to a subpoena from the Government.                               24   bragging.
 25               200-A says: Information for an e-mail address         25               Why is he bragging? Because he wants those
                            Owen M. Wicker, RPR                                                   Owen M. Wicker, RPR
                          Official Court Reporter                                                Official Court Reporter
                       Plaintiff's Closing Argument                                           Plaintiff's Closing Argument
                                                                965                                                                 967
  1                                                                      1   videos with          He wants to impress Kalichenko
  2               Who is the subscriber? Joe Valerio.                    2   because he's going to keep her tethered. And he'll send
  3               What is his address?                                   3   her money, and she'll make videos, and he'll ask for more.
  4    Smithtown, New York.                                              4   He even says: It can easily be sent to my e-mail address
  5               There's even a phone number.                           5   after filming.
  6               This was a Cablevision subscriber from August          6               Now, again, these are all more e-mails showing
  7    23, 2002, to March 19, 2014, about 12 years. And you also         7   that the defendant lives in the United States, not abroad.
  8    heard that thousands of dollars were paid to maintain this        8   He's asking her in Government's Exhibit 210 -- telling
  9    account over that 12-year period.                                 9   her, when you arrive in the US -- right? He knows she's
 10               Now, if there is any doubt that this is the           10   abroad too. Because when you arrive back in Istanbul,
 11    defendant's e-mail address, you also saw records from            11   Turkey. Sending her money from New York to Turkey, to
 12    Western Union where each of the transactions -- that the         12   Ukraine.
 13    Western Union records say that the person with the same          13               He says: Where do you want the money wired to?
 14    exact name, home address, telephone number and e-mail            14   When you are back home in the Ukraine?
 15    address sent over $12,000 to someone named Olena                 15               Now, that brings us back to Government's
 16    Kalichenko in Ukraine and sometimes in Turkey. These are         16   Exhibit 205. This is the July 16, 2012, e-mail.
 17    all                                                              17   Midsummer 2012.
 18               Why? Because the defendant asked for videos,          18               Now, July 16th and July 22, 2012, they are all
 19    paid money for the videos, got videos and asked for more.        19   contained within Government's Exhibit 205. They are both
 20               Now, how else do you know that it is the              20   separately charged as attempts.
 21    defendant sending e-mails?                                       21               You heard from Special Agent Steven Troyd of the
 22               This is an e-mail from Joe Valerio to Elena           22   FBI that the defendant confessed to sending both of these
 23    Kalichenko dated July 3, 2012. What do they talk about?          23   e-mails when they met with him in his house. Not only did
 24               He says he has a family time-share at Gurney's        24   the defendant confess to sending those 2-E-mails in July
 25    out in Long Island; that he was in Brighton Beach; that          25   of 2012, but Detective Rory Forrestal conducted forensic
                            Owen M. Wicker, RPR                                                   Owen M. Wicker, RPR
                          Official Court Reporter                                                Official Court Reporter
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                                                                     GA046
                     Plaintiff's Closing Argument                                         Plaintiff's Closing Argument
                                                            984                                                                    986
  1              Now, how do we know that the defendant agreed          1   whether he knowingly had a visual depiction of a minor
  2    with Kalichenko?                                                 2   engaged in sexually explicit conduct shipped or
  3              Well, even though the Government doesn't have to       3   transported in interstate or foreign commerce. Right.
  4    show that the defendant agreed to anything in writing, we        4              And how do we know that he knew that sexually
  5    have writings, we have the e-mails, the dozens of e-mails        5   explicit videos of     would be transported? He asked
  6    that the defendant sent to Kalichenko, right?                    6   for them. And he knew that          was a minor. He wanted
  7              We also have Government's Exhibit 214, April 12,       7   very specific sex acts to be performed on her, and that's
  8    2012, e-mail.                       What does he say?            8   what he got. Got them all sent straight to his inbox via
  9               He says: Remember my words. You will need to          9   the internet.
 10    do all I ask you in video with  when you are with               10             Receipt of child pornography. This is the same
 11    her. This unique situation separates you from the rest I        11   analysis as transportation but instead focuses whether the
 12    have here.                                                      12   defendant received it, knowingly received child
 13            What does he say in capital letters? "Do you            13   pornography images.
 14    now understand what I'm telling you?"                           14           You know that he did. It's undisputed that
 15             How does he end the e-mail? "Do we understand          15   there were child pornography videos on his computer, sent
 16    each other?"                                                    16   to him by Kalichenko in response to his e-mail, the videos
 17             What does she write back to him? What does             17   he paid for. This is the same analysis as I've already
 18    Kalichenko say in her April 12th reply from the same day?       18   discussed.
 19             Yes, Joseph, we do understand each other.              19           And how do you know that he possessed it?
 20    Delivering new videos of         the exact way you request.     20   Again, he asked for it; he got it; paid for it. It was
 21              Right, that's the agreement. If there was any         21   all on the computer, and it was on the defendant's one on
 22    doubt that there is an agreement, there's proof,                22   January 28, 2014, the day of the first search warrant.
 23    Government's Exhibit 214, which is in evidence.                 23   That's when the computer was taken. That's what the
 24             Oh, and by the way, that same day the defendant        24   indictment says as the date that the defendant possessed
 25    sent her money. So if there was any doubt -- again, do we       25   the child pornography involving both of the young girls.
                         Owen M. Wicker, RPR                                                   Owen M. Wicker, RPR
                        Official Court Reporter                                               Official Court Reporter
                     Plaintiff's Closing Argument                                         Plaintiff's Closing Argument
                                                        985                                                                    987
  1    have an agreement? I understand exactly what you are             1           Now, in conclusion. Based on all the evidence,
  2    saying. And by the way, here's the money.                        2   the Government submits to you it has proven the defendant
  3              How else do we know that the defendant conspired       3   guilty beyond a reasonable doubt on all of the charges.
  4    with Kalichenko? Because she actually sends him the              4             We want to thank you for your patience and
  5    videos, right, just as he demands it.                            5   attention during these last two weeks. I realize that
  6              She didn't say, get lost. She says, here's the         6   this has not been an easy trial, and it certainly is not
  7    videos just like you asked for.                                  7   an easy trial to be selected as jurors on.
  8             When he got the videos, again, what did he do?          8            You've been asked to hear some deeply disturbing
  9             We all know what he did. He asks for more, and          9   e-mails and language and see some even more disturbing
 10    he paid her.                                                    10   videos and images.
 11             We've also discussed attempts. There's eight           11            So, again, we want to thank you for your
 12    separate attempts, all linked to specific e-mails that the      12   service.
 13    defendant sent to Kalichenko. They are all very specific,       13             We've gone through all of the evidence. The
 14    and they are all in evidence, and we reviewed all of them       14   case and the facts are clear.
 15    today. But needless to say, they speak loudly and clearly       15             You were selected as jurors because of your
 16    what the defendant intends.                                     16   willingness to consider all of the evidence, to scrutinize
 17              Transportation of child pornography, Count 4 of       17   it, to hold the Government to its burden. As you begin
 18    the indictment. And again, the indictment is just a             18   your deliberations, we ask that you use your reason and
 19    charge. The defendant is charged with transporting child        19   your common sense, that same common sense that guides you
 20    pornography.                                                    20   every single day of your lives.
 21              The Government can meet its burden of                 21             When you listen to the law that the Judge
 22    establishing this charge by showing that the defendant          22   explains and you use your common sense as it applies to
 23    aided and abetted in the transportation of child                23   the facts, we believe that you will see that there's only
 24    pornography.                                                    24   one reasonable conclusion that can be drawn from the
 25              In essence, you are required to determine             25   evidence, that is, that the defendant is guilty on each
                         Owen M. Wicker, RPR                                                   Owen M. Wicker, RPR
                        Official Court Reporter                                               Official Court Reporter
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                                                              GA047
                                                              1068                                                            1070
  1    notes. I was going start to put my Rule 29 ruling on the      1    they were his. They could rationally find e-mails were
  2    record. I may finish that tomorrow.                           2    sent to him, to Ms. Kalichenko and that the child
  3              (Pause)                                             3    pornography involving            was received by him. They
  4              THE COURT: I will put at least part of the          4    could similarly conclude based upon that evidence that as
  5    Court's ruling on the record. If I don't finish in the        5    was noted by the government in the summation, specific
  6    next 15 minutes or so, I will complete it tomorrow while      6    e-mail conspiracy issues, that there is an agreement
  7    the jury is deliberating.                                     7    between Kalichenko and the defendant that she would
  8              As I said before, I am denying the Rule 29          8    exploit, sexually exploit,        in videotapes sent to
  9    motion by the defense and I want to state the reasons for     9    the defendant in exchange for money.
 10    that now.                                                     10             The jury can also rationally find based on
 11              First, with respect to the motion, the standard     11   e-mails and other evidence in the case that by paying for
 12    is well settled for Rule 29 the Court should grant the        12   the videos and providing the script for the videos that he
 13    motion if it concludes that no rational trier of fact will    13   aided and abetted the exploitation of          in the
 14    find the defendant guilt beyond a reasonable doubt based      14   Ukraine outside the United States. The issue obviously
 15    on the evidence presented at the trial. It's in the rule      15   that was raised by the defense with respect to whether or
 16    itself as well as United States v. Jackson, 335 F. 3d,        16   not the videos were preexisting, again, if the evidence is
 17    170, page 180, Second Circuit 2003. And the standard for      17   construed most favorably to the government in terms of
 18    evaluating that conviction must be upheld under Rule 29 or    18   what was being requested in the e-mails, what was received
 19    allowed to go to the jury after viewing the evidence in       19   back in those e-mails in therms of the videos, the timing
 20    the light most favorable to the government and drawing all    20   of the videos, all the evidence, the circumstantial
 21    reasonable inferences in its favor, any rationale trier of    21   evidence viewed most favorably to the government can
 22    fact could have found the essential element of the crime      22   support a rational finding those videos were not
 23    beyond a reasonable doubt; United States v. Medina, 944 F.    23   preexisting but were made only after the defendant made
 24    2d, 60, page 66, Second Circuit 1991.                         24   the request for the videos to be produced.
 25              Quoting in Supreme Court:                           25             In terms of the charge involving the niece, the
                        Stephanie Picozzi, CRR, RPR                                       Stephanie Picozzi, CRR, RPR
                          Official Court Reporter                                           Official Court Reporter
                                                              1069                                                              1071
  1               In analyzing the efforts, the Second Circuit       1    jury could rationally find based upon the location of the
  2    emphasizes, pieces of evidence must be viewed not in          2    images and the control over the house, the camera and the
  3    isolation but in conjunction and the jury's verdict may be    3    other circumstantial evidence presented with respect to
  4    based on circumstantial evidence; United States v.            4    that, the circumstance surrounding the image, the
  5    D'Amato, 39 F.3d, 1249, at page 1256, Second Circuit 1954.    5    testimony of the sister, not the images themselves but
  6    And also Second Circuit emphasized, credibility of            6    defendant's involvement for filming the daughter for
  7    witnesses with the jury rather than the Court to              7    modeling purposes, if all that circumstantial evidence is
  8    determine; United States v. Strauss, 999, F.2d 692, page      8    taken together, the jury viewed those favorably to the
  9    696, Second Circuit 1993.                                     9    government, the jury can certainly rationally find Mr.
 10               That is the standard the Court has applied here    10   Valerio sexually exploited his niece and produced the
 11    and concludes that for each of the counts of the              11   images found on the SD card and adduced the niece to
 12    indictment, there is more than sufficient evidence for the    12   engage in sexually-explicit conduct and can rationally
 13    jury, if the government's evidence is credited and all        13   find in the government's favor on that count as well.
 14    reasonable inferences are drawn in favor of the government    14             I want to focus more particular on Mr. Lato's
 15    from that evidence, to rationally convict the defendant on    15   specific argument as relates to whether or not there is
 16    each and every count of the indictment.                       16   sufficient proof for each of the attempt counts
 17               I won't go through all the details of the          17   constituting an attempt and whether or not those counts
 18    evidence. In summary, the two searches of the defendant's     18   are multiplicitous of a sexual exploitation count which I
 19    home, including the SD card in the computer hard drive,       19   understand is your argument.
 20    the Western Union records, the e-mails and defendant's        20             MR. LATO: Yes, your Honor.
 21    statements to law enforcement in terms of the major           21             THE COURT: First I want to focus on whether or
 22    categories of proof that the government offered are           22   not there is sufficient proof of attempt, sufficient proof
 23    sufficient if the jury credits that evidence for the jury     23   on each charge for there to be attempt as that is defined
 24    to rationally find that the defendant possessed child         24   under the law.
 25    pornography on his computer and on the SD card and that       25             And I spent some time yesterday going through
                        Stephanie Picozzi, CRR, RPR                                       Stephanie Picozzi, CRR, RPR
                           Official Court Reporter                                           Official Court Reporter
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                                               GA048




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                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF NEW YORK

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                    UNITED STATES OF AMERICA,                   :     14 CR 0094

                              v.                                :     U.S. Courthouse
                                                                      Central Islip, N.Y.
                    JOSEPH VALERIO,                             :
                                                                      TRANSCRIPT OF TRIAL
                                        Defendant.              :
                                                                      November 13, 2014
                    -------------------------------X                  9:30 a.m.

                    BEFORE:

                                   HONORABLE JOSEPH F. BIANCO, U.S.D.J.
                                              and a jury


                    APPEARANCES:

                    For the Government:       LORETTA E. LYNCH
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                    Proceedings recorded by mechanical stenography.
                    Transcript produced by computer-assisted transcription.




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                                                                    GA049
                              Jury Charge                                                               Jury Charge
                                                          1084                                                                           1086
  1               Count Two of the indictment reads as follows:             1    visual depiction of such conduct shall be guilty of a
  2               Reading from the indictment.                              2    crime if such person knows or has reason to know that such
  3               On or about and between April 1, 2012, and                3    visual depiction will be transported or transmitted, in or
  4    November 1, 2012, both dates being approximate and                   4    affecting interstate or foreign commerce or mailed, if
  5    inclusive, within the Eastern District of New York and               5    that visual depiction was produced or transmitted using
  6    elsewhere, the defendant Joseph Valerio, together with               6    materials that have been mailed, shipped or transported in
  7    others did knowingly and intentionally, employ, use,                 7    or affecting interstate or foreign commerce by any means,
  8    persuade, induce, entice and coerce a minor, to wit, Jane            8    including by computer, or if such visual depiction has
  9    Doe #1 to engage in sexually explicit conduct for the                9    actually been transported or transmitted in or affecting
 10    purpose of producing one or more visual depictions of such          10    interstate or foreign commerce or mailed, end quote.
 11    conduct, knowing and having reason to know that such                11             I'll move to the elements of the offense.
 12    visual depictions would be transported and transmitted              12             In order to prove the defendant guilty of
 13    using a means and facility of interstate and foreign                13    sexually exploiting a child the Government must prove each
 14    commerce and which were in and affecting interstate and             14    of the following three elements beyond a reasonable doubt.
 15    foreign commence which visual depictions were produced and          15             First: That the individual with the initials
 16    transmitted using materials that had been mailed, shipped           16    who is identified as Jane Doe #1 in Count Two of the
 17    and transported in and affecting interstate and foreign             17    indictment and the individual with the initials    who is
 18    commerce by any means, to wit, one or more mobile                   18    identified as Jane Doe #2 in Count 14 of the indictment,
 19    telephones, digital cameras and digital media disks, and            19    were under the age of 18 when the visual depictions were
 20    such visual depictions were actually transported and                20    made;
 21    transmitted using a means and facility of interstate and            21             Second: That the defendant used or employed or
 22    foreign commerce and which were in and affecting                    22    persuaded or induced or enticed or coerced        and      to
 23    interstate and foreign commerce.                                    23    take part in sexually explicit conduct for the purpose of
 24               Count Fourteen of the indictment reads as                24    producing or transmitting a visual depiction of that
 25    follows:                                                            25    conduct, and.
                              Jury Charge                                                               Jury Charge
                                                          1085                                                                           1087
  1               On or about and between September 10, 2010 and            1             Third: That the visual depiction was mailed or
  2    January 19, 2011, both dates being approximate and                   2    actually transported or transmitted in or affecting
  3    inclusive, within the Eastern District of New York and               3    interstate or foreign commerce or that the defendant knew
  4    elsewhere, the defendant Joseph Valerio did knowingly and            4    or had reason to know that the visual depiction would be
  5    intentionally employ, use, persuade, induce, entice and              5    mailed or transported or transmitted in or affecting
  6    coerce a minor, to wit, Jane Doe #2, an individual whose             6    interstate or foreign commerce or that the visual
  7    identity is known to the grand jury, to engage in sexually           7    depiction was produced using materials that had been
  8    explicit conduct, for the purpose of producing one or more           8    mailed or transported in or affecting interstate or
  9    visual depictions of such conduct which visual depictions            9    foreign commerce. I will explain each of the elements in
 10    were produced and transmitted using materials that had              10    more detail.
 11    been mailed, shipped and transported in and affecting               11             First element of sexual exploitation of a child:
 12    interstate and foreign commerce by any means, to with: One          12    Age of minor.
 13    or more digital cameras, memory cards and computer                  13             The first element of Count Two that the
 14    equipment, and such visual depictions were actually                 14    Government must prove beyond a reasonable doubt is that
 15    transported and transmitted using a means and facility of           15    was less than 18 years of age at the time of the acts
 16    interstate and foreign commerce and which were in and               16    alleged in the indictment. And with respect to Count
 17    affecting interstate and foreign commerce.                          17    Fourteen, the Government must prove beyond a reasonable
 18               Counts Two and Fourteen of the indictment charge         18    doubt that      was less than 18 years old at the time of
 19    the defendant with violating section 2251(a) of Title 18            19    the acts alleged in the indictment.
 20    of the United States Code. That section provides in                 20             Second element of sexual exploitation of a
 21    relevant part, now quoting from the statute, any person             21    child: Visual depiction of sexually explicit conduct.
 22    would employs, uses, persuades, induces, entices or                 22             The second element of Count 2 that the
 23    coerces any minor to engage in any sexually explicit                23    Government must prove beyond a reasonable doubt that the
 24    conduct for the purpose of producing any visual depiction           24    defendant, together with others, used or employed or
 25    of such conduct or for the purpose of transmitting a live           25    persuaded or induced or enticed or coerced        to take part
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                                                                    GA050
                            Jury Charge                                                                  Jury Charge
                                                           1088                                                                          1090
 1   in sexually explicit conduct for the purpose of producing             1    depiction which displays or brings to view to attract
 2   or transmitting a visual depiction of that conduct.                   2    notice to the genitals or pubic area of children in order
 3            As I will explain in greater detail in a few                 3    to excite lustfulness or sexual stimulation in the viewer.
 4   moments, the Government can meet its burden of proof on               4    Not every exposure of the genital or pubic area
 5   Count 2 by proving that the defendant did the acts charged            5    constitutes a lascivious exhibition. You should consider
 6   himself, or by proving that he aided and abetted another              6    the following questions:
 7   person to sexually exploit                                            7                A. Whether the focal point of the visual
 8            As to Count 14 the Government must prove beyond              8    depiction is on the child's genitals or pubic area or
 9   a reasonable doubt that the defendant used or employed or             9    whether there is some other focal area;
10   persuaded or induced or enticed or coerced         to take part      10                B. Whether the setting of the visual depiction
11   in sexually explicit conduct for the purpose of producing            11    makes it appears to be sexually suggestive, for example,
12   or transmitting a visual depiction of that conduct.                  12    in a place or pose generally associated with sexual
13            The words "used" and "employed" are words of                13    activity;
14   common usage, and I instruct you to interpret these words            14                C. Whether the child is displayed in an
15   by using your common sense. The words persuade, induce               15    unnatural pose, or in inappropriate attire, considering
16   and entice are in effect synonyms, which convey the idea             16    the age of the child;
17   of leading or moving another by persuasion or influence,             17                D. Whether the child is fully or partially
18   as to some action, state of mind, etc., or to bring about,           18    clothed, or nude, although nudity is not in and of itself
19   produce or cause.                                                    19    lascivious;
20            The word "induce" also means to stimulate the               20                E. Whether the visual depiction suggests sexual
21   occurrence of or cause.                                              21    coyness or a willingness to engage in sexual activity.
22            The word "coerce" means to compel by force,                 22                F. Whether the visual depiction is intended or
23   intimidation or authority, without regard for individual             23    designed to elicit a sexual response in the viewer.
24   desire or volition.                                                  24                Of course in order for a visual depiction to be
25            The word "producing" in this context means                  25    lascivious all six factors need to the to be present and
                            Jury Charge                                                                  Jury Charge
                                                           1089                                                                          1091
 1   producing, directing, manufacturing, issuing, publishing,             1    the list of factors is not mandatory, exclusive or
 2   or advertising.                                                       2    exhaustive. Instead, you must determine whether the
 3            A "visual depiction" includes any photograph,                3    visual depiction is lascivious based on its overall
 4   film, video or picture, including undeveloped film and                4    content, taking into account the age of the minor. It is
 5   videotape, and data stored on computer disk or by                     5    for you to decide the weight or lack of weight to be given
 6   electronic means which is capable of conversion into a                6    to these or any other factors you find relevant.
 7   visual image.                                                         7                In deciding whether the Government has proven
 8            A "visual depiction" includes videos and images              8    that the defendant acted for the purpose of producing or
 9   transmitted via live web cam even where such images are               9    transmitting a visual depiction of the sexually explicit
10   not stored permanently.                                              10    conduct, you may consider all of the evidence concerning
11            You may consider all of the evidence concerning             11    his conduct. While the Government must prove that he
12   the defendant's conduct when deciding whether the                    12    acted with the purpose of producing a visual depiction of
13   Government has proven that the defendant acted for the               13    sexually explicit conduct, it is not required that the
14   purpose of producing or transmitting a visual depiction of           14    Government prove that the visual depiction of that conduct
15   the sexually explicit conduct, or aiding and abetting                15    was actually produced.
16   another person to do so, as the case may be for Count 2.             16                The third element of sexual exploitation of a
17            Definition of sexually explicit.                            17    child: Effect on interstate commerce.
18            Sexual explicit conduct means actual or                     18                The third element of sexual exploitation of a
19   simulated sexual intercourse, including genital-genital,             19    child that the Government must prove beyond a reasonable
20   oral-genital, digital-genital, anal-genital, or oral-anal,           20    doubt is that the visual depiction was transported or
21   whether between persons of the same or opposite sex;                 21    transmitted in or affecting interstate or foreign commerce
22   bestiality; masturbation; sadistic; or masochistic abuse             22    or using a facility of interstate and foreign commerce or
23   or lascivious exhibition or the genitals or pubic area of            23    that the defendant knew or had reason to know that the
24   any person.                                                          24    visual depiction would be mailed or transported in or
25            The term "lascivious exhibition" means a                    25    affecting interstate or foreign commerce, or that the
                                                             Page 1088 to 1091 of 1256                                                   4 of 77 sheets
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                                                                        GA051
                               Jury Charge                                                                   Jury Charge
                                                             1092                                                                             1094
  1    visual depiction was produced using materials that had                   1    and mail.
  2    been mailed, shipped and transported in and affecting                    2               Count 3 of the indictment charges the defendant
  3    interstate and foreign commerce.                                         3    with violating section 2251(c) of Title 18 of the United
  4                Simply stated, the phrase "transported or                    4    States Code. That section provides in relevant part,
  5    transmitted in or affecting interstate or foreign                        5    quoting the statute.
  6    commerce" means that the materials used to produce the                   6               Any persons who employs, uses, persuades,
  7    visual depiction had previously moved from one state to                  7    induces, entices or coerces any minor to engage in or who
  8    another or between the United States and another country.                8    has a minor assist any other person to engage in, any
  9                I instruct you that transmissions of photographs             9    sexually explicit conduct outside the United States, its
 10    or video by means of the internet constitutes                           10    territories or possessions for the purpose of producing
 11    transportation in interstate commerce. However, you must                11    any visual depiction of such conduct, intending such
 12    find beyond a reasonable doubt that the specific depiction              12    visual depiction to be transported to the United States,
 13    in question was actually transmitted by means of the                    13    its territories or possessions, by any means, including by
 14    internet, or that the defendant knew or had reason to know              14    using any means or facility of interstate or foreign
 15    that the visual depiction would be transmitted by the                   15    commerce or mail, or transporting such visual depiction to
 16    internet.                                                               16    the United States, its territories or possessions, by any
 17                Additionally, if a visual depiction of sexually             17    means, including by using any means or facility of
 18    explicit conduct as I have defined that term, is stored on              18    interstate or foreign commerce or mail shall be guilty of
 19    a digital camera, other type of recording device or                     19    a crime.
 20    digital media disk, and the camera, recording device or                 20               In order to prove the defendant guilty of
 21    digital media disk crosses from one state to another, that              21    sexually exploiting a child, the Government must prove
 22    is sufficient to satisfy the interstate commerce element.               22    each of the follow four elements beyond a reasonable
 23                Furthermore, it is sufficient to satisfy the                23    doubt.
 24    interstate or foreign commerce element if the visual                    24               First that the individual with the initials
 25    depiction of sexually explicit conduct is recorded or                   25    who was identified in the indictment as Jane Doe #1 was
                               Jury Charge                                                                   Jury Charge
                                                             1093                                                                             1095
  1    stored on a device that was made either outside of the                   1    under the age of 18 years at the time of the acts alleged
  2    State of New York or in a foreign country.                               2    in the indictment.
  3                I'm now moving to Count 3. Sexual exploitation               3               Second, that the defendant, together with other
  4    of a child outside the United States.                                    4    person, either employed, used, persuaded, induced,
  5                Count 3 of the indictment charges the defendant              5    enticed, or coerced         to engage in sexually explicit
  6    with sexual exploitation of a child, namely Jane Doe #1,                 6    conduct outside the United States, its territories or
  7    occurring outside of the United States.                                  7    possessions as I've already defined those materials to
  8                Count 3 of the indictment reads as follows.                  8    you, or (b), had        assist another person or persons to
  9                Reading from the indictment.                                 9    engage in sexually explicit conduct outside the United
 10                On or about and between April 1, 2012, and                  10    States, its territories, or possessions;
 11    November 1, 2012, both dates being approximate and                      11               Third, that the defendant did so for the purpose
 12    inclusive, within the Eastern District of it New York and               12    of producing a visual depiction of such conduct, as I have
 13    elsewhere, the defendant Joseph Valerio together with                   13    already defined the term "visual depiction" and;
 14    others, did knowingly and intentionally employ, use,                    14               Fourth, that the defendant, (a) intended such
 15    persuade, induce, entice, and coerce a minor, to wit, Jane              15    visual depiction to be transported to the United States,
 16    Doe #1 to engage in sexually explicit conduct outside of                16    its territories, or possessions by any means, including by
 17    the United States, its territories and possessions, for                 17    using mail or by any means or facility of interstate or
 18    the purpose of producing one or more visual depictions of               18    foreign commerce or (b) the defendant did transport or
 19    such conduct intending that such visual depictions would                19    aided and abetted another person in transporting such
 20    be transmitted and transmitted to the United States, its                20    visual depiction to the United States, its territories or
 21    territories and possessions, using a means and facility of              21    possessions by any means, including by using mail or any
 22    interstate and foreign commerce and mail, and which visual              22    means of facility of interstate or foreign commerce, as I
 23    depictions were actually transported and transmitted to                 23    have already defined those terms for you.
 24    the United States, its territories and possessions, using               24               As I mentioned earlier and as I will explain in
 25    a means and facility of interstate and foreign commerce                 25    greater detail momentarily, the Government can meet its
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                                                                     GA052
                             Jury Charge                                                                Jury Charge
                                                           1096                                                                         1098
 1   burden of proof on Count 3 by proving that the defendant               1    is the intentionally and knowing participation in the
 2   did the acts charged himself, or by proving that he aided              2    unlawful act by furthering it in some way.
 3   and abetted another person to carry out such acts.                     3              Before you can convict a defendant on the ground
 4               If you find from your consideration of all the             4    that he aided and abetted the commission of the crimes
 5   evidence that the Government as proved each of these                   5    charged, you must first find beyond a reasonable doubt
 6   elements beyond a reasonable doubt as to Count 3, then you             6    that another person committed that crime.
 7   should find the defendant guilty of that charge.                       7              In order to aid or abet another to commit a
 8               If, on the other hand, you find from your                  8    crime, it is necessary that the defendant willfully and
 9   consideration of all the evidence that the Government has              9    knowingly associate himself in some way with the criminal
10   failed to prove any one of these elements beyond a                    10    venture, that he participate in it out of a desire to make
11   reasonable doubt as to Count 3, then you should find the              11    the crime succeed, that is, a defendant must have the
12   defendant not guilty of that charge.                                  12    specific intent of furthering the criminal offense through
13               I will now give you an instruction regarding              13    some action on his part.
14   aiding and abetting.                                                  14              The mere presence of a defendant where a crime
15               With respect to certain counts in the                     15    is being committed, even coupled with knowledge that a
16   indictment, I instruct you that the Government can meet               16    crime is being committed or the mere acquiescence by the
17   its burden of proof either by proving that the defendant              17    defendant in the criminal conduct of others, even with
18   did the acts charged himself or by proving that he aided              18    guilty knowledge, is not sufficient to establish aiding
19   and abetted another person in carrying out the acts                   19    and abetting. An aider and abetter must have some
20   charged: those counts are Counts 2 and 3, charging the                20    interest in the criminal venture. That interest need not
21   defendant with sexual exploitation of a child; Count 4,               21    be a financial one, but you may consider the presence or
22   charging the defendant with transportation of child                   22    absence of a financial interest in making your
23   pornography; and Count 5, charging the defendant with                 23    determination.
24   receipt of child pornography.                                         24              In other words, if one, fully aware of what he
25               I have already instructed you on Counts 2 and 3           25    is doing, plays a significant role in facilitating a
                             Jury Charge                                                                Jury Charge
                                                           1097                                                                         1099
 1   and I will instruct you on Counts 4 and 5 in a moment.                 1    transaction prohibited by law, he is equally guilty with
 2               Let me now take time now to explain to you the             2    the person who directly performs the illegal acts, even
 3   law concerning aiding and abetting.                                    3    though the latter played a much greater or major part in
 4               The Government is relying on aiding and abetting           4    the preparation of the crime.
 5   under section 2(a) of Title 18 of the United States Code               5              To determine whether the defendant aided and
 6   which provides that, reading from the statute, whoever                 6    abetted the commission of the crime charged, ask
 7   commits an offense against the United States or aids,                  7    yourselves these questions.
 8   abets, counsels, commands, induces or procures its                     8              Did he participate in the crime charged as
 9   commission, is punishable as a principal, end of quote.                9    something he wished to bring about?
10               Accordingly, even if the defendant did not                10              Did he associate himself with the criminal
11   personally do every act constituting an offense you may               11    venture knowingly and willfully?
12   find that he committed that offense if the Government                 12              Did he seek by his actions to make the criminal
13   proves beyond a reasonable doubt that he aided and abetted            13    venture succeed?
14   the offense. This means that if you find that the                     14              If your answer to each of these questions is
15   defendant knowingly and willfully aided and abetted                   15    "yes" then the defendant is an aider and abettor and
16   another person in the commission of a crime, he is as                 16    therefore guilty of the crime charged just as if he
17   guilt as if he personally committed it.                               17    himself had actually committed it.
18               Under the aiding and abetting statute, it is not          18              If on the other hand your answer as to any of
19   necessary for the Government to show that a defendant                 19    these questions is "no," then the defendant is not an
20   himself physically committed the crime with which he is               20    aider and abettor under 18 USC section 2(a), and you must
21   charged in order for the Government to sustain its burden             21    find him guilty of the crime under consideration as an
22   of proof.                                                             22    aider and abettor under section 2(a).
23               A person who aids or abets another to commit an           23              I'm now moving to Counts 6, 7, 8, 9, 10, 11, 12,
24   offense is just as guilty of that offense as if he                    24    and 13: Attempted sexual exploitation of a child.
25   committed it himself. The essence of aiding and abetting              25              I will now explain to you the law that applies
                                                              Page 1096 to 1099 of 1256                                                 6 of 77 sheets
                            Case 17-2371, Document 62, 06/04/2018, 2317602, Page151 of 205
                                                        GA053
Kabrawala, Ameet (USANYE)




From:                                           JOSEPH VALERIO <                                                  >
Sent:                                           Monday, January 23, 2012 3:13 PM
To:                                             elena kalichenko                                       GOVERNMENT
                                                                                                         EXHIBIT
Subject:                                        Fw: your mail                                              558
                                                                                                      14 CR 94 (JFB)


 REMEMBER" im a busy man and im OUT! half the time...cell phone correspondences are better for me!
Helena listen now!, I want to know from you where you are able to send email out at 9:45pm! ...then I want to
know what keeps YOU at that internet place ALL day till dark! when I " WARNED" you not to write to others on
my dime $ at my cost!...thirdly" how is it that my texting goes through to Valeria in Rome and Julia in Russsia
and NOT YOU?? and you dont receive mine??, maybe it means something for YOU"! not me because you
know who I have in my live you know who's coming...and going, as I will have more in between..till my day. So
if your going to work at an agency then you can send me some profiles and work on getting me a girl here
as well"...just for the time being to visit and then go back. Julia is getting much too serious in her words" - so
I'll have to soften her up when she comes..so she's not broken hearted..but she wants it! regardless". I know
you much longer so DONT worry! I see how hard you are trying and that means alot to me, I will say yes to
the visa process! but you have more to prove to me in this time and more video! I would like to start either
application, of course whichever is the fastest and most complete!.. the cost for me whether it works or not is
no problem!, even if we have a change of heart or plans.I have plans for you over here..seeing how sexually
charged YOU are in those videos..with              .I can do alot with YOU! and you will both listen...its very nice!
My mouth waters and my cock is hard for this!. We will have ample time ahead so yu will need to follow these
steps below, as I will go ahead with ONE of the visa applications this week..just to make sure you are "Still
worthy" of this great decision on my part to change your "lives" and take care of you both. You will follow
these steps: 1. You show me where you sleep on that couch by cell video, before you go to sleep...I want to
see the sheets your pillow and blanket there. Then you say goodnight by showing me your tits!! then you go to
sleep or have            next to you...held closely! with your tits in her mouth! each night before bed!..this is your
way of saying goodnight to your Master" 2. You ONLY" GO! to the Internet place monday, wednesday, friday! -
when your there" you start with an email to me, and when you leave" - BEFORE DARK! you send me one
when you leave! You will also send me your "SKYPE" contacts...of course if there is nothing to hide" you show! -
I promise NOT to contact those FEMALE friends. If its a MALE friend!..then OUR" contact will be OVER!. Female
friends of yours - No problem" anyone else" BIG PROBLEM! - you show me! 3. If you go to work? I need the
name of the company and the people who employ you there. At the first chance you have excess to the Data
base of women...WHO ARE ONLY" INTERESTED IN COMING TO NY" you then send me the beautiful Blondes
who are 18 - 26 years of age...who are CLEAN", nice figure! - WHO WANT TO COME TO NY ONLY!. Lets work
on getting some here for our business as well - we'll take care of them" there are plenty of homes and places
for them to stay...im the head man here, for whom they will meet first. 4. The videos are getting more and
more creative by YOU" with              and how you incorparate the toys in the&nbp videos are very creative. Here
in America" BREAST FEEDING" or JUST BABY SUCKING ON TITS" is very popular!...So you keep up the good
work eachday and experiment more with YOUR TITS" with                     and try to keep her in between your
legs"..as SHE plays with HER toys" by your PUSSY. Im sure just the FEEL" of those toys she plays
with"...JUST TOUCHES YOUR PUSSY! - AND IM SURE YOU WILL CUM ( Just keep her secure on the floor or
couch - "Playing in between your legs - NAKED!" she is bound to TOUCH YOUR PUSSY if YOU PUT THE
TOYS BETWEEN YOUR STOMACH AND PUSSY"... Today I will send out some money! BECAUSE YOU
KNOW WHO IS TAKING CARE OF YOU!!. So follow my steps and obey my orders above" and beyond"! - If you
disagree to ANY of these steps! THEN THAT MEANS YOU ARE NOT WORTHY OF MY HONOR" TO
PROCEED WITH THE FIANCEE VISA". Good work so far and I would like to continue this relationship till then
if there are NO disagreements to the steps above then I will proceed...in the meantime" YOU STAY SAFE
AND CLEAN AWAY FROM TROUBLE" believe me I will find out and I when I do..,, THERE WILL BE TOTAL
SILENCE ON MY PART"...THATS WHEN YOU KNOW ITS OVER. So lets get to work"...

Joseph, I came to check an email from you but dint see anything. I sent you 6 vidoes today, hope you got them, I am -10
hrn now on my cell phone, every time I am sending you videos from my cell phone I usually spend $7-$8 a day so of
course I am out of cash now. Lets move forward with a fiancee visa, ok. We need you, Joseph!!!!!!We spent lots of time
and energy on building these relations, I want to keep them!
                                                           1
                     Case 17-2371, Document 62, 06/04/2018, 2317602, Page152 of 205
                                                          GA054
I will stay here for 30-40 mins to check an answer from you then I will go home, ok.

Kiss you
Helena


23 января 2012, 00:30 от JOSEPH VALERIO <             >:
  YOU SEE BIITCH 9:45 PM STILL AT THE INTERNET PLACE!! ...HOW IS THAT POSSIBLE??! THAT" WAS
ANOTHER THING I WARNED YOU ABOUT BITCH!...BUT YOUR STILL THERE CHECKING YOUR MAIL
FROM OTHER PROSPECTS....WITH MY MONEY YOU BITCH!...THEN YOU CRY TO ME THAT YOU HAVE
NO MORE MONEY!!! BUT YOUR SITTING THERE AT MY COST TO WRITE TO OTHER DICKS! ...AS YOUR
BACK UP!! - I'D HAVE YOUR FUCKING HEAD! IF EVER CAUGHT YOU HERE! SO BEST YOU STAY AWAY
FOR GOOD!!. FUNNY BITCH" HOW IM ABLE TO TEXT MY VAL AND JULIA"...WITH NO PROBLEM!! I THINK
ITS A SIGN BITCH!..YOUR A TROUBLED INDIVIDUAL! AND HERE", IF YOU WERE EVER TO CAUSE ANY
TROUBLE...YOU'D BE FINISHED! FOUND A JOB? LISTEN BITCH " THEN GO TO WORK!!...AND SUPPORT
YOUR PATHETIC LIFE AND YOUR FAMILY!! AND GET OUTTA MY LIFE!...SEND ME SOME PROFILES AND
GET A ME ANOTHER PUSSY" HERE! AND YOU WILL GET PAID!! BUT IT'S ALL BULLSHIT! FROM YOU
AND THIS SO" CALLED JOB AT A DATING AGENCY! - THEN TAKE THE JOB BITCH AND GET ON WITH
IT!, NO NEED TO TELL ME ONE THING IN A LETTER...THEN TELL ME ANOTHER THING IN A TEXT
MESG... YOU THINK YOUR DEALING WITH A MINDLESS MAN??! - IM AT GENIUS LEVEL! ...BRILLIANT,
STRONG, HANDSOME, ARTIST, ATHLETIC - ITS WAY" PAST YOUR LEVEL! I MAY BE SOME WIZARD! , AND
YOU JUST INDICATED THAT YOU DONT TRUST ME ANYMORE!! - SO" BITCH! I DONT TRUST YOU !. HOW
CAN A BITCH LIKE YOU THINK YOU HAVE OPTIONS WHEN A MAN LIKE ME OFFERS YOU" A F-1 VISA!!!
AND YOU TELL ME!.." I WILL HAVE TOO MUCH CONTROL OVER YOU" WHAT DID YOU THINK WAS
GOING TO BE BITCH?? YOU HAVE CONTROL?? - YOUR FUCKING OUT OF YOUR MIND BITCH!!. I GOT
ALL I NEED IN MY LIFE! AND IM NOT ABOUT TO PUT MY LIFE, MY FINANCES OR YOUR LIFE! AT RISK,
BECAUSE YOUR CAPABLE OF BEING PUT AT ISK"...BECAUSE YOUR FULL OF DANGER AND IM NOT
THE MAN TO FOOL AROUND WITH BITCH! - THEN ITS DANGEROUS FOR YOU!!!. YOUR TIME IS
UP...UNLESS, YOU WANT TO BE IN THE STREET!.GET ME MORE FUCKING VIDEO OF YOUR DAUGHTER
ON YOUR TITS PLAYING!! AND PUT SOME OF THOSE TOYS ON YOUR STOMACH!! SO SHE PLAYS
OVER BY YOUR PUSSY!!! USING THE CELL PHONE CAMERA!!....YOU WONT SEE MONEY BITCH" FOR A
VIDEO CAMERA...NO FUCKING WAY!!! GET ME SOME REALLY RACEY" CELL PHONE VIDEO...YOU AND
YOUR DAUGHTER - TONIGHT!!! OR I DROP YOU COMPLETELY" IN THE STREETS!! ANOTHER
THING!!...MONDAY AND WEDNESDAY!! ARE THE ONLY DAYS YOU SPEND AT THAT PLACE!! ...1 HOUR
MAXIUM BITCH! ON THE INTERNET A DAY - GOT IT!! OR I WILL DROP YOU!!!! YOU AND YOUR FAMILY
WILL BE FUCKED FOR LIFE!!!




OUR




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                                                       GA055
                                                                                                           GOVERNMENT
                                                                                                             EXHIBIT
                                                                                                              559
                                                                                                         14-CR-94 (JFB)
Kabrawala, Ameet (USANYE)




From:                                           JOSEPH VALERIO                                                >
Sent:                                           Tuesday, January 24, 2012 11:59 PM
To:                                             elena kalichenko
Cc:                                             JOSEPH VALERIO
Subject:                                        This covers it...and here it begins"


 Helena you have nothing to worry about, as we both know you have high levels of education that some would
never achieve... Its the system both here and there in which we try to "crack the code" as we both achieved
form different spectrums. You will always carry your education with you like a Golden medallion!, which will never
tarnish!. Look for today with whom surround you, like your beautiful little daughter, your Mother. Just think" maybe
its life just telling you for now, to relish the joy of motherhood. You are doing all your expected to do in my
eye's and you just need to maintain that with me...and I will continue to take care of you and your family, you
have earned my praise and respect to carry on a relationship with you" to hopefully a higher degree. Today will
be wednesday, so you had to come in purposely for the MTCN# and then you will leave before dark" as
planned. The next day your able to go to the internet place is Friday - are we clear on this? Thursday you relax
at home with             getting her to play more with YOU and exploring YOUR body more down below to your
sweetness. Remember" when                 comes to you and touches you...its really" me who is touching you or in
Fantasy" this little beautiful creature who wants to probe you and touch a "real human" for the first time! ( close
your eye's and let her explore...every crevice of your nipples and pussy") Put some juice on your nipples" and
make her SUCK THOSE NICE TITS"! as you lay there in deep emotional relaxtion...and Finally this little
beautiful creature has taken over YOUR BODY" - with oral pleasure...( apply something sweet from the store" -
sweet juice or candy on your nipples and your sweet pussy" to play with). Get this ALL" on video for Thursday
- relaxation day! - DONT hold back" REMEMBER" its ME!...so let yourself go!! - I will have you in my mouth
tomorrow!!...to taste your sweet nectar juice from your sweet PUSSY!!. - ITS ME YOU SEE! ITS ME YOU
HEAR IN ! ITS ME WHO TOUCHES YOU! - THROUGH                            I will check into your Skype account dear,
thank you for sharing that with me ...as you are FULLY aware of who's in my life" and when they come, stay
or go". You will always know". Andrey I respect him, the Father of your child and I will not interfere with that
contact. So your converstaions are commonly about what" if I might add with Andrey? - im asking because you
still have him as a contact for the obvious reason" he's the father of your daughter!. This much I will
understand...but not daily conversations with him or I will interfere!. Try to see whats wrong with your cell phone
as far as receiving texts..im gettting your texts and videos so that part is fine! . Thursday", you will use that day
" primarily" FOR VIDEO'S WITH                  - ALL WITH HER! FROM MANY ANGLES!...FROM YOUR TITS TO
YOUR CUTE TOES" AND EVERY CREVICE TO BE EXPLORED! ALL VIDEO'S! - MAKE THIS COUNT!
...THESE ARE THE ONE'S THAT WILL!!... I KISS YOU ALL OVER! FOR EVERY INCH
EXPLORES....AS SHE LANDS ON YOUR " PLANET HELENA".SHE WILL EXPLORE YOUR VALLEY'S,
MOUNTAINS, CURVES AND YOUR WET"JUICY BUSH! WITH AMPLE FRUIT OF NECTAR....LET HER TOUCH
THOSE MOIST CREVICES"!! EMM" DA!...IM SO HARD! Here my sweet pussy slave" is the MTCN# 836-142-
4419 Be Safe" wherever you go! and remember to put on a good show! On friday we'll discuss our Dating




Agency...to get at least one or two girls here"... I kiss YOU! and want to have you so BAD!!




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                            Case 17-2371, Document 62, 06/04/2018, 2317602, Page154 of 205
                                                          GA056
                                                                                       GOVERNMENT
                                                                                         EXHIBIT
                                                                                         559-A
                                                                                      14-CR-94 (JFB)
Kabrawala, Ameet (USANYE)




From:                                            JOSEPH VALERIO <
Sent:                                            Tuesday, January 24, 2012 10:24 AM
To:                                              elena kalichenko
Subject:                                         Fw: Fwd[2]: your mail


 Yes my sweet nymph puss"... give me ALL the details about this venture today, get your phone checked
out!...because we wont be able to communicate like this everday on the internet. The next day you can go
check your mails is friday, REMEMBER" as per my last instructions to YOU" which you need to look over still
and agree to. Try to resend those videos from yesterday MOVOO042 , MV ""'46 , MV """49 , MV'''''52, MV """53,
ALL of them again", seems there was too much memory at once to handle for the phone...Very nice one's with
you and          ! Great Job! You see your bonding very well with          !..as you can see my energy is flowing
through           onto YOU" do YOU feel it?..its coming from ME! as she touches and explores your breasts, then
to touch you below"...as you keep her between your legs SAFELY" with your legs up around her, putting her
toys "DOWN BY YOUR SWEET PUSSY" ( from your belly down to your pussy). With you and her securely on
the couch, bed or floor" YOU can use the cell phone camera with one hand grabbing your TITS with the other
and from your EYE view down to your sweet pussy...you will be recording               playing by your sweetness
below!....AS SHE TOUCHES AND EXPLORES YOU!...AS YOU CONTINUE TO INSERT THE TOYS BETWEEN
YOUR LEGS!!. This will be like a French short film" - We will work on a title my sweeties". I just got your
mesg now about the job"..Sorry it did not work out for you. Hope you didn't sign up for the agency as a
MEMBER?!! - NOW?. Somethings as we know are not meant to work out, like this job interview for instance and
some other things are meant to be. So you gave it your best shot" and dont worry" I rather see you do
something more creative and "YOU HAVE. So we will get this visa going here...you can relax, and develop
         to be one GREAT HAPPY little girl. Im here to help you along the way till you are both here". The
thing with Julia, I just have to make her understand that her and I cant be serious for now together..it will be
hard" for her but she understands and knows already who I have FIRST in my life"...she still wants to come
regardless of who. She will just come only to visit. I think ALL I may need from you is          's information. I
have a copy of your passport, so I think that is all for now. Let me get to the western union place later because
aparantly all transactions to the Ukraine..by phone or online" "THEY" suspect HIGH FRAUD ACTIVITY! in the
Ukraine!...So on my way back from my meetings I'll have to stop at one of their locations...Nothing is simple in
the Ukraine I guess these days!..So I will get the money out to you later sometime!! - its best you leave that
place after this mesg...and keep it at 3 days a week like I said to save money!!! and leave before dark - SO
YOU BEST LEAVE NOW" AND DONT SIT THERE ALL NIGHT!! YOU WILL SEND ME YOUR SKYPE"
CONTACT PAGE OR GIVE ME YOUR PASSOWORD TO CHECK!!
YES MY BELOVED MASTER!

Joseph, I just came to Internet place to check an email from you at 11, yesterday when I left there was nothing from you
yet, I have an appointment today at noon, with that agency so I am going now.......I will come back later in the evening and
I will tell you what is that agency about and more details........I didnt get any MTCN number from you and I cant send you
any videos tonight cause I am -10 hrn, when I get the cash you get a couch, more vidoes with            and the rest.

Ok I am leaving now and I will come back later around 6-7 pm my time to send you a response.

Kisses
Helena


-------- Пересылаемое сообщение --------
От кого: JOSEPH VALERIO                              >
Кому: elena kalichenko <                        >
Дата: 24 января 2012, 00:22
Тема: Fw: your mail



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                                                           GA057
 Before you start to do ANY work, you give me the name of the company and the employers name or
number...I want to make sure this is what it is" and what company it is?... if I plan to continue to support my
two interests. I have plans a head for you both! so careful in your decision making! DONT LET IT SPOIL YOUR
PLANS! DO YOU HEAR ME?? - your response" should be YES" my Master! If you understand me correctly! and
do fix that phone...so you get my response QUICK" and when im on the road! - not at home!
Joseph, there is nothing from you, I am leaving in 5 mins..........I am planning to go tom start that job at dating agency, I
have to feed my family but I will get the first salary only in a month.......I think we should proceed with the Fiancee visa
CAUSE I WANT TO BE WITH YOU!!!!!!!!!

KISSES
HELENA AND
BE SAFE


23 января 2012, 00:30 от JOSEPH VALERIO               >:
  YOU SEE BIITCH 9:45 PM STILL AT THE INTERNET PLACE!! ...HOW IS THAT POSSIBLE??! THAT" WAS
ANOTHER THING I WARNED YOU ABOUT BITCH!...BUT YOUR STILL THERE CHECKING YOUR MAIL
FROM OTHER PROSPECTS....WITH MY MONEY YOU BITCH!...THEN YOU CRY TO ME THAT YOU HAVE
NO MORE MONEY!!! BUT YOUR SITTING THERE AT MY COST TO WRITE TO OTHER DICKS! ...AS YOUR
BACK UP!! - I'D HAVE YOUR FUCKING HEAD! IF EVER CAUGHT YOU HERE! SO BEST YOU STAY AWAY
FOR GOOD!!. FUNNY BITCH" HOW IM ABLE TO TEXT MY VAL AND JULIA"...WITH NO PROBLEM!! I THINK
ITS A SIGN BITCH!..YOUR A TROUBLED INDIVIDUAL! AND HERE", IF YOU WERE EVER TO CAUSE ANY
TROUBLE...YOU'D BE FINISHED! FOUND A JOB? LISTEN BITCH " THEN GO TO WORK!!...AND SUPPORT
YOUR PATHETIC LIFE AND YOUR FAMILY!! AND GET OUTTA MY LIFE!...SEND E SOME PROFILES AND
GET A ME ANOTHER PUSSY" HERE! AND YOU WILL GET PAID!! BUT IT'S ALL BULLSHIT! FROM YOU
AND THIS SO" CALLED JOB AT A DATING AGENCY! - THEN TAKE THE JOB BITCH AND GET ON WITH
IT!, NO NEED TO TELL ME ONE THING IN A LETTER...THEN TELL ME ANOTHER THING IN A TEXT
MESG... YOU THINK YOUR DEALING WITH A MINDLESS MAN??! - IM AT GENIUS LEVEL! ...BRILLIANT,
STRONG, HANDSOME, ARTIST, ATHLETIC - ITS WAY" PAST YOUR LEVEL! I MAY BE SOME WIZARD! , AND
YOU JUST INDICATED THAT YOU DONT TRUST ME ANYMORE!! - SO" BITCH! I DONT TRUST YOU !. HOW
CAN A BITCH LIKE YOU THINK YOU HAVE OPTIONS WHEN A MAN LIKE ME OFFERS YOU" A F-1 VISA!!!
AND YOU TELL ME!.." I WILL HAVE TOO MUCH CONTROL OVER YOU" WHAT DID YOU THINK WAS
GOING TO BE BITCH?? YOU HAVE CONTROL?? - YOUR FUCKING OUT OF YOUR MIND BITCH!!. I GOT
ALL I NEED IN MY LIFE! AND IM NOT ABOUT TO PUT MY LIFE, MY FINANCES OR YOUR LIFE! AT RISK,
BECAUSE YOUR CAPABLE OF BEING PUT AT RISK"...BECAUSE YOUR FULL OF DANGER AND IM NOT
THE MAN TO FOOL AROUND WITH BITCH! - THEN ITS DANGEROUS FOR YOU!!!. YOUR TIME IS
UP...UNLESS, YOU WANT TO BE IN THE STREET!.GET ME MORE FUCKING VIDEO OF YOUR DAUGHTER
ON YOUR TITS PLAYING!! AND PUT SOME OF THOSE TOYS ON YOUR STOMACH!! SO SHE PLAYS
OVER BY YOUR PUSSY!!! USING THE CELL PHONE CAMERA!!....YOU WONT SEE MONEY BITCH" FOR A
VIDEO CAMERA...NO FUCKING WAY!!! GET ME SOME REALLY RACEY" CELL PHONE VIDEO...YOU AND
YOUR DAUGHTER - TONIGHT!!! OR I DROP YOU COMPLETELY" IN THE STREETS!! ANOTHER
THING!!...MONDAY AND WEDNESDAY!! ARE THE ONLY DAYS YOU SPEND AT THAT PLACE!! ...1 HOUR
MAXIUM BITCH! ON THE INTERNET A DAY - GOT IT!! OR I WILL DROP YOU!!!! YOU AND YOUR FAMILY
WILL BE FUCKED FOR LIFE!!!




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                                            GA058
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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
ALB:ABK                                            271 Cadman Plaza East
F.#2014R00151                                      Brooklyn, New York 11201



                                                   July 11, 2016

By ECF and Interoffice Mail

The Honorable Joseph F. Bianco
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

              Re:    United States v. Joseph Valerio
                     Criminal Docket No. 14-0094 (JFB)

Dear Judge Bianco:

             The government respectfully submits this letter in advance of the Fatico
hearing scheduled for July 25, 2016. Defense counsel have previously been advised of the
following.

               Presently, the government intends to call at least two witnesses, both of whom
reside in foreign countries, to testify about matters raised in the Presentence Investigation
Report and that bear upon factors the Court may properly consider under Title 18, United
States Code, Section 3553(a). The government expects that these witnesses’ testimony will
be completed on July 25, as they are scheduled to return to their respective home countries
on July 26. The government will provide defense counsel and the Court with copies of any
exhibits and Section 3500 disclosures in advance of the hearing.1

               Additionally, the government will also request that the United States Marshals
Service produce Olena Kalichenko, should the Court seek to hear from her regarding her
interactions and dealings with the defendant. Counsel for Ms. Kalichenko has indicated that
she will voluntarily testify at the Court’s request. As the Court may recall, however, the
government has no agreement whatsoever with Ms. Kalichenko and the government does
not—and cannot—compel her to testify. The government has advised Ms. Kalichenko’s
counsel that any testimony she voluntarily offers will not constitute “substantial assistance”

       1
         The government may call additional witnesses and will provide any Section 3500
disclosures in advance of the hearing.
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in the investigation or prosecution of any other person, within the meaning of Section 5K1.1
of the United States Sentencing Guidelines or Section 3553(e), or any other similar provision
of law, or otherwise be a basis to sentence Kalichenko below the mandatory minimum terms
of imprisonment applicable in her case.

               Finally, the undersigned Assistant United States Attorney is scheduled to
travel overseas on a work assignment starting on July 26, 2016, and returning on July 31,
2016. Accordingly, should the presentation of evidence during the Fatico hearing require
more than one day—such as to accommodate any defense presentation or Ms. Kalichenko’s
testimony—the government will, at the appropriate time, respectfully request to continue the
hearing to the week of August 1, 2016, or thereafter.

                                                  Respectfully submitted,

                                                  ROBERT L. CAPERS
                                                  United States Attorney

                                           By:    /s/ Ameet B. Kabrawala
                                                  Ameet B. Kabrawala
                                                  Assistant U.S. Attorney
                                                  (718) 254-6001

cc:    Anthony M. LaPinta, Esq.
       Leonard Lato, Esq.
       Counsel for Defendant

       Robert P. LaRusso, Esq.
       Counsel for Olena Kalichenko

       Ms. Lisa Langone
       U.S. Probation Department




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                                                   GA060



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 1                                  UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF NEW YORK
 2
 3     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
       UNITED STATES OF AMERICA ,
 4                                                                        CR-14-94
                                                                          (JFB)
 5                  -against-                                           United States Courthouse
                                                                        Central Islip , New York
 6     JOSEPH VALERIO ,
                                                                        June 6, 2017
 7                                    Defendant.                        1 :15 p.m.
       -------------------------------X
 8
                                      TRANSCRIPT OF SENTENCING
 9                                    BEFORE THE HONORABLE JOSEPH F. BIANCO
                                      UNITED STATES DISTRICT COURT JUDGE
10
11     APPEARANCES :
12     For the Government :                              BRIDGET M. ROHDE , ESQ .
                                                         UNITED STATES ATTORNEY
13                                                            BY: ALLEN BODE , AUSA
                                                         100 Federal Plaza
14                                                       Central Islip , New York 11722
15
16     For the Defendant:                                ANTHONY LA PINTA , ESQ .
                                                         LEONARD LATO , ESQ.
17
18
19
20
       Official Court Reporter:                              Paul J. Lombardi , RMR , FCRR
21     Ph. (631) 712-6106                                    100 Federal Plaza - Suite 1180
       Fax (631) 712-6122                                    Central Islip , New York 11722
22
23
24
                            Proceedings recorded by mechanical stenography.
25                                  Transcript produced by CAT .

                                    Paul J. Lombardi , RMR, FCRR
                                    US District Court Reporter
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                                    GA061




                                                                           2

 1                 THE CLERK :    Calling case United States of
 2    America v Joseph Valerio .
 3                 Counsel please state your appearance for the
 4     record .
 5                 MR . KABRAWALA:    Good afternoon , Judge.   Ameet
 6     Kabrawala for the United States.        I'm joined by AUSA Allen
 7     Bode .
 8                 MR. BODE:     Good afternoon.
 9                 THE COURT:    Good afternoon .
10                 MR . LA PINTA:    Good afternoon , your Honor .
11                 Appearing for Mr. Valerio, Anthony La Pinta and
12     Leonard Lato .   Mr. Valerio is seated to my right.
13                 THE COURT:    Good afternoon .
14                 As you know , we are here for sentencing .        Are
15    both sides ready to proceed?
16                 MR. KABRAWALA:     Yes, Judge .
17                 MR. LA PINTA:     Yes .
18                 THE COURT:     I want to review what documentation
19     I have because I want to make sure I have everything
20    that's been submitted by the parties and also make sure
21    you have a copy of everything that ' s before the court .
22                 I have the presentence investigation report , the
23    initial probation department recommendation , the addendum
24    to the presentence report , which led to the Fatico
25    hearing , I have the r evised probation department

                PAUL J. LOMBARDI, CERTIFIED REALTIME REPORTER
                           Official Court Reporter
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                                                                      3

 1     recommendation which is a total of 60 years imprisonment.
 2     I have the government's May 8th sentencing submission
 3     which has various attachments.
 4                In terms of what I have from the defense , I have
 5     the initial sentencing memorandum of April 25th with
 6     attachments which include Dr. Barday 's report and letter
 7     on Mr. Valerie's behalf , and earlier today I reviewed
 8     Mr . Lato 's supplemental letter of June 6th which attaches
 9     various letters including a letter from Mr . Valerio.      I
10     believe that's all I have in terms of documentation , and
11     also I did receive a stipulation with respect to the
12     forfeiture which I signed several months ago.
13                Is there anything else I should have in
14     connection with the sentencing?
15                MR. KABRAWALA:    There is one other document that
16    we handed up to the court today , defense counsel has been
17     provided a copy .   It's entitled final order of forfeiture.
18                It should be attached to the judgment once it's
19    signed, Judge.
20                THE COURT :   I assume based upon the stipulation
21    that the defendants agree to this final order of
22    forfeiture as part of the j udgment in this case?
23                MR. LA PINTA:    Yes, sir.
24               THE COURT:     Is that correct, Mr. Valerio?
25               THE DEFENDANT:     Yes, your Honor.

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 1                THE COURT :   I will order the forfeiture as
 2     contained in the final order of forfeiture.
 3                MR. LA PINTA:    You should be aware, your Honor,
 4     that today moments before you took the bench a payment in
 5     the amount of that money was given over by the form of an
 6     attorney escrow check to the government.
 7                THE COURT:    That's $75,000?
 8                MR. LA PINTA:    Yes.
 9                MR. KABRAWALA:    I can confirm receipt of a
10     payment for the amount of $75,000 , it's check No. 1418,
11     and I'm in possession of it to the United States Marshal's
12     Office.
13                THE COURT :   Again, so the record is clear, I
14     did, as we had discussed after receiving the submissions,
15     issue a June 1st opinion which Mr. Lato referenced in his
16     supplement where I made findings of fact as it related to
17     the testimony of the various witnesses that the government
18     put forth at the Fatico hearing and I won't repeat those
19     findings here, but I found the government witnesses to be
20     fully credible in every respect with respect to their
21     testimony and I intend to consider those facts as part of
22     the history and characteristics of the defendant, as well
23     as on the issue of dangerousness under the 3553(a)
24     factors.
25                I would just ask, I know things have been

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 1     submitted to me under seal because they contain names of
 2     children .    I would just ask that redacted versions of the
 3     documents be prepared taking out the names of the children
 4     because I don't think all the filings should be under seal
 5     and obviously if you want to maintain Dr. Barday ' s report
 6     that would be fine , but if you could do that in the next
 7     week or so that would be helpful .
 8                  MR. LA PINTA:    Yes , sir .
 9                  THE COURT:   Mr. La Pinta , has Mr. Valerio
10     received the presentence report, the two recommendations
11     and the addendum?
12                  MR. LA PINTA:    Yes , your Honor .
13                  If I may just take a brief moment and spread on
14     the record in detail what we have done in that regard .
15                  Mr . Lato and I have met with Mr. Valerio
16     probably in excess of 25 to 30 times since he's been
17     incarcerated in the MDC .      We have spent numerous hours
18    going over the initial presentence investigation report ,
19    the addendum , and the recommendations and most recently
20    this weekend , this past weekend, Mr. Lato , himself , went
21    to see Mr . Valerio and did go over your memorandum opinion
22    dated June 1st with him.
23                  He's asked numerous questions about all the
24    documents.     We have answered those questions.    We have
25    taken a lot of time and detail in explaining not only the

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 1     factual assertions contained therein , but in our opinion
 2     the significance and meaning of each and every document ,
 3     in particular your memorandum and order dated June 1st .
 4                  I'm of the opinion that Mr . Valerio is quite
 5     capable of understanding the facts and circumstances of
 6     his case .    When it comes to legal matters that maybe a
 7     layperson is not aware of he's asked appropriate questions
 8     and we have taken the time to explain to him the
 9     sentencing guidelines , how it works and all of the 3553(a)
10     factors that the court is now going to consider and render
11     in a sentence.
12                  So I state on the record without any hesitation
13     or doubt that Mr. Valerio has been given much time , much
14     attention and much detail regarding each and every
15     document that the court is relying on in i mposing
16     sentence, not just that but as you are obviously aware
17     through the Fatico hearing conducted before you,
18     Mr. Valerio was obviously present and we had a dialogue
19    with him before and after every day of those hearings to
20     discuss not only direct examination but the
21     cross-examination of each witness .
22                  THE COURT:   Mr . Valerio, has Mr. La Pinta
23     accurately described the nature of his interactions and
24     Mr. Lato's interactions with you as relates to their
25     representation of you, is that accurate?

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 1                THE DEFENDANT :    Yes, your Honor.
 2                THE COURT:     I just want to see if there are any
 3     objections to the presentence report and let's start with
 4     the guidelines offense level, criminal history.
 5                I don't think there are any objections to that
 6     calculation.    I do want to address Mr. Lato's multiplicity
 7     issue, but in terms of the calculation, level 47 , criminal
 8     history category I, do both sides agree that's a proper
 9     calculation of the guidelines?
10                MR. LA PINTA :    Your Honor , with your permission
11     we'd like to kind of dissect our responsibilities here on
12     being joint counsel .
13                Mr. Lato is going to address the guidelines and
14     any legal matters since he authored all of the
15     submissions .   I'm going to deal with the PSR, family
16     matters and other facts regarding the proceeding , if
17     that's okay with you.
18                THE COURT :    That ' s fine with me.
19                Mr. Lato, I know you have an issue with the
20     multiplicity , but just in terms of the offense level and
21     criminal history, is there any objection to that?
22                MR. LATO :    No, your Honor.
23                THE COURT:     Does the government have any
24     objection to that?
25                MR. KABRAWALA:     No, Judge.

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 1                  THE COURT:     I don't know if the defense disputes
 2     that and it's not material but I want it to be accurate
 3     that Jane Doe number one was two years old at the time of
 4     the offense and not three , is that accurate?
 5                  MR . LATO:    It is immaterial , your Honor , but let
 6     me just hear from Mr. Valerio .
 7                  THE COURT:     Okay.
 8                   (There was a pause in the proceedings.)
 9                  MR. LATO:     Since we are not certain, we will not
10     object to what's in there .
11                  THE COURT :    Three is in there and the government
12     says that's wrong, it's two.
13                  MR. LATO :    Then I'll go with what the government
14     says.
15                  THE COURT:     I wanted the record to be clear and
16     I want it to be accurate but it is immaterial , two versus
17     three .
18                  So I adopt the offense level computation
19     contained in the presentence report in its entirety .        I'm
20     just going to summarize it for the record , but I adopt it
21     in its entirety.
22                  For the grouping of what they consider group
23     one , which includes the conspiracy to commit sexual
24     exploitation of a child as relates to Jane Doe number 1
25     it's a base offense level 32 .       Because she had not

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 1     attained the age of 12, four levels are added , because it
 2     involved sexual contact with Jane Doe number one , two
 3     levels are added , and because Mr . Valerio communicated
 4     with Ms . Kalichenko via computer to persuade her to engage
 5     in the sexually explicit conduct with Jane Doe number one ,
 6     two levels are added .     That's offense level 40 for that
 7     group.
 8                   And then with respect to the second group ,
 9     counts 14 and 15 , the attempted sexual exploitation of a
10     child , it's a base offense level 32 , Jane Doe number two
11     was   6   years old at the time so four levels are added.      She
12     was related to the defendant , so two levels are added , and
13     that's an adjusted offense level of 38.      Under the
14     multicount adjustment, the combined adjusted offense level
15     is 42 .
16                   Because the defendant engaged in a pattern of
17     activity involving prohibited sexual conduct, five levels
18     are added, and, therefore , the offense level is 47 in
19     terms of 481.581 , and there is no acceptance of
20     responsibility points.      The criminal history category, he
21     has one point from a 2006 conviction .     So he maintains
22     criminal history category I .
23                  That results in a range under the chart of life ,
24     and advisory range of life.      However, as the government
25     acknowledges , the defense obviously agrees , because there

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 1     is no count individually that carries a life sentence, the
 2     law requires the court to whatever the statutory maximum
 3     is of all the counts together becomes in effect the
 4     advisory guideline range, it becomes a number .
 5                 The government asserted that that number just
 6     adds up all the counts is 410 years , but as Mr. Lato --
 7     I'll hear from the government, I think Mr. Lato is correct
 8     that there are some attempt counts that are completely
 9     subsumed in count two which is the actual sexual
10     exploitation of a child from April 1 of 2012 to November 1
11     of 2012 .   So I believe to sentence him on those attempts
12     which are counts nine through 13 would be a violation of
13     the double jeopardy clause .
14                 So I believe given he was convicted of
15     count two, that the court should dismiss counts nine
16     through 13 .   Is there any objection to that?
17                 MR. BODE :   We would just ask , your Honor , that
18     that be without prejudice should there be some issue that
19     arises in the future and some other count falls by the
20     wayside that we would then ask those counts -- the j ury
21     verdict be reinstated , so either dismissed without
22     prejudice or there be no sentence issued on those counts ,
23     including not even the special assessment on that count .
24                 THE COURT:    I'm not issuing the special
25     assessment on those counts , but I will dismiss them

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 1     without prejudice if there were to turn out to be some
 2     problem with count two .       I don't believe that the
 3     dismissal should be with prejudice on those counts .         I
 4     will dismiss them without prejudice , but I am not going to
 5     impose any sentence on those counts .
 6                  So , Mr . Lato , I think correctly figured out the
 7     math , which is the remaining counts have 260 years of
 8     exposure .    So that becomes the effective advisory range or
 9     number in this case.        Obviously pursuant to United States
10     v Booker, the sentencing guidelines are advisory.          They
11     are only one factor the court is to consider among all the
12     statutory factors and I'll now hear from both sides
13     regarding the factors or anything else they wish to say
14     starting with the defense .
15                  I should ask you, I guess, do you have any
16     objections to the report?
17                  MR. LATO:     No, your Honor.
18                  THE COURT :    Does the government have any
19     objections to the report?
20                  MR . KABRAWALA:    No , your Honor.
21                  THE COURT:     I adopt all the information in the
22     presentence report as factual findings of the court in
23    addition to my findings at the Fatico hearing .
24                  Go ahead.
25                  MR. LATO :    May I have one moment to confer with

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 1     Mr. La Pinta?
 2                  THE COURT:    Sure.
 3                  (There was a pause in the proceedings .)
 4                  MR . LATO:   With the court's permission, your
 5     Honor , Mr. La Pinta is going to start off .       There are
 6     certain 3553 factors that he's better off addressing , some
 7     that I'm better off addressing , if that's fine with the
 8     court.
 9                  THE COURT:   That's fine .
10                  I wanted to confirm with Mr. Valerio directly
11     that you have had sufficient time to discuss all the
12     documents, the presentence report, the addendum, the
13     recommendations and had sufficient time to discuss them
14     all with your attorneys .
15                  THE DEFENDANT:    Yes.
16                 THE COURT:    Go ahead , Mr . La Pinta .
17                  MR. LA PINTA:    Thank you , Judge.   Do you mind if
18     I use the podium?
19                 THE COURT:    That's up to you .
20                 MR. LA PINTA:     Your Honor , before I begin please
21     note in court here today on behalf of Joseph Valerio is
22     his mom, Frances Valerio, his sister, Bernadette
23     Imperially, his uncle Gerolamo Valerio, his aunt , Dominica
24    Valerio , and his other uncle John Toussa, many of those
25     family members have written letters for your consideration

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 1     and I'm sure you understand and remember the family
 2     dynamic from the prior proceedings involved in this case .
 3                 As you are aware , the Valerio family are
 4     Sicil i an immigrants .   Mr. Valerio ' s father , Phill i po
 5     Valerio , migrated here as a young child , married his wife
 6     Frances and raised their family , first I believe i n the
 7     Queens area , Brooklyn area and then moved to Long Island
 8     where they raised their two children in Massapequa.
 9                 The family was raised under traditional Italian
10     family traditions , I'll say , traditions that as we all
11     stand members of our society here today were not
12     traditions that are acceptable to anybody .        They are
13     traditions that permeated the family through the acts of
14     severe domestic violence, at the hands of Mr . Vale r io's
15     father , Phillipo.   We have gone to great lengths , your
16     Honor, to address these issues.       Dr. Barday also gave
17     great reference to those facts in his report , as we
18     believe they are very relevant in terms of understanding
19     the total pi cture of who Joseph Valerio is .
20                 Joseph Valerio undoubtedly and his sister ,
21     Ber nadette , grew up under very , very difficult fami l y
22     circumstances that have severely affected both of them as
23     adults .   They both witnessed severe spousal abuse at the
24     hands of their father on their mother , and Joseph Valerio
25     also experienced abuse at the hands of his father as well ,

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 1     physical abuse and other abuse .
 2                 That 's molded a young Joseph Valerio into the
 3     man that he is today, and I don 't say that in any type of
 4     good way.    But I want you to know that besides all of the
 5     very troubling facts and circumstances that you know
 6     Joseph Valerio by , that there is good in Joseph Valerio.
 7     One thing that has been consistent to me since coming on
 8     to this case upon his arrest is the fact that his family
 9     members are all very devoted to him and all categorize him
10     as nothing short of a committed, loving son, brother and
11     nephew.
12                 As a young child he shared a very close
13     relationship with his mother , was her protector,
14     confronted his father on numerous occasions when
15     witnessing abuse that resulted in his abuse at the hands
16     of his father .   As most Italian immigrant families , what
17     was said in the house and what was done in the house
18     stayed in the house.    Nothing was spoken outside of the
19     house.    That would have been a sin against the family .
20                 As a result, there was no intervention by
21     professionals.    There was no helping hand to help ease the
22     pain of the physical and other abuse that was going on in
23     that household, and it wreaked havoc on the two children .
24     Mr. Valerio graduated high school, attended college for a
25    short period, worked in a family business and was involved

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 1     in real estate for the better part of his adult life .
 2     He's had many relationships , some of which you are well
 3     aware of, that have all failed miserably .     Not only have
 4     they failed miserably , but they were all permeated and
 5     destructed by violence and sexual exploitation.
 6                A good part of our presentation here today , your
 7     Honor , and our submissions relies on Dr . Barday's
 8     evaluation of Mr. Valerio.     He's undertaken a very
 9     thorough evaluation , not only of Mr. Valerio, he's met
10     Mr. Valerio numerous times at the MDC and has employed a
11     number of different well known objective testing
12     techniques to provide the court with as thorough as
13     possible of an abstract regarding who Mr . Valerio is .
14                He's employed a number of tests such as the able
15     assessment for sexual interest , the HCR-20 evaluation , the
16     HCR-20 , the static-99, in addition to spending time with
17     Mr. Valerio , I believe on three or four occasions at the
18     MDC over hours and hours of discussions .     Dr . Barday also
19     met with his mother Frances Valerio and sister Bernadette
20     and spoke with them independently about the upbringing in
21     the family in order to understand and draw an accurate
22     picture of what existed there and then .     He's also
23     conducted other collateral interviews and has given the
24     report that you have read.
25                Dr . Barday's opinion is that Joseph Valerio is

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 1     not a pedophile.    He does suffer from some severe profound
 2     psychological ailments.     Page 12 of the report diagnoses
 3     Joseph as having voyeuristic disorder , frotteuristic
 4     disorder , antisocial personality traits and also has
 5     commented on his excessive alcohol use and drug use ,
 6     meaning cocaine use, all being contributing factors in the
 7     life of Joseph Valerio that has contributed to the conduct
 8     that has brought him before the court here today.
 9                 Mr. Valerio also has serious and physical
10     ailments in his past.     He's a cancer survivor.    He had
11     surgery on the thyroid gland.      Most of that gland was
12     removed .   While in jail he's had a number of other
13     problems physically that he sought medical attention for ,
14     and as we are all well aware, unfortunately , the MDC and
15     all of the jails aren't exactly the perfect environment to
16     obtain first-class medical care from .
17                 But with all that said , in all candor, we face a
18     monumental obstacle here, your Honor , in terms of trying
19     to convince you to save this man's life.      What I mean by
20     saving his life is to provide for some day Joseph
21     Valerie's return to society.      Under the framewo rk of the
22     facts of this case , it may be difficult to understand that
23     the redeeming qualities of this man has deserves freedom
24     one day in his life.
25                 But we believe he does.    We believe that he does

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 1     deserve to come home from jail and to spend the rest of
 2     his life with his family because what we have observed and
 3     what Dr. Barday has mentioned in his report is that since
 4     being incarcerated , since being interviewed and evaluated
 5     by Dr. Barday, for the first time in his life I th i nk
 6     Joseph Valerio understands what he is about, understands
 7     the sickness and problems that he's had.
 8                And I think that Dr. Barday mentions and is
 9     quite of common nature in my opinion having had dealings
10     with psychiatrists and representing clients in the past
11     that the first real step in rehabilitation is
12     understanding and appreciating the problems that one has
13     and accepting the conduct and consequences of it.        And I
14     will tell you firsthand that in the hours and hours and
15     hours that we have spent with Mr . Valerio at the MDC , I
16     can tell you that he's come to terms with who he is and
17     what he is.   He understands the nature of his c r imes being
18     of disgusting , despicable acts .   He understands the
19     destruction that he's caused to not only the children
20     involved here but his family as well.
21                While no one will argue that the heavy hand of
22     the law must come down today , your Honor, we argue that
23     that heavy hand does not crush and destroy the rest of
24     Mr. Valerie's life.    We would ask that you consider
25    Dr . Barday's report , the unique family circumstances that

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 1     existed in the Valerio household, and understand that as
 2     mitigating factors and how someone could be developed into
 3     the person that would conduct this conduct.
 4                So I'll leave you with one last thought .      I'd
 5     like to think that each and every one of us here in our
 6     society has both good and bad in them .      Sometimes the bad
 7     overshadows the good and sometimes the good overshadows
 8     the bad, and I don't envy your position in trying to come
 9     up with an appropriate sentence in a case like this
10     because anyone that would know the facts and circumstances
11     here would instinctively want to incarcerate this man for
12     the rest of his life.
13                But I ask that you not do so, and that you
14     understand that there is good in Mr. Valerio and allow him
15     to continue to come back to society one day and hopeful l y
16     live his life then and there as a product i ve member of
17     society.
18                I'm going to cont i nue and transfer the
19     presentation over to Mr. Lato.
20                THE COURT:     Thank you, Mr. La Pinta .
21                MR. LA PINTA :    Thank you.
22                MR . LATO :   I'm going to wait until you look up
23     because I know you were writing something .
24                THE COURT:     I'm writing.
25                MR . LATO :   Okay.

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 1                THE COURT:      Go ahead.   Thanks .
 2                 MR. LATO:     Because your Honor has read my
 3     submissions I'm not going to be repetitive.
 4                 I just want to talk a little about general
 5     deterrence and not about Mr. Valerio in particular .
 6     Mr . La Pinta has done that somewhat and if he wishes to
 7     continue afterward I'm sure your Honor will give him the
 8     chance .   But all of this talk about 60 , 50, 40 years it's
 9     all nonsense as I point out in my letter because given
10     Mr . Valerie's life expectancy, anything 34 years or more
11     is a de facto life sentence .       So the question really
12     becomes should he die in jail .
13                And where I come from that is in terms of
14     general deterrence is that in the criminal justice system ,
15     we assign greater penalties to the crimes we consider
16     harsher than others .      For instance, there is a reason why
17     murderers get life imprisonment , and other people
18     typically do not .      Why?   Because society has determined
19     that killing another human being is the most serious crime
20     and I'm leaving out other crimes such as treason which are
21     in the constitution.
22                What I wanted out in my letter is that if we
23     believe in general deterrence, here is the problem.          The
24     whole idea of general deterrence you want word to get out
25     there to would-be wrongdoers that certain behavior will

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 1     not be tolerated, and that's a good thing but one has to
 2     be careful .   For instance , if , in fact , kidnapping were
 3     automatically a life sentence, would-be kidnappers who
 4     learn the law out there would say if I have a victim , what
 5     do I lose by killing this victim?     And obviously if we are
 6     talking about people with a history of sexual abuse where
 7     there is no hope for these people , even though they didn't
 8     kill the victims, these people are so dangerous they have
 9     to be put away for life.
10                But is that really necessary with Mr. Valerio?
11     Is he really going to be a danger to people in their 70s ?
12     Do we really want to get word out there that if you take
13     pictures of a young child naked, as horrible as it is , you
14     are going to get 40 or 50 years in jail?      What's going to
15     happen when these sentences start to become prevalent and
16     some lunatic out there who is photographing these kids
17     decides to kill that little child?     That ' s my big concern.
18     I'm not talking about Mr. Valerio .     I ' m just talking about
19     general deterrence in particular.
20                And as I pointed out in the letter , Mr . La Pinta
21     and I always knew , even before the Fatico hearing , your
22     Honor was not going to give Mr. Valerio 15 years and you r
23     Honor would not have gone to the trouble of rendering that
24     decision unless your Honor were considering a sentence
25    well above 15 years and I ' m not going to speculate what

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 1     number your Honor has in mind.
 2                 But I think that under these circumstances, for
 3     the reasons Mr. La Pinta stated and all of our
 4     submissions, as bad as what Mr. Valerio did , in terms of
 5     general deterrence I think it's shortsighted to give him a
 6     life sentence , but that's my view and maybe I'm wrong .
 7                 THE COURT:     Mr. La Pinta , is there anything else
 8     you want to add before I hear from Mr. Valerio?
 9                 MR. LA PINTA :    I don't.
10                  I just neglected to mention to the court, it's
11     in the PSR , that he does have two children and while he
12     was a member of society has always provided financial and
13     emotional support for his children.          He ' s been as good of
14     a father as he could be and I don't want to not mention
15     that because I think that's important for your
16     consideration.
17                 Thank you .
18                 THE COURT:     Thank you.
19                 Mr . Valerio , you also have the right to speak at
20     your sentence.    You can say anything you wish to say .
21                 I obviously read the long letter that you
22     submitted, which was a good letter , but you also can say
23     anything you want to say today.          You can remain seated.
24                 MR. LATO:     May we just have one moment, your
25     Honor.

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 1                THE COURT :    Yes .
 2                (There was a pause in the proceedings.)
 3                MR . LATO:    We are ready, your Honor.
 4                THE COURT :    Go ahead , Mr. Valerio.
 5                THE DEFENDANT:         Yes, your Honor .
 6                I have been waiting for a long time , 40 months
 7     now of incarceration to express my humbleness in all that
 8     I have done wrong to my victims, and witnesses .         The
 9     horrible heinous acts that I have committed, the innocence
10     in the children's lives that I look upon my own daughter
11     and my son and I came to grips of why I did such horrible ,
12     horrible things to my victims and witnesses .
13                I was so consumed with addiction , drugs ,
14     alcohol, mainly sexual addict i on.        I had no control over
15     it at the time , your Honor , and I look back .       I cry many
16     nights for my victims , my family , and I feel the pain and
17     I can just imagine what I put them through at the time.
18     These are people that genuinely loved me and they put
19     their trust and their heart and soul into my hands and I
20     discarded all of that .     I took advantage of the love that
21     they gave me , the innocence that was there before me , and
22     I destroyed that .
23                My two adult victims loved me to the point where
24     they wanted to marry me.      I took that for granted, your
25     Honor , and I imagine each day that I sit in prison, the

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 1     thoughts that go through their minds about how they loved
 2     me and how they trusted me , to want me to adopt one of my
 3     victims' child , to place that trust in me and discard that
 4     with all my sick , dark desires.
 5                I'm soon to be a 51 year old man , your Honor .     I
 6     think of my family each and every day .     I think of my
 7     daughter which I will never see again in my life who is
 8     now in a foreign country.     I had gotten to see my daughter
 9     January of 2016 at MDC facility, I believe able just to
10     glance at her, and I thought about my victims' innocent
11     children , how they are so precious like my daughter , this
12     beautiful little child that I created with my
13     ex-girlfriend, her mother.     She genuinely loved me.
14                My victims put their trust in me , and I let them
15     down , and I feel for them like no other can feel for them .
16     I was consumed with sexual desire and that took over my
17     feelings for them.    The money that I had was a power over
18     them , was a tool in lieu for their sexual desires.
19                This is where I started to spin out of control.
20     After my father ' s death I experimented with many other
21     drugs, K 2 , I was heavily on cocaine .    Wherein my
22     distorted way of thinking for that phase i n time to think
23     of a child as a toy , to take away that child's innocence ,
24     not even being in the same country, but ordering somebody
25     that I loved and she loved me as well , to direct her to do

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 1     something so horrible as that, I still can't come to grips
 2     of where and how in my mind was functioning at that time ,
 3     your Honor.
 4                But I think each and every day of my victims ,
 5     and I told both my attorneys where I went wrong , and I
 6     should have marri ed my ex-girlfriend .    Perhaps marr i age
 7     would have kept me on the righteous path , but I took them
 8     for granted.    I took this control over them just the way
 9     my father had control over me and my family , with the
10     abuse, with the demands , and with the physical desires and
11     the physical pain that was inflicted on me .
12                My fathe r displayed these acts in front of me
13     with my mother , with my sister .   This made me an angry
14     young man developing into a man of many addictions .      Being
15     a musician I got involved in the drug scene , and I found
16     myself in a distorted world of fantasy .     I used women the
17     wrong way , and with Dr . Barday , he completely turned my
18     life around .
19                Other than my Uncle John being a social worker
20     who has counseled me in hi s own way , Dr . Barday was like a
21     revelation in my life.    The times that he visit ed me , I
22     was able to connect to where my addictions stem from , and
23     all the people that I hurt in my life .     He was able to
24     conclude where my trouble began and obviously where my
25     trouble ended today.

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 1                I want to be this rehabilitated man.       I am
 2     willing , able and I'm ready , after 40 months of
 3     incarceration, deal i ng with other inmates who knew of my
 4     case, who have approached me and have assaulted me in
 5     prison.   I felt this was part of my punishment fo r doing
 6     the heinous acts to innocent children , to victims who love
 7     me , who gave me their all , who proposed to me and wanted
 8     family with me.
 9                I plan, your Honor, to become a bette r
10     rehabilitated man .    That's my promise to you , your Honor ,
11     my promise to my family , especially my mother who ' s been
12     there for me soon for 51 years of my life .       No other woman
13     has been there for me like my mother has , and that's the
14     bond we have .    We protected each other when it came to my
15     father's abuse.    We looked after each other .    We kept each
16     other calm and at peace when there was disorder and
17     destruction and abuse in my early childhood.
18                Your Honor , I ask of you , please , to consider
19     leniency on my sentence .    It's my promise to you , your
20     Honor, and the prosecutors, all law enforcement that gave
21     their time and everything that they have done to keep
22     order on the streets and they have done everything
23     possible to make sure that I'm removed from society and I
24     become a rehabilitated, righteous man .
25                I made a promise to God during my yea r s of

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 1     incarceration when I reached the age of 50 to minister my
 2     bible study classes .     I found in better rehabilitation
 3     than the word of God, examples like Paul and Joseph who
 4     dealt with wickedness and sin , and I have learned from
 5     that , your Honor .   I put my head down in sorrow , your
 6     Honor , being a fellow Italian American in shame, and I
 7     feel the shame every time I come into this court r oom .       Law
 8     enforcement that does their job well , I respect what they
 9     do.
10                So , your Honor, I thank you for taking the time
11     to read my letter.      Please, your Honor, look deeply and
12     look past all my sins and please look at my family behind
13     me who are there for me , who are waiting for me , waiting
14     for that time to see a rehabilitated man.
15                Thank you , your Honor , for taking the time .
16                THE COURT:     Let me just say this , Mr . Valerio ,
17     before I hear from the government .
18                I wasn't sure exactly what you were going to say
19     before I received your letter.      I know Dr. Barday had said
20     that you expressed some remorse in the last sess i ons that
21     he had with you, but I take your remorse at you r word.           I
22     understand the childhood circumstances.       That seemed l i ke
23     a horrific situation that you and your family were in with
24     your father.   I don't want you or your family to think I'm
25     not considering all those things .

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 1                I have considered all those things and remorse
 2     is important.   Obviously I have to consider other things
 3     as well, but I think it is important.       The first step
 4     forward in any situation like this is to acknowledge the
 5     wrongfulness of the conduct and to be willing to try to
 6     change.   I do give you credit for that .
 7                I'll hear from the government .
 8                MR. KABRAWALA:    Since his arrest in January of
 9     2014 and then his rearrest in February of 2014, we have
10     been witness in this courtroom to the path of destruction
11     that the defendant has left in his wake.
12                Judge, the government has asked for a 60-year
13     sentence and we don't do that lightly.       We are acutely
14     aware that that is a very significant sentence.       The
15     reason we are asking for that sentence and we join in
16     probation's recommendation of that sentence is simply that
17     the defendant is dangerous .    The defendant is dangerous
18     because he is deliberate .
19                We have seen in this courtroom the deliberation
20     with which Mr . Valerio has acted.    We have been witness to
21     the incident in 2005 that occurred at Splish Splash when
22     the defendant deliberately assaulted a woman in a wave
23     pool while he was on probation for that offense , the
24     defendant was found with videotapes that he had sec r etly
25     taped nannies and caretakers in his home who were unaware

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 1     they were being filmed .
 2                 He was del iberate when he sexually exploited the
 3     two victims in this case, one being a two year old.            He
 4     was deliberate when he convinced Kalichenko to make
 5     sexually explicit videos of her own daughter .        He was
 6     deliberate when he sexually exploited his six year old
 7     niece and then convinced his family that he was taking
 8     modelling , legit i mately modelling photographs of hi s
 9     niece.
10                 He was deliberate when he chose to victimize the
11     woman known as AD .     He repeatedly abused her , made her
12     life a living hell.      Your Honor has read her letter that
13     was annexed to our May 8 , 2017 letter.        Her life has been
14     completely t r ansformed in a bad way because of the
15     defendant's involvement in her life .        He raped her
16     countless times.      He broke her teeth .    He knocked her out .
17                 He was deliberate when he sexually assaulted and
18     repeatedly raped his coconspirator , Kalichenko .       He was
19     deliberate and dangerous when he tried to adopt a child
20     from the Ukraine even after the relationship with he and
21     Kalichenko terminated .
22                 He tricked an au pair to come to the
23     United States on her gap year after she graduated from
24     high school in the United Kingdom.       He convinced her and
25     the agency for which she worked that he legitimately had a

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 1     daughter who needed care .    So she came here on her gap
 2     year , only to learn immediately that the defendant did not
 3     have a young child and that was only after the defendant
 4     tried to convince her to wear fet i sh outfits and go to
 5     some sort of sex party with him.      This is only a sampling
 6     of what we know about.
 7                  Simply put, the defendant has shown there are no
 8     limits to the lengths that he will go to deceive and trick
 9     others and abuse others and exploit others .
10                  A point about Dr . Barday.    Now , Dr . Barday's
11     evaluation in many ways is flawed.        Dr. Barday
12     acknowledged during his Fatica hearing testimony that he
13     had not fully accounted for the defendant's violent rape
14     of AD and of Kalichenko.     The court has credited the
15     testimony of AD and of Kalichenko and Lucy Down , and the
16     government has proven those acts by a preponderance of the
17     evidence .
18                  The court should consider serious l y Dr. Barday's
19     evaluation and his opinion , but the court should be
20     mindful that Dr. Barday found Mr . Valerio to be only a
21     moderate risk, which is still a substantial risk of
22     dangerousness and recidivism.      Once the court concluded
23     that the government proved the defendant's violent acts
24     towards AD and toward Kalichenko , that risk of recidivism
25     and dangerousness is only enhanced.

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 1                  Finally , the defendant has asked for essentially
 2     a second chance.     He's received that second chance
 3     already .    He received it in 2005 when he was sentenced to
 4     a mere term of probation for sexually assaulting a Long
 5     Island woman in a wave pool.      He has demonstrated since
 6     that time that he cannot be trusted, that he will
 7     manipulate others, and that he is a danger to our
 8     community.
 9                  Thank you.
10                  THE COURT:   Thank you, Mr. Kabrawala.
11                  I'm now going to state the sentence I intend to
12     impose and give the lawyers a final opportunity to make
13     any legal objection before imposing the sentence.
14                  In considering this sentence I have carefully
15     gone through and considered all the factors set forth by
16     Congress in Section 3553(a ), which include among others ,
17     I'm not going to list all of them but I have considered
18     all of them , the nature and circumstances of the offense
19     and the history and characteristics of Mr . Valerio , the
20     need for the sentence imposed to reflect the seriousness
21     of the offense, to promote respect for the law, to provide
22     a just punishment for the offense, to afford adequate
23     deterrence to criminal conduct , and to protect the public
24     from further crimes by the defendant.
25                  I have also considered the advisory sentencing

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 1     guidelines issued by the sentencing commission and the
 2     applicable range or number in this case , the advisory
 3     number as well as the applicable policy statements issued
 4     by the sentencing commission.
 5                I have also considered the need to avoid
 6     unwarranted sentencing disparities among similarly
 7     situated defendants and although it was not mentioned here
 8     today in court , both sides briefed that issue fully in
 9     their written submissions to the court and I certainly
10     have considered not only sentences that I have i mposed ,
11     but that other judges have imposed in this area of crime.
12                Having considered those factors and all the
13     factors I intend in my discretion to impose a total
14     sentence of 60 years in jail, 720 months, and I don't do
15     that instinctively or emotionally .     I do it with great
16     thought and pause and having reconsidered it several t i mes
17     whether or not that's the appropriate sentence and I
18     conclude it is for the following reasons.
19                I'm not going to go into great detail about the
20     instant offense.    It's all in the presentence report.         It
21     all came out at the trial , but the instant offense
22     involved extremely violent conduct towards children.           It
23     showed the defendant to be a compelling danger to the
24     community , especially to children.     I think it's an
25     aggravating factor the way it was done in terms of the

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 1     defendant directing Ms. Kalichenko , scripting out how she
 2     should abuse her two year old daughter in the Ukraine ,
 3     sending him multiple videos for money.
 4                Those e-mails that the government noted in its
 5     papers that contained promises, threats , treated her in
 6     such a demeaning, degrading, humiliating way as an object
 7     to make her completely dependent upon Mr. Valerio as he
 8     noted today with money, other promises and threats so that
 9     she would do his bidding, including exploit her own
10     infant, the extremely callous disregard for the well-being
11     of others is one that just shows extreme danger to
12     society.
13                I also note obviously that sexual exploitation
14     of the niece, how the basement was set up , the six year
15     old girl betraying the trust that was given to him as an
16     uncle and as the government noted deceiving and
17     manipulating people in order to satisfy his desires .      So
18     the counts of conviction demonstrate the defendant to be
19     extremely violent and dangerous and a clear and compelling
20     danger to the community especially to children at the
21     highest level.
22                I believe the level of danger is only further
23     confirmed by his history and characteristics as an
24     individual.   As the government noted we are not dealing
25    with a 20 year old individual who had a horrific abusive

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 1     childhood and is a young man trying to deal with that .
 2     This is a man at the time of these crimes was in his late
 3     40s , and his history and characteristics show that he is
 4     not only a danger to children , but he's a danger to women
 5     as well .
 6                 His 2006 conviction for attempted forcible
 7     touching, although it was only a misdemeanor, it involved
 8     grabbing and attempting to penetrate the genital area of
 9     an adult female in a wave pool .    As the government noted ,
10     his adjustment on supervision from that probation was
11     unsuccessful, problematic in many ways that are outlined
12     in the PSR that I won't repeat.     But he was given a chance
13     with treatment there and did not take that opportunity.
14     It only led to even more violent conduct in connection
15     with the instant offense as well as the other conduct that
16     I'm about to go into .
17                 His extreme dangerousness was further
18     corroborated at the Fatico hearing .     As I said , those
19     women were completely credible to me.      I listened to them
20     testify.    I could hear it in their voice.    I could see it
21     in their eyes.   There was no question that those events
22     happened as they articulated .    AD testified to physical
23     and sexual abuse including rape, repeated threats to
24     killing her, being on a secluded road but grabbed by the
25     hair , smacking her head against the dashboard , telling her

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 1     tonight you are going to die .
 2                  She jumps out of the car .   Her daughter's in the
 3     back seat , backs up , hits her in the head with the open
 4     door .    I mean , this type of violent conduct I think shows
 5     the level of dangerousness that Mr. Valerio has , and there
 6     were other incidents as well including rape and when she
 7     terminated finally the relationship with him , is when he
 8     knocked her unconscious and broke her teeth and threatened
 9     to kill her if she told the truth about what happened.
10                  Ms . Kalichenko's testimony was also extremely
11     credible , and in many ways mirrored in some respects AD's
12     testimony in terms of how she was treated by Mr . Valer io
13     in terms of the violence and rape , and Ms . Downs , although
14     that didn ' t involve any type of sexual assault , I think
15     just corroborated the manipulativeness and deceptive
16     behavior Mr . Valerio has engaged in his life in order to
17     engage in this type of violent conduct towards women and
18     towards children.
19                 So the counts of conviction and th i s histor y of
20     violence show him to be, which is clear to me he is an
21     extremely dangerous individual , that this court needs to
22     protect society from for the rest of his life.       I don't
23     believe there are any limits on what he would do to
24     satisfy his sexual desires to women or to children.        So
25     society needs to be protected.     I don ' t believe hi s l evel

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 1     of dangerousness will diminish over time.       I think his
 2     risk of recidivism is extremely high.
 3                I have considered general deterrence .     I won ' t
 4     say it's the driving force in this sentence.       It is a
 5     consideration and certainly this type of conduct s hould be
 6     met with extremely severe sentences to send a message to
 7     others out there victimizing children in the way that
 8     Mr. Valerio did in this case .     So it is a factor, but the
 9     primary factor is that this sentence needs to protect the
10     public because of the danger I view him as, and to reflect
11     the seriousness of the offense .
12                All that led me to conclude that 60 years
13     imprisonment, which is effectively a life sentence is
14     warranted, sufficient and no greater than is necessary to
15     reflect all of the factors.
16                I do want to spend one moment on the arguments
17     in mitigation.    I don't want the fact that I adopted the
18     recommendation of the probation department and the
19     government to be viewed as I just cast aside the
20     significant submissions and letters and hearings .      I
21     considered all those things, but I don't believe that a
22     sentence less than the one I'm imposing would properly
23     balance all the factors.
24                First , I did consider the report and t e stimony
25    of Dr . Barday , but I don't be l ieve i t warrants a lowe r

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 1     sentence for several reasons.      He acknowledges in his
 2     report on page 15 that the presence of manipulative
 3     impulsive antisocial personality put Mr. Valerio at a
 4     moderate risk of reoffending and dangerousness in the
 5     presence of history substance abuse , legal impulsive
 6     act i ng out of interpersonal chaos , further aggravates his
 7     risk of hurting others.     These are corroborated by the
 8     actuarial risk assessment tools he used .      So you have him
 9     putt i ng Mr. Valerio at a moderate risk which is obviously
10     significant when you are talking about the type of
11     activity that Mr . Valerio was involved in in terms of
12     reoffending .
13                 But I believe that this understates the risk for
14     a couple of reasons .    The government pointed out that he
15     did not take into account the defendant's violence towards
16     Ms . Kalichenko or AD and at the hearing he said that in
17     his report he suggested one of the reasons he on l y put it
18     at moderate was because he hasn't threatened lives of
19     others , he hasn't caused his victims physical harm.        So he
20     was assuming facts that we know to be incor rect .
21                 We know that he ' s th r eatened the lives of
22     others .   We know he has caused vi ctims physical harm
23     includ i ng rape and sexual assaults and beat i ng.   And he
24     conceded at page 58 of the hearing that I think the
25    government said if you assumed thos e things were t r ue ,

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 1     would his risk be even higher and I think he answered yes
 2     and it's obvious that the risk would be higher and that's
 3     why I conclude that it is higher.
 4                He did mention treatment could help, but as the
 5     government pointed out he did have a chance to receive
 6     treatment many years ago and was unsuccessful.       Dr. Barday
 7     does suggest the difference might be that Mr . Valerio now
 8     has finally some remorse for his conduct .      I have some
 9     concerns regarding that because prior to receiving his
10     letter and hearing his statement today his level of
11     remorse was extremely weak.
12                Even Dr. Barday acknowledged that he met with
13     the defendant for many years after the jury's verdict
14     which was in November of 2014 , and met with him in
15     December of 2014, February , March and June of 2015, and
16     said that he didn't view his behavior as disturbing.           He
17     was not deeply troubled by this aspect of his sexuality,
18     but not motivated to deal with it .    So he had someone for
19     years even after his conviction was still in complete
20     denial that he had done anything that he should be dealing
21     with or be concerned about .
22                Dr. Barday did say that he finally made that
23     jump in one of the last meetings and obviously the letter
24     and the statements made in the courtroom do indicate a
25     level of remorse and I have considered that, but I don't

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 1     believe that even though Mr. Valerio obviously promised
 2     that he would turn his life around , I don't believe that
 3     that is sufficient to undo all the evidence before me of
 4     the violence that he's been involved in for a number of
 5     years , both to his children and to women.
 6                  I don't think there is any indication that his
 7     level of dange r would be significantly reduced .     At this
 8     point , as we sit here today , to me it is way too
 9     speculative just based upon his pr omise for me to conclude
10     that the danger, that compelling danger to society that I
11     believe exists will be diminished at any time during his
12     life .
13                  So that's how I arrived at this sentence .    I
14     want to mention the sentenc i ng di sparity question.
15     Mr. Lato did point out that Judge Chen gave a 28-year
16     sentence to an individual Randazzo who was engaged i n
17     similar type of sexual exploitation .     A 25-year sentence
18     was given by Judge Hurley to a guy named Wernick, and I
19     didn't go back to those cases to look at what thei r
20     history and characteristics were , whether they had the
21     violent acts that I have found existed in this defendant's
22     past, so I'm not sure if they are completely analogous to
23     the entire record before me.
24                 In any event , assuming they were because there
25     are some sentences out there that are lower does not mean

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 1     that this factor is weighing in Mr. Valeria's favor .          The
 2     government points out in a very long cite numerous
 3     sentences of this severity are higher , including Judge
 4     Feuerstein's 90-year sentence in the McGowan case , the
 5     60-year sentence by Judge Mauskopf in the Brooks case , the
 6     75-year sentence in the Schneider case .     I don't believe
 7     the sentence is disproportional to other sentences for
 8     similar type conduct as the court has found here .
 9                The final thing I'll say is I am sensitive ,
10     Mr. Lato spent a lot of time in his papers and mentioned
11     it today as well that sentences of life or the equivalent
12     of life are usually reserved for murder .     The Second
13     Circuit has tackled and discussed this issue in several
14     opinions over the past few years including United States v
15     Brown where Judge Pooler dissented making that point and
16     last week there was a case US v Ulbricht , that sentence
17     was imposed by Judge Forrest in a case it was a bit coin
18     case where certainly there were large amounts of drugs
19     involved but he was not convicted of any murder and the
20     Second Circuit again discussed that .
21                And I am sensitive to that.     I have never
22     sentenced anyone to this amount of time that did not
23     involve a murder , but I believe this is the ext r aordinary
24     case, given the combination of factors and all the
25     evidence before me , that an effective sentence of life is

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 1     necessary to , among other things , protect the public from
 2     the dangerousness that I believe the defendant poses to
 3     the community , notwithstanding his words today.
 4                 That ' s the sentence I intend to impose .   I don't
 5     think it's necessary given the length of the sentence but
 6     I am going to impose a lifetime supervised release .       If
 7     somehow he were to get out for any reason , he ce r tainly
 8     should be on supervised release with all the conditions
 9     that would be necessary to monitor his activity , even
10     though I don't expect that to happen .
11                 I don't intend to impose a fine , although he
12     obviously has financial means , given the forfeiture in
13     this case and the other aspects of my sentence , I don ' t
14     believe an additional fine is necessary.
15                 I intend to impose the special assessments
16     except on counts nine through 13 which I'm dismissing
17     without prejudice as multiplicitous, and I ' m not ordering
18     any restitution .   And I intend to impose on the counts as
19     set forth in the recommendation to achieve a 60 year
20     sentence.
21                 Is there any legal reason why I cannot impose
22     that sentence from the government's standpoint?
23                 MR . KABRAWALA:    No , your Honor.
24                 THE COURT :   From the defense standpoint?
25                 MR . LA PINTA:    No, sir .

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 1                   THE COURT :   It is the judgment of this court,
 2     Mr. Valerio, in its discretion that you be sentenced to
 3     the custody of the Attorney General through the
 4     Bureau of Prisons to a total term imprisonment of 60 years
 5     or 720 months, consisting of the following:
 6                   On counts one through three, six, seven , eight
 7     and 14, I sentence you to the statutory maximum of 30
 8     years on each count to run concurrently to each other.          On
 9     counts four and five I sentence you to 20 years
10     imprisonment, the statutory maximum on each count which
11     will run concurrently to each other but consecutively to
12     the sentences imposed on the above counts and , finally , I
13     impose a ten-year sentence on count 15, again the
14     statutory maximum, to run consecutively to the sentences
15     that I have imposed on the other counts for a total
16     sentence of 60 years.
17                   I impose lifetime supervised release to follow
18     any term of imprisonment should you get out with the
19     standard conditions and the following special conditions .
20                   1.   You shall comply with the forfeiture
21     provision .
22                   2.   You shall make full financial disclosure to
23     the probation officer.
24                   3.   You shall comply with sex offender
25     registration requirements mandated by law.

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 1                4.   You shall participate in a mental health
 2     treatment program which may include participation in a
 3     treatment program for sexual disorders as approved by the
 4     probation department .   The defendant shall contribute to
 5     the cost of such services rendered and / or any psychotropic
 6     medications prescribed to the degree you are reasonably
 7     able , and shall cooperate in securing any applicable
 8     third-party payment .
 9                You shall disclose all financial information and
10     documents to the probation department to assess your
11     ability to pay .   As part of the treatment program for
12     sexual disorders, you shall participate in a polygraph
13     examination to obtain information necessary for risk
14     management and correctional treatment.
15                You shall refrain from contacting the victims of
16     the offense.
17                You will not associate with any child under the
18     age of 18 unless a responsible adult is present and you
19     have prior approval from the probation department .
20                Unless otherwise indicated in the treatment plan
21     provided by the sex offender treatment program , the
22     defendant is prohibited from viewing , owning or possessing
23     any obscene , pornographic or sexually stimulating visual
24     or auditory material including telephone, electronic
25     media, computer programs or computer services that have a

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 1     reasonably direct relationship to the offender's deviant
 2     behavior pattern.
 3                If the defendant cohabitats with an individual
 4     who has minor children , the defendant will inform that
 5     party of his prior criminal history concerning his sex
 6     offense.   Moreover, he will notify the party of his
 7     prohibition of associating with any children under the age
 8     of 18, unless a responsible adult is present.
 9                The next condition I'm going to tie only to the
10     definition, in order to avoid any issues with the Circuit
11     that's come up in past cases.
12                The defendant is not to use a computer , internet
13     capable device, or similar electronic device to access
14     pornography of any kind.     The term pornography shall
15     include images or video of adults or minors engaged in
16     sexually explicit conduct as that term is defined in Title
17     18, United States Code, Section 2256(2).      The defendant
18     shall not communicate via his computer with any individual
19     or group who promotes the sexual abuse of children.
20                The defendant shall also cooperate with the US
21     Probation Department's computer and internet monitoring
22     program.   Cooperation shall include, but not be limited
23     to, identifying computer systems , internet capable
24     devices, and/or similar electronic devices the defendant
25     has, and allowing the installation of monitoring software

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 1     and / or hardware on said devices at the defendant's
 2     expense.
 3                 The defendant shall inform all parties that
 4     access a monitored computer , or similar electronic device ,
 5     that the device is subject to search and monitoring.           The
 6     defendant may be limited to possessing only one personal
 7     internet capable device to facilitate our department's
 8     ability to effectively monitor his internet related
 9     activi ties .   The defendant shall also permit random
10     examinations of said computer systems , internet capable
11     devices , similar electronic devices , and related computer
12     media, such as CDs , under his control .
13                 The defendant shall notify his employer of his
14     computer-related offense if his job requires computer
15     access with internet capability.
16                 The defendant shall not possess a firearm ,
17     ammun i tion or destructive device.
18                 The defendant shall submit his person , property ,
19     house , residence , vehicle, papers , computers , as defined
20     in 18 USC, Section 1030(E ) (1), other electronic
21     communications or data storage devices or media , or office
22     to a search conducted by a United States Probation
23     Officer .   Fa i lure to submit to a search may be grounds for
24     r evocation of release.
25                 The defendant shall warn any other occupants

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 1     that the premises may be subject to searches pursuant to
 2     this condition.      An officer may conduct a search pursuant
 3     to this condition only when reasonable suspicion exists
 4     that the defendant has violated a condition of his
 5     supervision and that the areas to be searched contain
 6     evidence of this violation.      Any search must be conducted
 7     at a reasonable time and in a reasonable manner.
 8                   I order a special assessment of I believe $1 , 000
 9     having dismissed counts nine through 13, $100 on each of
10     the remaining ten counts, and I order forfeiture as set
11     forth in the final order of forfeiture including the
12     desktop computer, the SD card, and the $75 , 000 in
13     substitute for the Highgate Drive premises.
14                   I impose no fine or restitution .
15                   Mr. Valerio , I need to advise you of your right
16     to appeal the conviction and sentence.       If you are unable
17     to pay the cost of appeal you may apply for leave to
18     appeal in forma pauperis .     If you cannot afford an
19     attorney , one will be appointed on appeal to represent
20     you.   The notice of appeal must be filed within 14 days of
21     the judgment of conviction.
22                   I have dismissed counts nine through 13 without
23     prejudice .
24                   Does the government move to dismiss the open
25     counts in the underlying indictment?

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 1                  MR . KABRAWALA:       So moved, Judge .
 2                  THE COURT:    The open counts in the underlying
 3     original indictment are dismissed.
 4                  Are there any other issues from the government
 5     for today?
 6                  MR . BODE:   Just one thing I would ask your Honor
 7     to put on the record.
 8                  Obviously the court was cognizant of the
 9     lifetime advisory, the 216 I think was the advisory
10     guideline range that the court found, advisory guideline
11     sentence and the court structured the sentence to
12     accomplish that 30 and 20 consecutive and a ten
13     consecutive.
14                  If for some reason there were an issue with
15     counts four, five , and 15, am I safe in assuming that the
16     court would have considered consecutive sentences as to
17     victim one and victim two to accomplish the same 60-year
18     sentence?
19                 THE COURT:     Yes .
20                  MR . BODE:   Thank you.
21                 THE COURT:     My sentence you might have meant
22     something else with respect to the guidelines.         I know the
23     guidelines is 216 years, the advisory range, but my
24     sentence is not driven by the guidelines in this case.
25     Regardless of what the guidelines were, that number is not

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 1     i nfl uenci ng me.
 2                 It's based upon what I have seen in this case
 3     and reviewed during the trial , during the hearings .        So
 4     this is not a case -- I know there are Second Circuit
 5     cases that talk about the guidelines sometimes for child
 6     pornography can be too severe for certain situations.             I
 7     don't believe that this is a case where this guideli ne
 8     number is driving the sentence.
 9                 But , yes, the answer to your question is yes ,
10     the sentence would be the same even in the absence of
11     those counts .
12                 MR . BODE :   Thank you , your Honor.
13                 THE COURT :    Anything from the defense?
14                 MR. LATO :    Yes .
15                 Just with respect to designation .      Given that
16     Mr. Valeria's family is on Long Island will your Honor
17     recommend to the Bureau of Prisons that to the extent they
18     can to designate him to a facility as close as possible to
19     Long Island?
20                 THE COURT:     Yes.
21                 I will designate that.     I will also recommend
22     that he receive treatment in the jail as well.          I won't
23     mention, I didn't mention this in my reasoning, obviously
24     I don't dispute the fact that his family loves him.          He
25     has their support, and that he's done good things for his

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 1     family .
 2                But he had that family all along when he engaged
 3     in this dangerous and violent conduct.      The fact that he
 4     may be good to his family doesn't mean that he can't at
 5     the same time pose an extreme danger to other individuals
 6     which I believe he poses.     I did consider that as well .
 7                Thank you.
 8                (The matter concluded . )
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